                    Case 1:18-md-02865-LAK   Document 835-123   Filed 06/27/22   Page 1 of 138




                                  The RJM Capital Pension Plan




   '   ... •...•·




CONFIDENTIAL                                                                              WH_MDL_00331778
               Case 1:18-md-02865-LAK                  Document 835-123                      Filed 06/27/22               Page 2 of 138




                                                TABLE OF CONTENTS


                                                                                                                                             Page

                I.   PLAN SPECIFICATIONS ... ...... .......................... .................. ......................... ... I-1

                     A.       Name ...................................... .................................... ........................... 1-1
                     8.       Exclusive Benefit. ..... .... .............................................................. ... .. ...... 1-1
                     C.       Effective Date. ........................ ................................... .. .................... ...... 1-1
                     D.       Plan Year.... ............................................ ... ........ .... .......... ...... ................ I-1
                     E.       Limitation Year...... ..... ..................................................................... .. .... 1-1

                     ELIGIBILITY AND PARTICIPATION .................. .............................................. 1-1

                     F.       Eligible Employee .. ..... ... ........................................... ....... .... .................. 1-2
                     G.       Entry Date . ................. ... ...................... ...... ....... ..................................... 1-3

                     CONTRIBUTIONS ................... ........................................ .......................... ...... 1-3

                     H.       Types of Employer Contributions .... ............. ..... ..... ...... ............... ....... .. .. 1-3
                     I.       Reserved ........ .. ............ ...... .. ... ..... ... .. ..... .. ............................................. 1-4
                     J.       Required Minimum Benefits . .. ........... .................. .. ................................ 1-4
                     K.       Compensation .. ... ................. .............. ...... ... ................. ......................... 1-4
                     L.       Highly Compensated Employees and Current or Prior Testing
                              Methods... .......................................... ............................ .................... .... 1-5

                     ALLOCATIONS TO CONTRIBUTION ACCOUNTS .................. ....................... 1-5

                     M.      Allocation of Employer Contributions..... ....... ........ ....... .......................... I-5
                     N.      Excess Compensation ............... ...... .... .. .... ... ... ................ ..... ..... ..... ....... I-6
                     0.      Participant Forfeitures .. ............. ...... ... ................ ......... .......................... 1-6
                     P.      Allocation Requirements - last Day Employment and Service
                             Requirements . .......... ..... ........... ............ ... .. ......................................... ... 1-6
                     Q.      Allocation of Excess Annual Additions ........................ ................ .. ......... 1-7
                     R.      Employee After-Tax and Deemed IRA Contributions ............................ 1-7
                     S.      Rollover Contributions and Transferred Benefits. ..... ........... ............... ... 1-7




                                                                    -i-

CONFIDENTIAL
                                                                                                                                         WH_MDL_00331779
               Case 1:18-md-02865-LAK                    Document 835-123                     Filed 06/27/22              Page 3 of 138




                        T.        Early Retirement Age and Normal Retirement Age ....................... .. ...... 1-8

                        VESTING ........ ..... ................ .............................................................. .............. 1-8

                        U.        Vesting ............................. ............................. ........... ... ................. .. .. ..... 1-8
                        V.        Required Top-Heavy Minimum Vesting . ....................... ......................... 1-8
                        W.        Years of Vesting Service. .... ...... ..... ....................................................... 1-8
                        X.        Years of Service - Break-in-Service ...................................................... 1-8
                        Y.        Service with the Predecessor Employer .................. .. ............................ I-8
                        Z.        Vesting at Death or Total Disability................................. .. .............. ....... I-8

                        DISTRIBUTION OF BENEFITS ................................. .. .............. .... ............... ... 1-9

                       AA.       Participant Loans.... ... ..................................................... ... .................... 1-9
                       BB.       Hardship Withdrawals ................................. ........ ................................... 1-9
                       CC.       In-Service Distributions Other Than Hardship. .. ... .. ............................. 1-10
                       DD.       Cash-Out Options .. .......................... ......................... ...... ..................... I-10
                       EE.       Time of Distribution Upon Employment Termination ......... ................ .. 1-11
                       FF.       Right to Defer Receipt of Benefits After Normal Retirement Age and
                                 Age 70½........................... ...................................................... ......... ... . 1-11
                       GG.       Minimum Required Distributions under Final and Temporary
                                 Regulations .............. ..... ..: .............. ....... .. .. .. ........................................ 1-11
    CJ                 HH.
                       II.
                                 Accrued Benefits Not Subject to REACT Annuity Requirements ......... 1-12
                                 Reserved . ......... ............................... ................. ......... ............. ............ . 1-12
                       JJ.       Alternate Forms of Benefits Payments.... ........... ................... ... .. ......... 1-12
                       KK.       Distributions of Roth Contributions . ...... ..... ............ .............................. 1-12
                       LL.       Total Disability....... ..................... ............ ....................... .................... .. 1-13

                       MISCELLANEOUS ....... ...................... .............. .. ................... ......................... 1-13

                       MM.       Participant Directed Accounts ............................. .... ...... ..... ................. 1-13
                       NN.       Valuation Date ............................................................ .. ....... ..... .. .. ....... 1-13
                       00.       Special Disaggregation Rule . .. ... ............... .................. ........................ 1-14
                       PP.       Co-Trustees ........... ............. ........ ......... ........ .......... ...... .. .. ........ ...... ..... . I-14

                II.    DEFINITIONS ....... ..... .. ....................................................... ........................... . 11-1

                       A.       Terms Defined In This Article II. .............................. .. .......................... . 11-1
                       B.       Terms Not Defined in Article I and II of this Plan .......... ...................... 11-22

                Ill.   PARTICIPATION AND MEMBERSHIP ................................................. ..... .... 111-1

                       A.       Participation Date ....... ....................... ...... .......................... ... ........ ....... 111-1
                       B.       Leave of Absence ................... .................. ... .. ...................................... I11-1




                                                                       -ii-

CONFIDENTIAL
                                                                                                                                        WH_MDL_00331780
               Case 1:18-md-02865-LAK                    Document 835-123                       Filed 06/27/22                Page 4 of 138




                       C.      Enrollment. ........... .. ........ .. ... ..... ... ....... .. ........................ .. .. ...... ... .... .... .. 111-2
                       D.      Waiver of Participation ...... .. ... ....... ... ....................... ........................ ..... 111-2
                       E.      Omission of Eligible Employee . ... .... ...... .. .. ...... .. .. ... ........... .... ............. . 111-2
                       F.      Inclusion of Ineligible Employee ...... ... ,.................... .. ............... ........... 111-2

                IV.    EMPLOYER CONTRIBUTIONS ............................... .... ................................. IV-1

                       A.      In General. ........ ................ ... .. ... ............ .................. ..... ......... .......... .... IV-1
                       B.     Special Make-up Contribution . ...... .............................. ....................... IV-1
                       C.     Corrective Contributions........... ........ ........... ..................... .................. IV-1
                       D.     Profit Sharing and Retirement Savings (401 (k)) Contributions . .......... IV-1
                       E.     Actual Deferral Percentage Limitation . ........ ........................ ............... IV-4
                       F.     Safe Harbor Contributions .. .. ................. ......................... ... ................. IV-6
                      G.      Simple 401 (k) Plans . ..................................................................... ..... IV-9
                      H.      Limitation on Elective Deferrals................................... ............. .......... IV-9
                      I.      Reserved . .... .. .............. ......... ...... ... .. .. ............. ........... ................. ... ... IV-10
                      J.      Correction of Excess Contributions... ................ ............................... IV-10
                      K.      Coordination of Excess Contributions with Excess Deferrals ... ..... ... IV-15
                      L.      Income Allowable to Excess Contribution .. ............ ...... .. ................... IV-16
                      M.      Correction of Excess Deferrals . .................... .................................... IV-16
                      N.      Income Allowable to Excess Deferrals. ....... ..................................... IV-17
                      0.      Coordination of Excess Deferrals with Distribution or
                              Recharacterization of Excess Contributions..................................... IV-17
                      P.      Distribution of Amounts Attributed to Elective Contributions ............. IV-17
                      Q.      Hardship Withdrawals ...... ... ..... ....... ......... .. ........... ............... ... ...... .... IV-18
                      R.      Aggregation of Employer's Plans . ........ ................................. ... ... ..... IV-19
                      S.      Universal Availability Requirements of Catch-Up Contributions ..... .. IV-21
                      T.      Multiple Plan Limits on Catch-Up Contributions ......................... .. .... IV-23

               V.     ALLOCATIONS TO PARTICIPANTS' ACCOUNTS ....... ............. ... ............... . V-1

                      A.      Maintenance of Accounts . ......... ........................ ........... ................. ...... V-1
                      B.      Valuation of Trust. ...... ..... .................... ............................ ..... ... ........ .... V-1
                      C.      Allocation of Trust Earnings........................................................... ...... V-1
                      D.      Allocation to Contribution Accounts .............................. ........ : ............ .. V-2
                      E.      Limitation on Allocation of Employer Contributions and Forfeitures . ... V-4
                      F.      Allocation Priorities if Limitations l;xceeded . ........ .. .... .................. .. ..... V-5
                      G.      Key Man Insurance Proceeds. ...... ....... ................... ... ......................... V-6

               VI.    VESTING AND BENEFIT ENTITLEMENT .. .......... ............. ........ ................... Vl-1

                      A.     Vesting . ........... .. ................. ............................................... ... ..... ..... .... Vl-1
                      B.     Forfeitures . .............. ... .... ................... .... ......................... ............... ..... Vl-1




                                                                     -iii-


CONFIDENTIAL
                                                                                                                                             WH_MDL_00331781
               Case 1:18-md-02865-LAK                   Document 835-123                    Filed 06/27/22               Page 5 of 138




                         C.      Re-Vesting in Forfeitures Upon Re-Employment. ........ ... .................... Vl-3
                         D.      Limitation on Vesting Upon Re-Employment. ..................................... Vl-3
                         E.      Vesting Upon Change of Employment Status .................................... Vl-4
                         F.      Vested Interest Not Distributed..................................... ... .. ... .. ............ Vl-4
                         G.      Break-in-Service While Still Employed ............................................. .. Vl-4
                         H.      Effect of Break-in-Service - Vested Participant. ................................. Vl-4
                         I.      Reserved ........... ................................................................................. Vl-4
                         J.      Effect of Break-in-Service - Non-Vested Participant. ........... .............. Vl-4
                         K.      Limitation on Right to Amend Vesting Schedule ................................. Vl-5

                VII.     DISTRIBUTION OF BENEFITS ............ ...... ..... ................................ ............ Vll-1

                        A.       Definitions ....................... ...................... ........... ........ ............. .. ........... Vll-1
                        B.       Distribution W ith Annuity Option - Other Than Death . ...................... Vll-3
                        C.       Distribution at Death ............ ............ ....... ............. ............. ............... VI 1-12
                        D.       Transitional Rules ............... ... .............................. ................ ...... ...... Vll-16
                        E.       Non-Annuity Rules ..... .......... ........ ....... ............................................ . Vll-17
                        F.       Time of Distribution ........................... .. ..................... .. ...................... Vll-18
                        G.       Pre-TEFRA Designations ................................................................ Vll-18
                        H.       Loans to Participants. .......... .... .......................................... .... ...... .. .. Vll-19
                        I.       Reserved . ..... .. .. ... ............ ... ................... ............................ ....... ... .... Vll-21
                        J.       Distributions to Incompetent Persons ... .................. .... ................... .. Vll-21
                        K.       Non liability........................ ...................................................... ......... Vll-21
                        L. .     Benefit Claims Procedure ............. .. ................................ .... ......... .... Vll-22
                        M.       Income Tax Withholding . ................................. ................................ Vll-23
                        N.       Qualified Domestic Relations Orders................. ............. .. ....... ........ Vll-23
                        0.       Overpayment of Vested Interest. ............................ ..... ........... ....... .. Vll-23

                VIII.   TOP-HEAVY LIMITATIONS .......... ............... .. ..... ............................:........... Vlll-1

                        A.      Definitions .......... .. ................. ... ..... ... ..... ............................................ Vlll-1
                        B.      Aggregation Groups..... .... .................. .. .... ........... ................... :......... Vlll-2
                        C.      60% Test- Special Rules ........ ...... ........................ .......... ................ Vlll-3
                        D.      Minimum Vesting Requirements ................................. .... '. ................. Vll l-4
                        E.      Minimum Benefit Requirement. .. ............... ... .................................... Vlll-5
                        F.      Annual Section 415 Compensation . ..... ..................... .. .. ................... Vlll-7
                        G.      Multiple Plans . ..... ....... ............... .. ..................................... .. ........ ... ... Vlll-7

                IX.     DESIGNATED BENEFICIARIES .............................................................. ..... IX-1


               X.       CONTRIBUTIONS BY PARTICIPANTS .. ... ............................................. ....... X-1

                        A.      Employee After-Tax Contributions.... ......... .... ... ................................... X- 1




                                                                      -iv-

CONFIDENTIAL
                                                                                                                                      WH_MDL_00331782
               Case 1:18-md-02865-LAK                    Document 835-123                    Filed 06/27/22               Page 6 of 138




    (                   B.       Rollover Contributions . .. ............ ...... ..... ......................... ... ...... .. ........ ... X-1
                        C.       Separate Administration and Accounts for Participant Contributions .. X-2
                        D.       Vesting . ......... ..................................................................... ... .............. X-2
                        E.       Withdrawal of Contributions .............. ................................................... X-2
                        F.       Distribution of Rollover Contribution Accounts .................................... X-2
                        G.       Limitations on Section 401 (m) Contributions . ...................................... X-3
                        H.       Correction of Excess Aggregate Contributions.................................... X-5
                        I.       Reserved ................................. .. .......... ...................... ............... ............ X-6
                       J.        Distribution of Income....... .................... ... ........ ...... ......... ..................... X-6
                       K.        Coordination with Section 401(a)(4) of the Code ...................... .. ......... X-7
                       L.        Additional Qualified Nonelective Employer Contributions.................. .. X-7
                       M.        Correction of Excess Aggregate Contribution Prior to the Pian Year. X-10
                       N.        Coordination with Correction of Excess Contributions and Excess
                                 Deferrals .............. .. ......................... ........... .. ...... ..... .............. .... ......... X-10
                       0.        Aggregation Rules for Section 401 (m) Contributions ....... .................. X-10

                XI.    LIFE INSURANCE POLICIES ............... .... .................................................... Xl-1

                       A.        Investment and Ownership of Life Insurance Policies. ..... ........ .... ...... Xl-1
                       B.        Payment of Premiums ....... ............................................... :..... .. .......... Xl-1
                       C.        Accounting for Policies ................ ... ..... ........... ............. .... ................... Xl-1
                       D.        Discrimination ... ......... ........................... .... ............................ ...... ........ Xl-1
                       E.        Disposition Upon Retirement or Total Disability. ........ ....... ................. Xl-1
                       F.        Disposition Upon Other Separation From Service ........... .......... ......... Xl-2
                       G.        Policy Loans ......... ... ............... ................. ................ ..... ...................... Xl-2
                       H.        Insurer Not a Party. ....................................... ............... .................. .... Xl-2
                       I.        Reserved ...... ....... ................................................................... ............ Xl-3
                       J.        Insurance Limitations......... ........ ................................... .............. ..... ... Xl-3

               XII.    TRUST ............................................................... ............. ............. ... .. ........... Xll-1

                       A.        Payment of Contributions.............. .... .............. ............................... ... Xll-1
                       B.        Participant Directed Accounts . ........................... ........................... .... Xll-1
                       C.        Expenses Charged to Participants' Accounts ........... ......... ................ Xll-1
                       D.        Prudent l\1an Rule ..... ..........., .... ............................................... .......... Xll-2

               XIII.   THE ADMINISTRATIVE COMMITTEE ........... ............................................. Xlll-1

                       A.       Committee Membership.............. ................... .. .... ....................... ..... Xlll-1
                       B.       Named Fiduciary and Plan Administration ........ .. ............. ................. Xlll-1
                       C.       Compensation ................ .. .......................... ..................... .. ............... Xlll-1
                       D.       Delegation of Duties ................. ........ .. ...... ....... ........... ....... ............... Xlll-1
                       E.       Bonding of Fiduciaries ............................... ....................................... Xlll-2




                                                                     -v-

CONFIDENTIAL
                                                                                                                                       WH_MDL_00331783
               Case 1:18-md-02865-LAK                       Document 835-123                      Filed 06/27/22               Page 7 of 138




    (
                           F.       Action By Committee Members..... ....... ... ......................... ..... ........... Xlll-2

                 XIV.     AMENDMENT AND TERMINATION; RETURN OF EMPLOYER
                          CONT RIBUTIONS; PART ICIPATING EMPLOYERS .............. .... ........ ........ XIV-1

                          A.        Amendment. ... .. ..... ................ ...... ..... ................................... .. ....... .. .. XIV-1
                          B.        Authority of Volume Submitter Practitioner to Amend for Adopting
                                    Employers. .. .. .................... ........... .... ........ ........................ .............. .. XIV-1
                          C.        Impact of Change To Individually Designed Plan . ..... ..... ........... .. ..... XIV-2
                          D.        Termination or Partial Termination or Complete Discontinuance of
                                    Contributions . .. ........... ...... ...... ..... ..... ............................. ...... ...... ....... XIV-2
                          E.        Return of Employer Contributions ............................. .... .. ....... .... ....... XIV-3
                          F.        Procedure for Adoption and Withdrawal by Participating Employers.XIV-3

                XV.       STANDARD OF CONDUCT OF FIDUCIARIES .... ....................................... XV-1

                          A.        Fiduciaries .. ..... .. ..... .. ............... ... .................. ... .. ...... .... ........ ... ........... XV-1
                          B.        Fiduciary Duties ............................. ........................... ...... ................... XV-1

                XVI.      MERGERS, CONSOLIDATIONS AND TRANSFERS OF ASSETS ............ XVl-1

                          A.       Merger or Consolidation of the Plan . .. ............ ... ........ ........ ..... .......... XVl-1
                         8.        Transfers From Other Qualified Plans - Rollovers . ..... .................... . XVl-1
                         C.        Transfer To Eligible Retirement Plans . ......... ............. ....................... XVl-1
                         D.        Transfer or Merger of Money Purchase Pension Plan to this Plan ... XVl-1

                XVII . MISCELLANEOUS ...... .... .......... .. ......... ................... ........ .. ... ......... ... .......... XVll-1

                         A.        Limitation of Rights and Employment Relationship .... ...................... XVll-1
                         B.        Payments to Missing Persons . ... ... .... ........ ..... ......... .... ................ .... XVll-1
                         C.        Spendthrift Provisions.......... .................. ........................ ....... .... ....... XVll-1
                         D.        Indemnification . ........... .... .. .. ........ .. ......... ... .................................... .. XVll-2
                         E.        Applicable Laws; Severability. .. .......... ... .......... ................................. XVl l-2
                         F.        Inapplicability of Certain Provisions if Plan is Not an ERISA Plan ...... XVll-2




                                                                          -vi-

CONFIDENTIAL
                                                                                                                                              WH_MDL_00331784
               Case 1:18-md-02865-LAK                Document 835-123   Filed 06/27/22   Page 8 of 138




                                        The RJM Capital Pension Plan

                       RJM Capital LLC, a DE LLC (the "Employer"), has adopted this Profit
               Sharing and Retirement Savings Plan to allow its Employees who are eligible to
               participate in the Plan to share in the growth of the Employer in accordance with
               the terms and conditions set forth below, in order to (i) promote in the Employees
               an interest in the successful operation of the Employer's business and in the
               increased efficiency of their work; (ii) provide the participating Employees with
               benefits upon their retirement; and (iii) provide their Beneficiaries with death
               benefits.

                                                I.    PLAN SPECIFICATIONS
                       A.     Name.

               This 401(k) Plan shall be known as the "The RJM Capital Pension Plan."

                       8.     Exclusive Benefit.
   r'}
   -..._.      This Plan shall be maintained for the exclusive benefit of the Participants and
               their Beneficiaries and is intended to qualify as a defined contribution plan under
               the appropriate provisions of ERISA and the Code.

                      C.      Effective Date.

               "Effective Date" means the first day of the first Plan Year in which this plan is
               adopted by the Employer.                     ·

                      D.      Plan Year.

               "Plan Year" means each 12 consecutive month period ending on 12/31.

                      E.      Limitation Year.

               "Limitation Year" means each 12 consecutive month period ending on the last
               day of the Plan Year.

                                        ELIGiBILITY AND PARTICIPATION




                                                     ARTICLE I                                     1-1

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                                                                                                     WH_MDL_00331785
                 Case 1:18-md-02865-LAK          Document 835-123       Filed 06/27/22   Page 9 of 138




                        F.     Eligible Employee.

                             "Eligible Employee" means, with respect to any Plan Year, every
                Employee of the Employer who meets the following requirements:

                               1.     Minimum Age:

                                      None.

                               2.     Service:

                                      None.

                               3.     Years of Service - Break-in-Service.

                                      The Hour of Service requirement of Paragraphs A.8 and A.94 of
               Article II shall not be modified.

                                  This Plan shall not use the elapsed time method, as described in
               Paragraph A.94 of Article II, for crediting Years of Service for eligibility purposes.

                              4.      Service with the Predecessor Employer.

                                      Service with a Predecessor Employer is not applicable.

                              5.      Subsequent Eligibility Computation Period.

                                     "Subsequent Eligibility Computation Period" means the Plan Year
               including the first anniversary of the Employee's Employment Commencement Date and
               any subsequent Plan Year.

                              6.      Class Exclusions.

                                     None.

                              7.     Waiver of Participation.

                                     Waiver of Participation shall not be permitted.




                                                    ARTICLE I                                  1-2

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CONFIDENTIAL
                                                                                                 WH_MDL_00331786
                 Case 1:18-md-02865-LAK          Document 835-123        Filed 06/27/22   Page 10 of 138




                        G.     Entry Date.

                              Immediate entry for all Contributions .. However, an Eligible Employee
                shall enter the Plan no later than the earlier of the first day of the Plan Year or six (6)
                months following the day he or she becomes an Eligible Employee.

                                                    CONTRIBUTIONS

                       H.      Types of Employer Contributions.

                               1.     Elective Contributions Without Safe Harbor Provisions.

                                    Each Participant may elect, by completing the appropriate forms
               acceptable to the Committee, to reduce and defer the receipt of up to 100% of his or her
               Compensation. In no event shall any Participant be permitted to make Elective
               Contributions in excess of the limitation on Elective Deferrals described in Paragraph H
               of Article IV. The Employer shall contribute the amount so deferred subject to the
               limitations described in Articles IV and V, to the Plan.

                                   Effective on and after January 1, 2002, catch-up contributions
               described in Paragraph D.2 of Article IV shall apply. The Employer provided limit on
               Elective Contributions stated in the preceding paragraph shall not apply to catch up
               contributions.

                                       Effective on or after January 1, 2006 a Participant may designate
               all or a part of his or her Elective Contributions as Roth Contributions.

                              2.      Matching Contributions.

                                      The Employer shall not make Matching Contributions.

                              3.      Nonelective Employer Contributions.

                                   For each Plan Year, the Employer may make contributions to the
               Trust in one (1) or more installments without regard to its Net Profits for such year in
               such amounts as the Board may determine in its sole discretion.

                              4.     Qualified Matching Contributions.

                                     The Employer shall not make Qualified Matching Contributions.

                              5.     Qualified Nonelective Employer Contributions.



                                                   ARTICLE I                                    1-3

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CONFIDENTIAL
                                                                                                      WH_MDL_00331787
                Case 1:18-md-02865-LAK             Document 835-123      Filed 06/27/22   Page 11 of 138




    (
                                       The Employer shall not make Qualified Nonelective Employer
                Contributions.

                                 6.    Safe Harbor Matching Contributions.

                                      The Employer shall not make Safe Harbor Matching Contributions.

                               7.     Safe Har~or Nonelective Employer Contributions.

                                       The Employer shall not make Safe Harbor Nonelective Employer
                Contributions.

                               8.     Simple 401 (k) Contributions.

                                      The Employer shall not make Simple 401 (k) Contributions.

                       I.      Reserved.

                       J.      Required Minimum Benefits.

                            1.  The top-heavy minimum benefit shall be three percent (3%) of
               Section 415 Compensation.

                              2.      Key Employees shall be entitled to top-heavy minimum benefits
               under this Plan.

                       K.     Compensation .

                              "Compensation" means Section 415 Compensation, not to exceed the
               Compensation Limitation, paid by the Employer to an Employee during a Plan Year,
               excluding all Employee expenses allowances, reimbursements and other fringe benefit
               allowances paid during the Plan Year which are subject to withholding of income tax
               under Section 3401 (a) of the Code, and further modified by the following:

                                                Modifications of Compensation

                              Including wages which are not currently includable in the Participant's
               gross income by reason of the application of Sections 125, 132(f)(4), 402(e)(3),
               402(h)(1 )(8), 403(b), 408(p)(2)(A)(i) and 457 of the Code.

                             Effective for Plan Years beginning on and after January 1, 2002 and
               Limitation Years beginning on and after January 1, 2002, for purposes of the definition of



                                                       ARTICLE I                               1-4
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                                                                                                     WH_MDL_00331788
                 Case 1:18-md-02865-LAK          Document 835-123        Filed 06/27/22   Page 12 of 138




                Compensation under this Paragraph K, Paragraphs A.28, A.38 and A.75 of Article 11,
                Paragraph E.1 of Article V and Paragraphs A.2 and E of Article VIII, amounts under
                Section 125 of the Code include any amounts not available to a Participant in cash in lieu
                of group health coverage because the Participant is unable to certify that he or she has
                other health coverage. An amount will be treated as an amount under Section 125 of the
                Code only if the Employer does not request or collect information regarding the
                Participant's other health coverage as part of the enrollment process for the health plan.

                           For purposes of Paragraph A.75 of Article 11, Section 415 Compensation
                means subparagraph {c) of Paragraph A.75 of Article II.

                       L.      Highly Compensated Employees and Current or Prior Testing Methods.

                            For purposes of identifying Highly Compensated Employees, the
                Employer has elected the following:

                           1.     A Highly Compensated Employee shall be determined based upon
               the Look-Back Year.

                           2.         A Highly Compensated Employee need not be a member of the
               Top-Paid Group.

   (_-)''                    3.     The determination of the Actual Deferral Percentage, for the group
               of Eligible Participants who are Non-Highly Compensated Employees shall be based
               upon the current Plan Year data.

                                    ALLOCATIONS TO CONTRIBUTION ACCOUNTS

                       M.     Allocation of Employer Contributions.

                              Subject to the provisions of Articles IV, V and X:

                              1.      Matching Contributions.

                                      Not Applicable.

                              2.     Nonelective Employer Contributions.

                                     Ratio of Compensation Formula

                                   Nonelective Employer Contributions for each Plan Year shall be
               allocated to the Nonelective Employer Contribution Accounts of each Participant eligible




                                                    ARTICLE I                                  1-5

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CONFIDENTIAL
                                                                                                     WH_MDL_00331789
                Case 1:18-md-02865-LAK          Document 835-123       Filed 06/27/22   Page 13 of 138




    (
                for an allocation in the proportion that each such Participant's Compensation bears to
                the Compensation of all such Participants for the Plan Year.

                               3.     Qualified Matching Contributions.

                                      Not Applicable.

                               4.     Qualified Nonelective Employer Contributions.

                                      Not Applicable.

                               5.     Safe Harbor Matching Contributions.

                                      Not Applicable.

                              6.      Safe Harbor Nonelective Employer Contributions.

                                       Not Applicable.

                              7.      Simple 401 (k) Contributions.

                                       Not Applicable.

                       N.     Excess Compensation.

                              Not Applicable.

                       0.     Participant Forfeitures.

                              Not Applicable.

                     P.   Allocation        Requirements    -   Last   Day     Employment   and     Service
               Requirements.

                              1.     Last Day Employment and Service - Not Required

                                    Allocations of Nonelective Employer Contributions shall be made to
               the appropriate Accounts of Eligible Participants during the Plan Year without regard to
               any last day of employment or service requirements, if any, applicable to other types of
               contributions provided under this Plan.

                              2.     Special Rule For Certain Contributions.




                                                    ARTICLE I                                     1-6

               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL
                                                                                                        WH_MDL_00331790
                 Case 1:18-md-02865-LAK          Document 835-123       Filed 06/27/22     Page 14 of 138




                                     Allocations of Elective Contributions., including Roth Contributions if
                any shall be made to the appropriate Accounts of eligible Participants during the Plan
                Year without regard to any last day of employment or Hour of Service requirement that
                may apply to other types of contributions, if any.

                        Q.     Allocation of Excess Annual Additions.

                            If an allocation to a Participant would result in an excess Annual Addition,
                such excess Annual Addition shall be held in suspense accounts and applied to reduce
                Employer contributions for the next succeeding Limitation Year.

                        R.     Employee After-Tax and Deemed IRA Contributions.

                               1.     Employee After-Tax Contributions are not allowed.

                               2.     Deemed IRA Contributions are not allowed.

                        S.     Rollover Contributions and Transferred Benefits.

                               Rollover Contributions are allowed from the types of plans specified
               below:

                             A qualified plan described in Section 401 (a) or 403(a) of the Code
               excluding Employee After-Tax Contributions and including a direct rollover of Roth
               Contributions.

                              An annuity contract described in Section 403(b) of the Code.

                              An eligible plan under Section 457(b) of the Code which is maintained by
               a state, political subdivision of a state, or any agency or instrumentality of a state or
               political subdivision of a state.

                             An individual retirement account or annuity described in Section 408(a) or
               408(b) of the Code that is eligible to be rolled over and would otherwise be includible in
               gross income.

                              Rollover Contributions can only be made by Participants.

                              Transferred Benefits are allowed.




                                                    ARTICLE I                                   1-7
               BROAD FINANCIAL (800) 395•5200


CONFIDENTIAL
                                                                                                      WH_MDL_00331791
                 Case 1:18-md-02865-LAK          Document 835-123      Filed 06/27/22   Page 15 of 138




                        T.     Early Retirement Age and Normal Retirement Age.

                               Early Retirement Age.

                               Not Applicable.

                               Normal Retirement Age.

                              "Normal Retirement Age" means the Participant's 65th birthday. A
                Participant who continues in the employ of the Employer after he or she attains Normal
                Retirement Age shall remain a Participant while so employed, and be entitled to all Plan
                benefits to the extent he or she would be entitled thereto if he or she had not yet
                attained Normal Retirement Age, including allocation of any type of Employer
                contribution and forfeiture, if any.

                                                          VESTING

                       U.      Vesting.

                            A Participant shall be fully vested in his or her Elective Contribution,
               Nonelective Employer Contribution and Roth Contribution Account(s) at all times.

                       V.     Required Top-Heavy Minimum Vesting.

                              Not Applicable.

                       W.     Years of Vesting Service.

                              Not Applicable

                       X.     Years of Service - Break-in-Service.

                              Not Applicable.

                      Y.      Service with the Predecessor Employer.

                              Service with a Predecessor Employer is not applicable.

                      z.      Vesting at Death or Total Disability.

                              Not Applicable.




                                                    ARTICLE I                                1-8

               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL
                                                                                                   WH_MDL_00331792
                 Case 1:18-md-02865-LAK           Document 835-123    Filed 06/27/22     Page 16 of 138




                                                DISTRIBUTION OF BENEFITS

                       AA.     Participant Loans.

                              Loans to Participants are available. Loans will be treated as directed
                investments of Participants' Accounts. Loans shall not be repaid by payroll deductions.
                Loans to Inactive Participants are available under the same procedures and provisions
                as are applicable to active Participants with the exception of loan repayments by payroll
                deductions, if applicable. Loan repayments shall be suspended by reason of
                Section 414(u) of the Code.

                       BB.     Hardship Withdrawals.

                             Hardship withdrawals of Elective contributions including Roth
               Contributions and Nonelective Employer contributions to the extent vested shall be
               allowed. For these purposes, an "event of hardship" means:

                            Payment for (or necessary to obtain) medical care that would be described
               under Section 213(d) of the Code determined without regard to whether the expenses
               exceed seven and one-half percent (7.5%) of adjusted gross income .

    .----                   Cost directly related to the purchase of a principal residence, but not
   (--'-',,)   including mortgage payments, by the Employee.

                            Payment of tuition, room and board, and related educational fees for up to
               the next 12 months of post-secondary education for the Employee, the Employee's
               Spouse, children or dependents (as defined in Section 152 of the Code, and for taxable
               years beginning on or after January 1, 2005 without regard to Sections 152(b)(1 ),
               152(b)(2) and 152(d)(1)(B) of the Code).

                             The need to prevent eviction of the Employee from his or her principal
               residence or foreclosure on the mortgage of the Employee's principal residence.

                             Payments for burial or funeral expenses for the Employee's deceased
               parent, Spouse, children or dependents (as defined in Section 152 of the Code, and for
               taxable years beginning on or after January 1, 2005 without regard to Section
               152(d)(1)(B) of the Code).

                              Payments of expenses for the repair of damage to the Employee's
               principal residence that would qualify for the casualty deduction under Section 165 of
               the Code (determined without regard to whether the loss exceeds ten percent (10%) of
               adjusted gross income).




                                                    ARTICLE I                                 1-9

               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL
                                                                                                    WH_MDL_00331793
                Case 1:18-md-02865-LAK          Document 835-123       Filed 06/27/22     Page 17 of 138




                        CC.    In-Service Distributions Other Than Hardship.

                               In-service distributions of the vested portion of a Participant's Nonelective
                Employer Contribution Account shall be allowed if vested amounts that have been held
                in the Trust for at least two (2) years.

                              In-service distributions of the vested portion of a Participant's Elective
                Contribution Account and Transferred Benefits Account subject to only Section 401 (k) of
                the Code shall be allowed at or after age 59½.

                             In-service distributions of a Participant's Roth Contribution Account shall
                be allowed at or after age 59 ½.

                             In-service distributions of the vested portion of c) Participant's Transferred
                Benefits Account that have been held in a qualified trust for at least two (2) years and
                are not subject to Section 401 (k) of the Code or Paragraph D of Article XVI shall be
                allowed at any time.

                             In-service distributions of a Participant's Rollover Contribution Account
               shall be allowed at any time.

                       DD.    Cash-Out Options.

                              1.      The involuntary cash-out distribution limit of this Plan is $5,000.
               Effective for distributions made on or after March 28, 2005 the involuntary cash-out limit,
               including Rollover Contributions, shall be reduced to $1,000.

                             2.    If applicable, this Plan shall exclude Rollover Contributions (and
               earnings allocable thereto) in determining the value of the Participant's vested Accrued
               Benefit for purposes of the involuntary cash-out distribution limit of $5,000 for
               distributions made after December 31, 2001 to Participants.

                            3.    For purposes of determining whether a distribution is subject to
               Sections 401(a)(11) and 417 of the Code, the dollar amount described in the first
               paragraph of Paragraph B.5 of Article VII shall be $5,000.

                           4.      An immediate forfeiture of a partial cash-out as provided in
               Paragraph B.4 of Article VI is not applicable.

                             5.     If a Participant is rehired prior to five (5) consecutive one year
               Breaks-in-Service, he or she shall not be required to repay the Plan the amounts
               previously distributed to the Participant for the Participant's non-vested Accrued
               Benefits to be restored.



                                                   ARTICLE I                                   1-10

               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL
                                                                                                   WH_MDL_00331794
                 Case 1:18-md-02865-LAK           Document 835-123       Filed 06/27/22    Page 18 of 138




                              6.    The alternative separate account formula X=P(AB + (RxD))- (RxD)
                as stated in Paragraph C of Article VI shall not apply.

                       EE.       Time of Distribution Upon Employment Termination.

                               1.    Distributions of vested Accounts to Participants upon employment
                termination prior to Normal Retirement Age shall be made as soon as administratively
                feasible after employment termination date.

                              2.    Distribution upon severance from employment shall apply for
                distributions after December 31, 2001 regardless of when the severance from
                employment occurred.

                     FF.        Right to Defer Receipt of Benefits After Normal Retirement Age and
               Age 70½.

                             1.     Upon separation from service, a Participant shall have the right to
               defer receipt of benefits after Normal Retirement Age or age 62, if later.

                            2.      The required beginning date for minimum required distributions for
               a non-5% Owner is the April 1 of the calendar year following the calendar year in which
               such Participant attains age 70½.

                       GG.      Minimum Required Distributions under Final and Temporary Regulations.

                                1.    Effective Date of Final and Temporary Regulations.

                                  Notwithstanding any inconsistent provisions of the Plan, for
               purposes of determining required minimum distributions for Distribution Calendar Years
               beginning with the 2003 calendar year, this Plan will apply the minimum distribution
               requirements of Section 401(a)(9) of the Code in accordance with the Final and
               Temporary Regulations issued on April 17, 2002.

                                2.    Election to Apply 5-Year Rule to Distributions to Designated
               Beneficiaries.

                                      The provisions of subparagraph C.2(a) of Article VII of the Plan will
               not be modified.

                                3.    Election to allow Participants or Beneficiaries to elect the 5-Year




                                                     ARTICLE I                                  1-11

               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL
                                                                                                       WH_MDL_00331795
                 Case 1:18-md-02865-LAK         Document 835-123         Filed 06/27/22     Page 19 of 138




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                                      Participants or Beneficiaries may elect on an individual basis whether
               the 5-year rule or the life expectancy rule in subparagraph C.2(a), (d), (e) and (f) of Article
               VII of the Plan applies to distributions after the death of a Participant who has a
               Designated Beneficiary. The election must be made no later than the earlier of September
               30 of the calendar year in which distribution would be required to begin under
               subparagraph C.2(a) of Article VII of the Plan, or by September 30 of the calendar which
               contains the fifth anniversary of the Participant's (or, if applicable, Surviving Spouse'.s)
               death. If neither the Participant nor Beneficiary makes an election under this paragraph,
               distributions will be made in accordance with subparagraphs C.2(a), (d), (e) and (f) of
               Article VII of the Plan and, if applicable, the elections in Paragraph GG.2 of this Article I.

                            4.     Election to Allow Designated Beneficiary Receiving Distributions
                Under 5-Year Rule to Elect Life Expectancy Distributions.

                                   A Designated Beneficiary who is receiving payments under the 5-
               year rule may not make a new election to receive payments under the life expectancy rule
               until December 31, 2003.

                       HH.    Accrued Benefits Not Subject to REACT Annuity Requirements.

                           Participants' Accrued Benefits shall. not be subject to the Qualified Joint
               and Survivor Annuity and Qualified Preretirement Survivor Annuity requirements of
               REACT as provided in Paragraphs A, Band C of Article VII.

                       II.    Reserved.

                       JJ.    Alternate Forms of Benefits Payments.

                              The following alternate forms of benefit payment are available:

                          Single Sum. The payment of all or a portion of the Participant's vested
               Accrued Benefit in a single sum in cash or in kind.

                              Installments. The payment of the Participant's vested Accrued Benefit in a
               series of installments payable monthly.

                      KK.     Distributions of Roth Contributions.

                              If a Participant receives a partial distribution of his or her Accounts for any
               reason (other than a return of Excess Contributions, Excess Aggregate Contributions or
               Excess Deferrals), the Participant shall be allowed to designate all or a part of such
               distribution to be disbursed from his or her Roth Contribution Account.




                                                    ARTICLE I                                    1-12

               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL
                                                                                                        WH_MDL_00331796
                 Case 1:18-md-02865-LAK           Document 835-123        Filed 06/27/22     Page 20 of 138




                              If a Highly Compensated Employee is required to receive a return of
                Excess Contributions and his or her Elective Contributions include both pre-tax Elective
                Contributions and designated Roth Contributions, such Highly Compensated Employee
                shall be allowed to designate whether such Excess Contributions shall be disbursed
                from his or her pre-tax Elective Contributions or Roth Contributions.

                              If an Employee is required to receive a return of Excess Deferrals and his
                or her Elective Contributions include both pre-tax Elective Contributions and designated
                Roth Contributions, such Employee shall be allowed to designate whether such Excess
                Deferrals shall be disbursed from his or her pre-tax Elective Contributions or Roth
                Contributions.

                              With respect to the special rule of Section 1.401 (a)(31 )-1 Q&A-11 of
               Treasury Regulations, Roth Contribution Account shall be treated as a separate plan
               within the meaning of Section 414(1) of the Code and for purposes of subparagraph
               B.3(e) of Article VII.

                              If an Employee is required to receive a refund pursuant to Paragraph F of
               Article V because the Annual Addition Limitation is exceeded, such Employee shall be
               entitled to elect a refund of pre-tax Elective Deferrals prior to any refund of Roth
               Contributions. If such Employee does not make such election, then Roth Contributions
   ( ~)        shall be refunded in the second step of Paragraph F of Article V.
   ' ~- ,J
                       LL.    Total Disability.

                              ''Total Disability" shall have the same meaning as defined in Article II.

                                                    MISCELLANEOUS

                       MM.    Participant Directed Accounts.

                          Each Participant shall be entitled to direct the investment of his or her
               Accrued Benefits in accordance with Article XII.

                       NN.    Valuation Date.

                              For Accounts that are self-directed by Participants, Valuation Date(s) shall
               mean the end of each "business" day unless the investment option or the per share
               value of a particular investment is not valued daily. If the particular investment is not
               valued daily, then Valuation Date shall mean the date(s), upon which such investment is
               actually valued or any other date that the Committee designates. However, in no event
               shall a Valuation Date occur less frequently than annually, with the last day of each Plan
               Year serving as a Valuation Date (or one of the Valuation Dates).



                                                    ARTICLE I                                    1-13

               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL
                                                                                                        WH_MDL_00331797
                 Case 1:18-md-02865-LAK          Document 835-123     Filed 06/27/22    Page 21 of 138




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                        00.    Special Disaggregation Rule.

                               Not Applicable.

                       PP.     Co-Trustees.

                               If there is more than one (1) Trustee, any one of such Co-Trustees shall
                have the right to make any decision, undertake any action or execute any documents
                affecting this Trust without the approval of the remaining Co-Trustees. Any directions to
                any person or organization shall be executed by any one of the Co-Trustees. For
                purposes of this Plan and Trust, "directions" shall mean any certification, notice,
                authorization, application or instruction of the Co-Trustee.




                                                   ARTICLE I                                 1-14

               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL
                                                                                                    WH_MDL_00331798
                 Case 1:18-md-02865-LAK         Document 835-123       Filed 06/27/22     Page 22 of 138




                                                  11.    DEFINITIONS

                       A.     Terms Defined In This Article II. As used in this Plan, the following terms
                have the following meanings.

                             1.     "Account(s)" means, where applicable, a Participant's Elective
                Contribution Account, Employee After-Tax Contribution Account, Matching Contribution
                Account, Nonelective Employer Contribution Account, Qualified Matching Contribution
                Account, Qualified Nonelective Employer Contribution Account, Rollover Contribution
                Account, Roth Contribution Account, Safe Harbor Matching Contribution Account, Safe
                Harbor Nonelective Employer Contribution Account, Simple 401(k) Contribution Account
                and/or Transferred Benefits Account.

                              2.     "Accrued Benefit" means, where applicable at any date, the value
                of a Participant's Accounts.

                             3.      "Actual Deferral Percentage" means with respect to (i) the group of
               Highly Compensated Employees who are Eligible Participants and (ii) the group of all
               other Eligible Participants, the average of the actual deferral ratios of each group,
               calculated separately for each Eligible Participant in each group, of the amount of the
               Qualifying Section 401 (k) Contributions made on behalf of each Eligible Participant for
               the Plan Year divided by the Eligible Participant's Compensation for the Plan Year. The
               actual deferral ratio of an Eligible Participant who did not make or receive any Qualifying
               Section 401 (k) Contribution is zero (0). The actual deferral ratio for each Eligible
               Participant shall be calculated to the nearest one~hundredth (.01) of one percent (1 %).
               Unless otherwise elected in Paragraph K of Article I, Compensation includes
               Compensation received for the entire Plan Year regardless of whether the Eligible
               Participant was a Participant for the entire Plan Year.

                            Elective Contributions that are treated as catch-up contributions pursuant
               to Section 414(v) of the Code because they exceed a statutory limit imposed by Section
               401(a)(30), 402(h), 403(b), 408, 415(c) or 457(b)(2) of the Code (without regard to
               Section 414(v) or 457((b)(3) of the Code) or an Employer-provided limit stated in
               Paragraph H.1 of Article I or J.6 of Article IV (without regard to Section 414(v) of the
               Code) are subtracted from the Participant's Elective Contributions for the Plan Year for
               purposes of determining such Participant's actual deferral ratio

                              4.     "Anniversary Date" means the last day of the Plan Year.

                            5.    "Annual Addition" means the amounts allocated to a Participant's
               Accounts during any relevant Limitation Year that constitute:




                                                   ARTICLE II                                  11-1

               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL
                                                                                                      WH_MDL_00331799
                 Case 1:18-md-02865-LAK            Document 835-123   Filed 06/27/22   Page 23 of 138




                                      (a)     Employer contributions; provided, however, that Employer
                contributions or prior forfeited amounts which are used to restore the non-vested portion
                of a Participant's Accrued Benefit that was previously cashed-out and forfeited shall not
                be considered an Annual Addition;

                                    (b)   Employee After-Tax Contributions; provided, however, that
                Employee After-Tax Contributions not in excess of the greater of (i) six percent (6%) of
                Section 415 Compensation or (ii) one-half (½) of the Employee After-Tax Contributions
                shall not be considered as Annual Additions for any Limitation Year beginning before
                January 1, 1987;

                                      (c)       Forfeitures;

                                    (d)    Excess Contributions and Excess Aggregate Contributions,
                whether or not corrected by distribution or recharacterization;

                                    (e)   Excess Deferrals; provided, however, that Excess Deferrals
               which are distributed in accordance with Section 1.402(1)-1(e)(2) or (3) of the Treasury
               Regulations are not Annual Additions. Additionally, Elective Deferrals which are
               returned pursuant to Section 415 of the Code are not Annual Additions and are
               disregarded for purposes of Sections 401 (k}, 401 (m)(2) and 402(g) of the Code;

                                   (f)   Amounts allocated after March 31, 1984, to an individual
               medical account, as described in Section 415(1)(2} of the Code, which is part of a
               pension or annuity plan maintained by the Employer;

                                    (g)   Amounts derived from contributions paid or accrued after
               December 31, 1985, in taxable years ending after such date, which are attributable to
               post-retirement medical benefits, allocated to separate accounts of a Key Employee, as
               defined in Section 419A(d)(3) of the Code, under a welfare benefit fund, as defined in
               Section 419(e) of the Code, maintained by the Employer; and

                                   (h)    Amounts allocated under a simplified employee pension plan
               pursuant to Section 408(k) of the Code.

                             6.     "Average Contribution Percentage" means with respect to (i) the
               group of Highly Compensated Employees who are Eligible Participants and (ii) the
               group of all other Eligible Participants, the average of the contribution ratios of each
               group, calculated separately for each Eligible Participant in each group, of the amount
               of Qualifying Section 401(m) Contributions made on behalf of each Eligible Participant
               for the Plan Year divided by the Eligible Participant's Compensation. The Average
               Contribution Percentage shall be calculated to the nearest one-hundredth (.01) of one
               percent (1 %). The determination of Compensation for an Eligible Participant during the



                                                       ARTICLE 11                            11-2
               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL
                                                                                                WH_MDL_00331800
                 Case 1:18-md-02865-LAK         Document 835-123        Filed 06/27/22     Page 24 of 138




                Plan Year shall be made in the same manner as for the Actual Deferral Percentage
                limitation.

                               7.     "Board" means the Board of Directors of the Employer, if a
                corporation. If such corporation is later dissolved, Board continues to mean such Board
                of Directors of the Employer if empowered to continue to act as a board in settling the
                affairs of the dissolved corporation under local law. If no such power exists, then in the
                case of a corporation that is dissolved, Board means the Trustee of the Trust, until such
                time as a new employer adopts and sponsors the Plan or until all assets are distributed.
                If the Employer is not a corporation, Board means the managing partner(s) of a
                partnership, the manager of a limited liability company, the trustee(s) of a trust, the sole
                proprietor of an unincorporated business or the elected or designated representative(s)
                of an unincorporated association.

                             8.    "Break-in-Service" means that an Employee did not complete more
               than 500 Hours of Service, or such lesser amount if elected in Article I, in the applicable
               Computation Period. For purposes of determining whether a Break-in-Service has
               occurred in a Computation Period, an Employee who is granted a Maternity or Paternity
               Leave of Absence shall receive credit for eight (8) Hours of Service per day of such
               absence. To the extent provided in Paragraphs A.43 and A.47 of this Article II and
               Paragraph B of Article Ill, Leaves of Absence shall not cause a Break-in-Service.
               Unless otherwise elected in Article I, if the Plan Year is less than 12 months, no Break-
               in-Service shall occur in such Plan Year. For purposes of the elapsed time method,
               Break-in-Service means a "One-Year Period of Severance."

                              9.      "Code" means the Internal Revenue Code of 1986, as amended
               from time to time.

                           10.   "Committee" means the administrative committee appointed by the
               Sponsoring Employer's Board.

                             11 .   "Compensation Limitation" means the limitation imposed by
               Section 401 (a)(17) of the Code, as described below.

                                    (a)    The annual Compensation of each Participant taken into
               account in determining allocations for any Plan Year shall not exceed $200,000. The
               Compensation Limitation shall be adjusted for cost-of-living increases in accordance
               with Section 401 (a)(17)(B) of the Code. Annual Compensation means Compensation
               during the Plan Year or such other consecutive 12-month period over which
               Compensation is otherwise determined under the Plan (the determination period). The
               cost-of-living adjustment in effect for a calendar year applies to annual Compensation
               for the determination period that begins with or within such calendar year.




                                                   ARTICLE II                                   11-3

               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL
                                                                                                       WH_MDL_00331801
                 Case 1:18-md-02865-LAK         Document 835-123        Filed 06/27/22     Page 25 of 138




                                    (b)     If a determination period is less than 12 months, the
                Compensation Limitation described in the preceding subparagraph (a) above will be
                multiplied by a fraction , the numerator of which is the number of months in the
                determination period, and the denominator of which is 12.

                              12.     "Contribution Percentage" means the ratio (expressed as a
                percentage) of the Qualifying Section 401(m) contributions under the Plan on behalf of
                the Eligible Participant for the Plan Year to the Eligible Participant's Compensation for
                the Plan Year.

                              13.     "Controlled Group" means the Employer and all members of its
               controlled or affiliated group of trades or businesses whether or not incorporated
               (including an affiliated service group) as defined in Section 414(b), (c), (m) or (o) of the
               Code; provided, however, that any member of a Controlled Group shall be disregarded
               for all purposes under the Plan for any period when such member was not a member of
               the Controlled Group unless expressly provided to the contrary herein.

                              14.    "Defined Contribution Dollar Limitation" means $40,000 for
               Limitation Years beginning after December 31, 2001 as adjusted by Section 41 S(d) of
               the Code. If a Limitation Year is less than 12 months, the Defined Contribution Dollar
               Limitation for that year shall be multiplied by one-twelfth (1/12) of the number of months
   r-\         in such year.
   t\,._·-l!
                              15.     "DEFRA" means the Deficit Reduction Act of 1984, as amended
               from time to time.

                              16.    "Designated Beneficiary" or "Beneficiary" means the person(s) or
               entity(ies) designated by the Participant or, in the absence thereof, the person(s) or
               entity(ies) entitled under the provisions of this Plan to receive benefits as a result of the
               death of the Participant.

                            17.   "Direct Rollover'' means a payment by the Plan to an Eligible
               Retirement Plan specified by a Distributee.

                           18.    "Distributee" means an Employee, former Employee, an
               Employee's or former Employee's Surviving Spouse or an Employee's or former
               Employee's Spouse or former Spouse who is an Alternate Payee under a Qualified
               Domestic Relations Order.

                              19.    "Distribution Calendar Year" means a calendar year for which a
               minimum distribution is required. For distributions beginning before the Participant's
               death, the first Distribution Calendar Year is the calendar year immediately preceding
               the calendar year which contains the Participant's required beginning date. For



                                                   ARTICLE 11                                    11-4
               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL
                                                                                                        WH_MDL_00331802
                 Case 1:18-md-02865-LAK         Document 835-123        Filed 06/27/22    Page 26 of 138




                distributions beginning after the Participant's death, the first Distribution Calendar Year
                is the calendar year in which distributions are required to begin under subparagraph
                C.2(a) of Article VII. The required minimum distribution for the Participant's first
                Distribution Calendar Year will be made on or before the Participant's required
                beginning date. The required minimum distribution for other Distribution Calendar
                Years, including the required minimum distribution for the Distribution Calendar Year in
                which the Participant's required beginning date occurs, will be made on or before
                December 31 of that Distribution Calendar Year.

                             20.    "Earned Income" means the net earnings of a Self-Employed
               Individual from self-employment (as defined in Section 1402(a) of the Code),
               determined after taking into account (i) deductible contributions to the Pian and any
               other qualified plans maintained by the Employer; and (ii) all other adjustments required
               by Section 401(c)(2) of the Code; but (iii) only if the services of the Self-Employed
               Individual to the Employer's business are a material income-producing factor as
               determined in accordance with Section 1.401-1 0(c) of the Treasury Regulations. Net
               earnings shall be further reduced by the deductions allowed to the taxpayer by
               Section 164(f) of the Code.

                             21 .    "Elective Contributions" means in any Plan Year the amount of a
               Participant's Compensation elected by him or her to be reduced and deferred pursuant
   ( -\        to Article I. Catch-up contributions and Roth Contributions will be treated as Elective
   \'"-./      Contributions. Roth Contributions and pre-tax Elective Contributions may not be
               reclassified as the other type of contribution. Any amount that the Employee could not
               have elected to receive in cash or any amount that has become currently available to a
               Participant or that is designated or treated at the time of the deferral or contribution as
               an Employee After-Tax Contribution shall not be treated as an Elective Contribution

                               Except on account of bona fide administrative considerations that are not
               for the purpose of accelerating deductions, as described in Section 1.401 (k)-
               1(a)(3)(iii)(C)(2) of the Treasury Regulations, Elective Contributions must be deposited
               to the Trust after the Employee's performance of services.

                            22.    "Elective Contribution Account" means the account maintained to
               record the Participant's Elective Contributions, other than Roth Contributions, and any
               other adjustments as required under Article IV, V or X of the Plan.

                            23.    "Elective Deferrals" means the sum of the amounts deferred
               pursuant to an individual's election to defer income for a taxable year pursuant to the
               following:

                                 (a)   Elective Contributions under this Plan and any qualified cash
               or deferred arrangement as defined in Section 401(k) of the Code which is not



                                                  ARTICLE II                                   11-5
               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL
                                                                                                      WH_MDL_00331803
                 Case 1:18-md-02865-LAK            Document 835-123      Filed 06/27/22     Page 27 of 138




                includable in the individual's gross income for the taxable year on account of
                Section 402(e)(3) of the Code.

                                    (b)    Any Employer contribution to a simplified employee pension
                plan as defined in Section 408(k) of the Code wh ich is not includable in the individual's
                income for the taxable year on account of Section 402(h)(1 )(B) of the Code.

                                    (c)     Any Employer contribution to an annuity contract under
                Section 403(b) of the Code under a salary reduction agreement within the meaning of
                Section 312(a)(5)(D) of the Code which is not ineluctable in the individual's gross income
                for the taxable year on account of Section 403(b) of the Code. For purposes of the
                preceding sentence, a contribution to a Section 403(b) annuity made pursuant to a
                one-time irrevocable election to contribute at time of eligibility to participate shall not be
                included.

                                     (d)     Any Employee contribution designated as deductible in a
                trust described in Section 501(c)(18) of the Code which is deducted from such
                individual's income for the taxable year on account of Section 501 (c)(18) of the Code.

                                     (e)   Any elective Employer contribution made under Section
               408(p)(2)(A)(i) of the Code.

                                      (f)       Any catch-up contributions made under Section 414(v) of the
               Code.

                           24.    "Eligibility Computation Period" means the initial 12 consecutive
               month period commencing on an Employee's Employment Commencement Date and
               the Subsequent Eligibility Computation Period as elected in Article I.

                             25.     "Eligible Participant" means for purposes of computing the Actual
                Deferral Percentage, any Employee who is directly or indirectly eligible to make an
               election to reduce and defer his or her Compensation under the Plan during all or a
               portion of a Plan Year, including (i) any Employee who would be a Participant but for the
               failure to make any Elective Contributions or other required contributions; (ii) any
               Employee whose eligibility to make Elective Contributions has been suspended due to a
               hardship distribution or other distribution, a loan, or an election not to participate, other
               than a one-time irrevocable election made no later than the Employee's first becoming
               eligible under the Plan or any plan or arrangement of the Employer described in Section
               219(g)(5)(A) of the Code (whether or not such other plan or arrangement has
               terminated) to have contributions equal to a specified amount or percentage of
               Compensation (including no amount of Compensation) made by the Employer to this
               Plan and any other plan maintained by the Employer (including plans not yet
               established) for the duration of the Employee's employment; (iii) any Employee who is



                                                       ARTICLE II                                 11-6

               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL
                                                                                                         WH_MDL_00331804
                 Case 1:18-md-02865-LAK         Document 835-123       Filed 06/27/22     Page 28 of 138




                unable to receive an additional Annual Addition on account of Section 415(c)(1) of the
                Code; and (iv) any Employee who is unable to make an Elective Contribution because
                his or her Compensation is less than a stated dollar amount.

                              For purposes of computing the Average Contribution Percentage, "Eligible
               Participant" means any Employee who is directly or indirectly eligible to make an
               Employee After-Tax Contribution or to receive an allocation of Matching Contributions,
               including Matching Contributions derived from forfeitures under the Plan during all or a
               portion of a Plan Year including (i) any Employee who is unable to make an Employee
               After-Tax Contribution or receive an allocation of Matching Contributions merely
               because his Compensation is less than a stated amount; (ii) any Employee who would .
               be eligible to make Employee After-Tax Contributions or receive Matching Contributions
               except for a suspension due to a hardship distribution or other distribution, a loan or an
               election not to participate in the Plan, other than a one-time irrevocable election made
               no later than the date the Employee first becomes eligible under the Plan or any plan or
               arrangement of the Employer described in Section 219(g)(5)(A) of the Code not to be
               eligible to make Employee After-Tax Contributions or receive an allocation of Matching
               Contributions under the Plan or any other plan maintained by the Employer (including
               plans not yet established) for the duration of the Employee's employment; (iii) and any
               Employee who is unable to receive additional Annual Additions because of
               Section 415(c }( 1) of the Code.

   ()                         26.    "Eligible Retirement Plan" means an eligible plan under Section
               457(b) of the Code which is maintained by a state, political subdivision of a state, or any
               agency or instrumentality of a state or political subdivision of a state and which agrees
               to separately account for amounts transferred into such plan from this Plan, an
               individual retirement account described in Section 408(a) of the Code, an individual
               retirement annuity described in Section 408(b) of the Code, an annuity plan described in
               Section 403(a) of the Code, an annuity contract described in Section 403(b) of the Code
               or a qualified trust described in Section 401 (a) of the Code, that accepts the
               Distributee's Eligible Rollover Distribution.

                             Notwithstanding the preceding paragraph, for purposes of Roth
               Contributions, an Eligible Retirement Plan means an applicable retirement plan
               described in Section 402A(e)(1) of the Code or a Roth IRA described in Section 408A of
               the Code, and only to the extent the direct rollover is permitted under Section 402(c) of
               the Code.

                            If elected in Article I, this Plan will accept direct rollovers of Roth
               Contributions provided such rollover satisfies the requirements of the preceding
               paragraph.




                                                  ARTICLE II                                   11-7
               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL
                                                                                                      WH_MDL_00331805
                 Case 1:18-md-02865-LAK          Document 835-123        Filed 06/27/22     Page 29 of 138




                              27.     "Eligible Rollover Distribution" means any distribution of $200 or
                more of the Distributee's vested Accrued Benefit except that an Eligible Rollover
                Distribution does not include (i) any distribution that is one of a series of substantially
                equal periodic payments made (not less frequently than annually) for the life (or life
                expectancy) of the Distributee or the joint lives (or joint life expectancies) of the
                Distrlbutee and the Distributee's Designated Beneficiary, or for a specified period of 10
                years or more; (ii) any distribution to the extent such distribution is required under
                Section 401 (a)(9) of the Code; (iii) the portion of any distribution that is not includable in
                gross income (determined without regard to the exclusion for net unrealized
                appreciation with respect to employer securities); and {iv) any hardship distributions.

                              Any amount that is distributed on account of hardship shall not be an
                Eligible Rollover Distribution and the Distributee may not elect to have any portion of
                such a distribution paid directly to an Eligible Retirement Plan. However, if a Participant
                would have been entitled to receive his or her Accounts regardless of hardship (i.e., age
                59½), then such amounts shall qualify as an Eligible Rollover Distribution.

                              If a portion of a distribution that includes a hardship distribution is not
               includible in gross income, the portion of the distribution that is not includible in gross
               income is first allocated to the hardship distribution and then any remaining portion not
               includible in gross income is allocated to the portion of the distribution that is not a
               hardship distribution.

                               A portion of a distribution shall not fail to be an Eligible Rollover
               Distribution merely because the portion consists of Employee After-Tax Contributions
               which are not includible in gross income. However, such portion may be transferred
               only to a traditional individual retirement account or annuity described in Section 408(a)
               or (b) of the Code, or to a qualified defined contribution plan described in Section 401 (a)
               or 403(a) of the Code that agrees to separately account for amounts so transferred,
               including separately accounting for the portion of such distribution which is includible in
               gross income and the portion of such distribution which is not so includible. If an
               Eligible Rollover Distribution includes both pretax and Employee After-Tax
               Contributions, the portion of such Eligible Rollover Distribution is treated as consisting
               first of pretax amounts.

                             28.     "Employee" means every person employed by the Employer whose
               income is subject to withholding of income tax or for whom Social Security contributions
               are made by the Employer. Unless the Plan is amended to provide otherwise, the
               special rule for certain dispositions or acquisitions of Section 41O(b )(6)(C) of the Code
               shall apply. Thus, the Plan may be treated as satisfying Section 410(b) of the Code for
               a limited period of time after an acquisition or disposition if the Plan satisfies Section
               410(b) of the Code (without regard to the special rule) immediately before the
               acquisition or disposition and there is no significant change in the Plan or in the



                                                    ARTICLE II                                     11-8

               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL
                                                                                                          WH_MDL_00331806
                 Case 1:18-md-02865-LAK         Document 835-123       Filed 06/27/22     Page 30 of 138




   (            coverage of the Plan other than the acquisition or disposition. If the Employer is an
                Unincorporated Entity, Employee also means a Self-Employed Individual.

                           Employee shall include Leased Employees; provided, however, that a
                Leased Employee shall not be considered an Employee if:

                                        (a)     The Leased Employee is covered by a money purchase
                pension plan providing (i) a nonintegrated employer contribution rate of at least 10% of
                compensation, as defined in Section 415(c)(3) of the Code, but including amounts
                contributed by the employer pursuant to a salary reduction agreement which are
                exc!udab!e from the Leased Employee's gross income under Section 125, 132(f)(4 ),
                402(e)(3), 402(h)(1 )(B), 403(b), 408(p)(2)(A)(i) or 457 of the Code; (ii) immediate
                participation; and (iii) full and immediate vesting; and

                                   (b)   Leased Employees do not constitute more than 20% of the
                Employer's non-highly compensated workforce.

                               Leased Employees may become Eligible Employees unless excluded in
               Article I.

                              29.    "Employee After-Tax Contribution" means any contributions, other
   (-           than Roth Contributions, made to a plan that are designated or treated at the time of
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   '-._j        deferral or contributions as employee after-tax contributions and are allocated to a
               separate account to which the attributed earnings and losses are allocated. Such term
               includes (i) Employee contributions to a defined contribution plan described in Section
               414(k) of the Code; (ii) Employee contributions made to a defined benefit plan which
               provides for a cost of living arrangement as described in Section 415(k)(2)(B) of the
               Code; (iii) Employee contributions applied to the purchase of whole life insurance
               protection, or survivor benefits protection under a defined contribution plan; (iv) amounts
               attributed to Excess Contributions within the meaning of Section 401 (k)(8)(B) of the
               Code which are recharacterized as Employee contributions; and (v) and Employee
               contributions to a contract described in Section 403(b) of the Code. Employee After-
               Tax Contributions do not include repayment of loans, buy-backs of benefits previously
               forfeited, or Employee After-Tax Contributions which were transferred to this Plan and
               are held pursuant to Article XVI.

                            30.   "Employee After-Tax Contribution Account' means the Account
               maintained to record a Participant's allocation of Employee Contributions and other
               adjustments as required under Article IV, V or X of the Plan.

                             31.   "Employer'' means the entity or entities adopting the Plan, and any
               other members of the Controlled Group and any successor thereto which have adopted
               the Plan in accordance with the provisions of Paragraph F of Article XIV. Employer also



                                                  ARTICLE II                                   11-9
               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL
                                                                                                      WH_MDL_00331807
                 Case 1:18-md-02865-LAK         Document 835-123     Filed 06/27/22    Page 31 of 138




    (
                means any other entities that have adopted this Plan and any successor thereto that are
                not members of a Controlled Group. The "Sponsoring Employer" shall be the Employer
                who is responsible for the administration of the Plan. Each other entity which adopts
                this Plan as provided herein shall be a "Participating Employer"; provided, however, that
                only members of a Controlled Group may be Participating Employers unless the
                preamble of Article I designates a non-Controlled Group entity as a Participating
                Employer.

                            32.     "Employment Commencement Date" means the date upon which
                an Employee first completes one (1) Hour of Service.

                              33.  "ERISA" means the Employee Retirement Income Security Act
               · of 1974, as amended from time to time.

                             34.   "Excess Aggregate Contributions" means, with respect to any Plan
                Year, the excess of the aggregate amount of Qualifying Section 401(m) Contributions
                actually made on behalf of Highly Compensated Employees for such Plan Year over the
                maximum amount of such contributions permitted under the Contribution Percentage
                limitation.


   --\r                    35.   "Excess Contributions" means, with respect to any Plan Year, the

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               excess of the aggregate amount of Qualifying Section 401 (k) Contributions actually
               made on behalf of Highly Compensated Employees for the Plan Year over the
               maximum amount of such contributions permitted under the Actual Deferral Percentage
               limitation.

                             36.    "Excess Deferrals" means those Elective Deferrals made by an
               individual during his or her taxable year which exceed $11,000 ($7,000 if a Simple
               401 (k) Plan) or such other amount that is adjusted under Section 415(d) of the Code.
               The special adjustments for Section 403(b) annuity contracts and other rules concerning
               Section 402(g) of the Code are incorporated herein by reference.

                              37.     "5%-Owner'' means any person who owns directly or indirectly as
               defined in Section 416(i)(1 )(B) of the Code (i) more than five percent (5%) of the
               outstanding stock of the Employer; or (ii) stock possessing more than five percent (5%)
               of the total combined voting power of all stock of the Employer. If the Employer is not a
               corporation, 5%-Owner means any person who owns more than five percent (5%) of the
               capital or profits interests in the Employer.

                            For purposes of Section 401 (a)(9) of the Code, a Participant shall be
               considered a 5%-Owner if such Participant is a 5%-Owner at any time during the Plan
               Year ending with or within the calendar year in which such 5%-Owner attains age 70½.




                                                  ARTICLE II                                11-10

               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL
                                                                                                    WH_MDL_00331808
                 Case 1:18-md-02865-LAK             Document 835-123     Filed 06/27/22       Page 32 of 138




                              38.   "Highly       Compensated      Employee"   or   "Highly    Compensated
                Participant" means:

                                      (a)       Any Employee who performs services during the Plan Year;
                and

                                        (i)    Was a 5%-0wner of the Employer or a Controlled
                Group member during the Plan Year or Look-Back Year; or

                                            (ii}   Received Section 415 Compensation including
               elective or salary reduction contributions to a cafeteria plan, cash or deferred
               arrangement or tax sheltered annuity from the Employer and all entities which are
               members of a Controlled Group with the Employer shall be treated as a single Employer
               in excess of $80,000 (as adjusted pursuant to Section 415(d) of the Code, in effect on
               the first day of any relevant Plan Year except that the base period shall be the calendar
               quarter ending September 30, 1996) during the Look-Back Year or, if elected in Article I,
               during the calendar year beginning with or within the Look-Back Year and, if elected in
               Article I, was also in the Top Paid Group.

                                   (b)   Any former Employee who separated from service prior to
               the Plan Year, who performs no services for the Employer during the Plan Year and
               was a Highly Compensated Employee who performed services for the Employer during
               either the year the Employee separated from service or any Plan Year on or after the
               Employee's 55th birthday.

                              39.     "Hour of Service" means:

                                    (a)  Each hour for which an Employee is directly or indirectly
               paid, or entitled to payment. These hours shall be credited to the Employee for the
               computation period(s) in which the services are performed and not when paid, if
               different; and

                                      (b)    Each hour for which an Employee is directly or indirectly
               paid, or entitled to payment, by the Employer for a period of time during which no
               services are performed (without regard to whether the employment relationship between
               the Employee and the Employer has terminated) due to vacation, holiday, illness,
               incapacity, disability, layoff, jury duty, military duty, or Leave of Absence with pay. The
               hours shall be credited to the Employee in the computation period to which
               non-performance of duties relates and not in which paid, if different; and

                                  (c)   Each hour for which an Employee has been awarded or for
               which the Employer has agreed to pay, directly or indirectly, back pay (without regard to




                                                      ARTICLE II                                11-11

               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL
                                                                                                        WH_MDL_00331809
                Case 1:18-md-02865-LAK          Document 835-123      Filed 06/27/22    Page 33 of 138




    (           damages). These hours shall be credited to the Employee in the computation period to
                which the award or agreement pertains, not the period in which paid, if different.

                            Notwithstanding the foregoing , (i) no more than 501 Hours of Service shall
               be credited to an Employee under subparagraph (b) or (c) of this Paragraph A.39 for
               any single continuous period of time during which no services are performed; (ii) an
               hour for which an Employee is directly or indirectly paid for a period during which no
               services are performed shall not constitute an Hour of Service, if such payment is paid
               or due under a plan maintained solely for the purpose of complying with applicable
               worker's compensation, unemployment compensation, or disability insurance laws; (iii)
               Hours of Service shall not be credited for payments which solely reimburse an
               Employee for medical or medically related expenses; (iv) the same Hours of Service
               shall not be credited to an Employee both under subparagraph (a) or (b) and
               subparagraph (c); and (v) Hours of Service to be credited under subparagraph (b)
               above shall be determined based upon the number of regularly scheduled working
               hours included in the units of time on the basis of which payment is calculated.

                             Unless. otherwise elected in Article I, the Employer shall determine Hours
               of Service based upon days of employment in a computation period by crediting an
               Employee with 10 Hours of Service for each day for which the Employee would be
               required to be credited with at least one (1) Hour of Service under subparagraphs (a),
   ( -,        (b) and (c) of this Paragraph A.39. The preceding sentence shall only apply if the
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   \._ _,1     Employer uses the hourly method to credit service for an Employee and does not count
               actual hours for which an Employee is paid or entitled to payment and the Employer
               does not elect an alternative equivalency in Article I.

                           The Committee shall determine Hours of Service to be credited to an
               Employee under the foregoing rules in a uniform and non-discriminatory manner and in
               accordance with Section 2530.200b-2 of the Department of Labor Regulations (as
               amended from time to time), which are incorporated herein by this reference.

                             40.    "Inactive Participant" means a Participant whose participation in the
               Plan is suspended because of a change of employment status, including (i) terminating
               employment; (ii) incurring a Break-in-Service; or (iii) becoming a member of a class of
               Employees which has been excluded from participation, but whose total benefits have
               not been distributed.

                             41.   "Investment Manager" means a fiduciary designated by the
               Employer or the Committee, to whom has been delegated the responsibility and
               authority to manage, acquire or dispose of the Trust assets, and (i) who is (A) registered
               as an investment advisor under the Investment Advisors Act of 1940; (B) a bank, as
               defined in that Act; or (C) an insurance company qualified to perform investment
               advisory services under the laws of more than one (1) state; and (ii) who has



                                                  ARTICLE II                                 11-12

               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL
                                                                                                     WH_MDL_00331810
                 Case 1:18-md-02865-LAK         Document 835-123       Filed 06/27/22     Page 34 of 138




                acknowledged in writing that he or she is a fiduciary with respect to the management,
                acquisition and control of the Trust assets.

                               42.    "Leased Employee" means any person (other than an Employee of
                the Employer) who, pursuant to an agreement between the Employer and any other
                person ("leasing organization"), has performed services for the Employer (or for related
                persons determined in · accordance with Section 414(n)(6) of the Code) on a
                substantially full-time basis for a period of at least one (1) year, and such services are
                under the primary direction or control of the Employer. Contributions or benefits
                provided to a Leased Employee by the leasing organization which are attributable to
                services performed for the Employer shall be treated as provided by the Employer.

                              43.     "Leave of Absence" means a leave granted by the Employer, in its
                sole discretion, in accordance with rules uniformly applied to all Employees, for reasons
                of health or public service or for reasons determined by the Employer to be in its best
                interests.

                            Effective December 12, 1994, contribution, benefit and service credit with
               respect to qualified military service will be provided in accordance with Section 414(u) of
               the Code. If elected in Article I or by the Plan's loan policy, the Committee shall
               suspend loan repayments during any Participant's periods of qualified military service.

   ( )                      Additional Employee After-Tax Contributions, Elective Contributions, or
               Matching Contributions made by reason of an Eligible Employee's qualified military
               service under Section 414(u) of the Code are not taken into account for purposes·of the
               Actual Deferral Percentage limitation or Contribution Percentage limitation for the Plan
               Year in which such contributions are made or for any other Plan Year.

                           44.     "Look-Back Year'' means the          12-month    period   immediately
               preceding any relevant Plan Year.

                              45.   "Matching Contribution" means an Employer contribution made to
               the Plan or a defined contribution plan maintained by the Employer on account of an
               Employee After-Tax Contribution or an Elective Contribution, and any reallocated
               forfeiture allocated on the basis of an Employee After-Tax Contribution, Matching
               Contribution or Elective Contribution.

                            46.    "Matching Contribution Account" means the account maintained
               separately to record each Participant's Matching Contributions and other adjustments
               as required under Article V or X of the Plan.

                            47.   "Maternity or Paternity Leave of Absence" means an absence
               (i) because of the Employee's pregnancy; (ii) because of the birth of a child of the



                                                  ARTICLE 11                                 11-13

               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL
                                                                                                     WH_MDL_00331811
                Case 1:18-md-02865-LAK          Document 835-123      Filed 06/27/22     Page 35 of 138




                Employee; (iii) because of the adoption of a child by, and placement of the child with,
                the Employee; or (iv) for purposes of caring for such child for a period beginning
                immediately following such birth or placement. The Hours of Service credited under this
                Paragraph A.4 7 shall be credited (i) in the Eligibility Computation Period and/or Vesting
                Computation Period in which the absence begins if the crediting is necessary to prevent
                a Break-in-Service in that computation period; or (ii) in all other cases, in the following
                Eligibility Computation Period and/or Vesting Computation Period. No Hours of Service
                for Maternity or Paternity Leave of Absence shall be credited to a Participant unless he
                or she timely furnishes to the Committee such information as the Committee may
                request to establish that the absence is for a Maternity or Paternity Leave of Absence
                and the number of days of such absence. The total Hours of Service to be credited for
                Maternity or Paternity Leave of Absence shall not exceed 501 in any computation
                period.

                              48.  "Net Profits" means the net income of the Employer as determined
               for federal income tax purposes without any deduction for taxes based upon income or
               for contributions made by the Employer under this Plan or any other qualified plan
               maintained by the Employer. For a Self-Employed Individual, Net Profits mean Earned
               Income, as determined under Section 404(a)(8) of the Code.

                             49.   "Nonelective     Employer      Contributions"   means      Employer
               contributions other than Matching Contributions with respect to which the Employee
               may not elect to have the contributions paid to the Employee in cash or other benefits.

                               50.    "Nonelective Employer Contribution Account" means the Account
               maintained to record a Participant's allocations of Nonelective Employer Contributions,
               forfeitures, if any, and other adjustments as required under Article V of the Plan.

                          51.   "Non-Highly   Compensated    Employee"    or   "Non-Highly
               Compensated Participant" means an Employee who is not a Highly Compensated
               Employee.

                            52.   "One-Year Period of Service" means each 12 month Period of
               Service beginning on the Employee's Employment Commencement Date.

                           53.    "One-Year Period of Severance" means each 12 consecutive
               month Period of Severance, beginning on the Severance from Service Date.

                              54.    "Owner-Employee" means a Self-Employed Individual who owns
               the entire interest of a sole proprietorship, or a partner or member who owns more than
               a 10% capital or profits interest in a partnership or limited liability company.




                                                   ARTICLE II                                 11-14

               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL
                                                                                                  WH_MDL_00331812
                 Case 1:18-md-02865-LAK           Document 835-123         Filed 06/27/22     Page 36 of 138




                             55.   "Participant" means any Eligible Employee who enters the Plan and
                who has not received payment of his or her total vested Accrued Benefit.

                            56.   "Period of Service" means a period beginning on the Employment
                Commencement Date or, for a former Employee, the date on which he or she first
                performs an Hour of Service after re-hire and ending with the Severance from Service
                Date.

                               57. "Period of Severance" means a period during which an Employee
                does not perform an Hour of Service, beginning on the Severance from Service Date
                and ending when an Employee again performs an Hour of Service.

                               58.    "Plan" means this 401 (k) Plan as identified in Article l.

                              59.     "Qualified Domestic Relations Order" means a judgment, decree or
               order (including approval of a property settlement agreement) that (i) relates to the
               provision of child support, alimony payments or marital property rights to an alternate
               payee; (ii) is made pursuant to a state domestic relations law (including community
               property law); (iii) creates or recognizes the existence of an alternate payee's right, or
               assigns to an alternate payee the right, to receive all or a portion of the benefits payable
               to the Participant under the Plan; (iv) specifies the information required by
               Section 414(p) of the Code; (v) does not alter the amount or form of Plan benefits; and
               (vi) complies with all other relevant provisions of Section 414(p) of the Code. For such
               purposes, an "Alternate Payee" is a Spouse, former Spouse, child or other dependent of
               a Participant who is recognized by a domestic relations order as having a right to
               receive all or a portion of the benefits payable with respect to a Participant under the
               Plan.

                             60.    "Qualified Matching Contributions" means Matching Contributions,
               other than Safe Harbor Matching Contributions or Simple 401 (k) Contributions that
               satisfy the vesting and distribution requirements of Elective Contributions.

                             61.   "Qualified Matching Contribution Account" means the account
               maintained to record separately a Participant's allocation of a Qualified Matching
               Contribution, and other adjustments as required under Article IV, V or X of the Plan.

                              62.   "Qualified Nonelective Employer Contributions" means Employer
               contributions, other than Elective Contributions, including Roth Contributions, Matching
               Contributions, Safe Harbor Nonelective Employer Contributions, Safe Harbor Matching
               Contributions or Simple 401 (k) Contributions, that satisfy the vesting and distribution
               requirements of Elective Contributions.




                                                    ARTICLE 11                                     11-15
               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL
                                                                                                           WH_MDL_00331813
                Case 1:18-md-02865-LAK           Document 835-123         Filed 06/27/22      Page 37 of 138




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    '                      63.     "Qualified Nonelective Employer Contribution Account" means the
                account maintained to record a Participant's allocation of Qualified Nonelective
                Employer Contributions, and other adjustments as required under Article IV, V or X of
                the Plan.

                              64.    "Qualifying     Section 401 (k)   Contributions"    means Elective
                Contributions, including Roth Contributions, in combination with Qualified Nonelective
                Employer Contributions and Qualified Matching Contributions that are treated as
                Elective Contributions to satisfy the Actual Deferral Percentage limitation.

                           65.     "Qualifying Section 401 (m) Contributions" means Employee
               After-Tax Contributions and Employer Matching Contributions in combination with
               Qualified Nonelective Employer Contributions and Elective Contributions that are
               treated as Employee After-Tax Contributions to satisfy the Contribution Percentage
               limitation.

                              66.     "REACT" means the Retirement Equity Act of 1984, as amended
               from time to time.

                            67.    "Rollover Contributions" means contributions within the meaning of
               Section 402(c), 403(a)(4) or408(d)(3) of the Code.

                              68.     "Rollover Contribution Account" means the account maintained to
               record   a  Participant's  Rollover Contribution and other adjustments as required in
               Article IV, V or X of the Plan.

                             69. "Roth Contributions" means Elective Contributions that are
               designated irrevocably by the Participant at the time of the cash and deferred election
               as Roth Contributions and treated by the Employer as includible in the Participant's
               income as if the Participant did not make the cash or deferred election. Roth
               Contributions shall be accounted for separately in a Roth Contribution Account.

                              70.   "Roth Contribution Account" means the account maintained to
               record a Participant's Roth Contributions and other adjustments as required in Article
               IV, V or X of the Plan.

                              71.    "Safe    Harbor Matching Contributions" means Matching
               Contributions made to this Plan, or to another defined contribution plan maintained by
               the Employer, to satisfy the Average Deferred Percentage limitation or Average
               Contribution limitation that are (i) fully vested; (ii) subject to the withdrawal restrictions of
               Elective Contributions but not available to hardship withdrawals; and (iii) used to satisfy
               the allocation requirements of Section 401 (k)(12)(8) of the Code and the notice
               requirements of Section 401 (k)(12)(D) of the Code without regard to Section 401 (I) of
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                                                     ARTICLE II                                    11-16

               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL
                                                                                                           WH_MDL_00331814
                 Case 1:18-md-02865-LAK          Document 835-123          Filed 06/27/22     Page 38 of 138




                the Code. If Safe Harbor Matching Contributions are made to another defined
                contribution plan maintained by the Employer, such plan must have the same Plan Year
                as this Plan.

                              The rate of Safe Harbor Matching Contributions allocated to Participants
                cannot increase as a Participant's rate of Elective Contributions increase. The rate of
                Safe Harbor Matching Contributions allocation to Non-Highly Compensated Participants
                must at least equal to the rate of Safe Harbor Matching Contributions allocated to Highly
                Compensated Participants. The preceding sentence shall also apply separately with
                respect to Matching Contributions and Qualified Matching Contributions.

                            72.    "Safe Harbor Matching Contribution Account" means the account
               maintained to record the Participant's Safe Harbor Matching Contributions and any
               other adjustments as required under Article IV, V or X of the Plan.

                              73.     "Safe Harbor Nonelective Employer Contributions" means
               Nonelective Employer Contributions made to this Plan, or to another defined
               contribution plan maintained by the Employer, to satisfy the Actual Deferred Percentage
               limitation, that are (i) fully vested; (ii) subject to the withdrawal restrictions of Elective
               Contributions but not available for hardship withdrawals; and (iii) used to satisfy the
               allocation requirements of Section 401 (k)(12)(C) of the Code and the notice

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               requirements of Section 401(k)(12)(D) of the Code without regard to Section 401(1) of
               the Code. If Safe Harbor Nonelective Employer Contributions are made to another
               defined contribution plan maintained by the Employer, such plan must have the same
               Plan Year as this Plan.

                            74.   "Safe Harbor Nonelective Employer Contribution Account" means
               the account maintained to record the Participant's Safe Harbor Nonelective Employer
               Contributions and any other adjustments as required under Article IV, V or X of the
               Plan.

                              75.    "Section 415 Compensation" means,              with    respect   to    any
               Participant, either (a), (b) or (c) below as elected in Article I:

                                     (a)  Information required to be reported under Sections 6041,
               6051, and 6052 of the Code (wages, tips and other compensation as reported on Form
               W-2). Compensation is defined as wages within the meaning of Section 3401 (a) of the
               Code and all other payments of compensation to an Employee by the Employer (in the
               course of the Employer's trade or business) for which the Employer is required to
               furnish the Employee a written statement under Sections 6041(d), 6051(a)(3), and 6052
               of the Code. Compensation must be determined without regard to any rules under
               Section 3401 (a) of the Code that limit the remuneration included in wages based on the




                                                    ARTICLE II                                    11-17
               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL
                                                                                                           WH_MDL_00331815
                     Case 1:18-md-02865-LAK         Document 835-123     Filed 06/27/22   Page 39 of 138




                    nature or location of the employment or the services performed (such as the exception
                    for agricultural labor in Section 3401 (a)(2) of the Code).

                                        (b)    Wages as defined in Section 3401 (a) of the Code for the
                    purpose of income tax withholding but determined without regard to any rules that limit
                    the remuneration included in wages based on the nature or location of the employment
                    or the services performed (such as the exception for agricultural labor in
                    Section 3401(a)(2) of the Code).

                                         (c)   A Participant's wages, salaries, and fees for professional
                    services, and other amounts received for personal services actually rendered in the
                    course of employment with the Employer maintaining the Plan (including, but not limited
                    to, comm issions paid salesmen, compensation for services on the basis of a percentage
                    of profits, commissions on insurance premiums, tips, bonuses, fringe benefits, and
                    reimbursement or other expense allowances under a nonaccountable plan. The
                    following items are excluded from Section 415 Compensation under this subparagraph
                    (c):

                                                (i)    Employer contributions to a plan of deferred
                   compensation which are not included in the Employee's gross income for the taxable
                   year in which contributed or Employer contributions under a simplified employee
     ,,...- ....   pension plan to the extent such contributions are deductible by the Employee, or any
    (...,;_,,)     distributions from a plan of deferred compensation;

                                             (ii)    Amounts realized from the exercise of a nonqualified
                   stock option, or when restricted stock (or property) held by the Employee either
                   becomes freely transferable or is no longer subject to a substantial risk of forfeiture;

                                               (iii) Amounts realized from the sale, exchange or other
                   disposition of stock acquired under a qualified stock option; and

                                            (iv)  Other amounts which received special tax benefits, or
                   contributions made by the Employer {whether or not under a salary reduction
                   agreement) towards the purchase of an annuity described in Section 403(b) of the Code
                   (whether or not the amounts are actually excludable from the gross income of the
                   Employee).

                                If the Employee is a Self-Employed Individual, his or her Section 415
                   Compensation includes his or her Earned Income derived from the trade or business for
                   which the Plan is established.




                                                      ARTICLE II                               11-18
                   BROAD FINANCIAL (800) 395-5200

CONFIDENTIAL
                                                                                                   WH_MDL_00331816
                 Case 1:18-md-02865-LAK         Document 835-123       Filed 06/27/22    Page 40 of 138




                             Section 415 Compensation shall include any Elective Deferrals and any
                amount deferred by an Employee which is not includable in gross income by reasons of
                Section 125, 132(f)(4), or 457 of the Code.

                              76.   "Self-Employed Individual" means a person who has Earned
                Income for the taxable year from the trade or business for which the Plan is established
                and includes an individual who would have had Earned Income but for the fact that the
                trade or business had no Net Profits for the taxable year.

                            77.    "Severance from Service Date" means the date which is the earlier
               of the date on which an Employee voluntarily leaves (quits) employment, retires, is
               discharged or dies, or the first anniversary of the first date the Employee is absent for
               any other reason. However, for purposes of Maternity or Paternity Leave of Absence,
               Severance from Service Date of an Employee who is absent beyond the first
               anniversary of such absence means the second anniversary of the first date of such
               absence. The period between the first and second anniversary of a Maternity or
               Paternity Leave of Absence is neither a Period of Service nor a Period of Severance.

                             78.    "Shareholder-Employee" means an employee of a subchapter S
               corporation (Section 1361, et seq., of the Code) who owns more than five percent (5%)
               of the outstanding stock of such corporation.
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   ~ /                        79.    "Simple 401 (k) Contributions" means Matching Contributions that
               satisfy the allocation requirements of Section 401 (k)(11 )(B)(i)(II) of the Code or
               Nonelective Employer Contributions that satisfy the allocation requirements of
               Section 401 (k)(11 )(B)(ii) of the Code. Simple 401 (k) Contributions must satisfy the
               administrative and notice requirements of Section 401 (k)(11 )(B)(iii) of the Code and the
               fully vested requirements of Section 408(p)(3) of the Code.

                            80.   "Simple 401 (k) Contribution Account" means the account
               maintained to record the Participant's Simple 401 (k) Contributions and any other
               adjustments as required under Article IV, V or X of the Plan.

                              81.  "Simple 401 (k) Plan" means a plan intended to satisfy the
               requirements of Section 401 (k)(11) of the Code. If the Employer elects in Article I that
               this Plan is intended to satisfy the requirements of a Simple 401 (k) Plan, Employees
               covered under this Plan shall not be eligible to participate under any other plan
               maintained by the Employer. Except as stated below, if an Employer employs more
               than 100 Employees who earn at least $5,000 of Section 415 Compensation during the
               prior year, such Employer shall not be eligible to maintain a Simple 401 (k) Plan. A
               Simple 401 (k) Plan must have a calendar year as its Plan Year.




                                                  ARTICLE II                                 11-19
               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL
                                                                                                     WH_MDL_00331817
                 Case 1:18-md-02865-LAK         Document 835-123      Filed 06/27/22    Page 41 of 138




                              An eligible Employer that maintains a Simple 401 (k) Plan and later fails to
                be an eligible Employer for any subsequent year, shall be treated as an eligible
                Employer for the two (2) years following the last year the Employer was an eligible
                Employer. If the failure is due to any acquisition, disposition, or similar transaction
                involving an eligible Employer, the preceding sentence applies only if the provisions of
                Section 410(b)(6)(C)(i) of the Code are satisfied.

                              If this Plan is a Simple 401 (k) Plan as elected in Article I, the Employer
                shall be required to make Simple 401 (k) Contributions as described in Article I. No
                other contributions may be made to the Plan other than Elective Contributions and
                Simple 401 (k) Contributions and to the extent that any other provision of the Plan is
                inconsistent with the provision of a Simple 401 (k) Plan, the provisions of the Simple
                401 (k) Plan shall apply.

                            82.   "Single Employer Plan" means a plan maintained by one (1)
               Employer, or a plan maintained by more than one (1) Employer, all of which are
               members of a Controlled Group, and which is designed to comply with the provisions of
               Sections414(b), 414(c) and 414(m) of the Code and the Treasury Regulations
               promulgated thereunder.

                            83.   "Social Security Retirement Age" means age 65 for a Participant
               born before January 1, 1938; age 66 for a Participant born after December 31, 1937
               and before January 1, 1955; and age 67 for a Participant born after December 31 , 1954.

                            84.     "Social Security Wage Base" means, with respect to any Plan Year,
               the maximum amount of earnings which may be considered wages under
               Section 3121(a) of the Code for the calendar year in which falls the beginning of such
               Plan Year as in effect on the first day of such Plan Year.

                            85.  "TEFRA" means the Tax Equity and Fiscal Responsibility Act
               of 1982, as amended from time to time.

                             86.    "Top Paid Group" means the group consisting of the top 20% of the
               Employees when ra.nked on the basis of Section 415 Compensation during either the
               Look-Back Year or the calendar year beginning with or within the Look-Back Year as
               selected in Article I. Employees described in Section 414(q)(5) of the Code and
               Q&A 9(b) of Section 1.414(q)-1T of the Regulations are included or excluded to the
               extent provided in Article I.

                               87.   "TRA '86" means the Tax Reform Act of 1986, as amended from
               time to time.




                                                  ARTICLE II                                 11-20
               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL
                                                                                                     WH_MDL_00331818
                 Case 1:18-md-02865-LAK         Document 835-123       Filed 06/27/22     Page 42 of 138




                               88.    "Total Disability" means the inability to engage in any substantial
                gainful activity by reason of any medically determinable physical or mental impairment
                which can be expected to result in death or which has lasted or can be expected to last
                for a continuous period of not less than 12 months, as determined by a licensed
                physician selected or approved by the Committee, or such other definition as elected in
                Article I.

                             89.     "Transferred Benefits Account" means the Account maintained to
                record a Participant's Transferred Benefit, forfeitures, if any, and other adjustments
                required under Article IV, V or X of the Plan.

                               90.    "Trust" means the Trust Agreement entered into between the
                Employer and the Trustee. A Trust may include a custodial agreement or insurance
                contract, if applicable.

                             91.   "Trustee" means the trustee(s) named under the Trust or any
                successor Trustee named in a written instrument of the Board.

                               92.     "Unincorporated Entity" means a sole proprietorship, a partnership
               or a limited liability company.

                            93.    "Vesting Computation Period" means the 12 consecutive month
               period ending on the last day of the Plan Year that includes an Employee's Employment
               Commencement Date and the last day of each subsequent Plan Year.

                           If elected in Article I or if the elapsed time method is selected in Article I,
               Vesting Computation Period means each 12 consecutive month period beginning on the
               Employee's Employment Commencement Date and any subsequent 12 consecutive
               month period commencing on any anniversary date of the Employee's Empioyment
               Commencement Date.

                              94.   "Year of Service" means an Eligibility Computation Period or
               Vesting Computation Period during which an Employee completes 1,000 or more Hours
               of Service or such lesser amount, if elected in Article I, with the Employer. With respect
               to any Eligibility Computation Period and any Vesting Computation Period, Hours of
               Service with any member of a Controlled Group shall be credited to the relevant
               Computation Period. Unless elected otherwise in Article I, for purposes of eligibility and
               vesting, if a Plan Year is less than 12 months and an Employee has less than 1,000
               Hours of Service during such short Plan Year but has completed 1,000 Hours of Service
               or such lesser amount, if elected in Article I, during the 12 consecutive month period
               ending on the last day of such short Plan Year, the Employee will be credited with
               one (1) Year of Service for the Plan Year. If such Plan Year is not an Eligibility




                                                  ARTICLE II                                 11-21
               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL
                                                                                                     WH_MDL_00331819
                 Case 1:18-md-02865-LAK         Document 835-123        Filed 06/27/22      Page 43 of 138




                Computation Period for an Employee, the preceding sentence shall not apply for
                eligibility purposes.

                             For purposes of the elapsed time method, a "Year of Service" means a
                One-Year Period of Service with the Employer. An Employee will receive credit for the
                aggregate of all time period(s) commencing with the Employee's Employment
                Commencement Date or the date such Employee is credited with an Hour of Service
                upon re-employment and ending on the date a One-Year Period of Severance begins.
                An Employee will also receive credit for any Period of Severance of less than 12
                consecutive months. Fractional portions of a year will be expressed in terms of days.


                       B.      Terms Not Defined in Article I and II of this Plan. The following terms are
                defined in the Paragraphs and Articles specified below.

                               1.     Annuity Starting Date - See Paragraph A.1 of Article VII.

                               2.     Determination Date - See Paragraph A.1 of Article VIII.

                               3.     Election Period - See Paragraph A.2 of Article VII.

                               4.     Key Employee - See Paragraph A.2 of Article VIII.

                               5.     Non-Key Employee - See Paragraph A.3 of Article VIII.

                               6.     Qualified Joint and Survivor Annuity -      See Paragraph A.3 of
               Article VI I.

                               7.     Qualified Preretirement Survivor Annuity - See Paragraph A.4 of
               Article VI I.

                           8.    Required      and       Permissive    Aggregation       Groups       See
               Paragraphs A.6 and B of Article VIII.

                               9.    Spouse or Surviving Spouse - See Paragraph A.5 of Article VII.

                               10.   Top-heavy Group - See Paragraph A.5 of Article VIII.

                               11.   Top-heavy Plan - See Paragraph A.4 of Article VIII.

                               12.   Transferred Benefits - See Paragraph A.6 of Article V II.

                               13.   Waiver Election - See Paragraph A.7 of Article VII.



                                                    ARTICLE II

               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL
                                                                                                    WH_MDL_00331820
                 Case 1:18-md-02865-LAK           Document 835-123      Filed 06/27/22     Page 44 of 138




                                       111.     PARTICIPATION AND MEMBERSHIP

                       A.     Participation Date. Each Eligible Employee shall become a Participant on
                the Entry Date specified in Article I if he or she is employed on such Entry Date.

                               1.     Vested Participants.   Any vested Participant who terminates
               employment and who is subsequently re-employed, shall be readmitted as a Participant
               as of the first day or his or her re-employment.

                              2.      Non-Vested Participants.      Any non-vested Participant who
               terminates employment and who is subsequently re-employed shall be considered a
               new Employee, and must again satisfy the requirements to become an Eligible
               Employee if his or her period of consecutive one-year Breaks-in-Service equals or
               exceeds the greater of (i) five (5); or (ii) the aggregate number of Years of Service
               completed before such termination of employment. If such former Participant is not
               considered a new Employee pursuant to this Paragraph A.2, such former Participant
               shall participate in the Plan immediately upon his or her re-employment.

                              3.     Employee Not a Participant.          Any Employee who terminates
               employment prior to his or her Entry Date, but after satisfying the eligibility requirements
               of Article I, and who is re-hired prior to incurring five (5) consecutive Breaks-in-Service

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               shall become a Participant on the later of (i) his or her date of re-employment; or (ii) the
               first Entry Date following the date he or she becomes an Eligible Employee. If this Plan
               provides for immediate full vesting of all Accounts, then an Employee who did not
               satisfy the Plan's service requirement and has incurred a one-year Break-in-Service
               shall have his or her prior service disregarded. Any Employee who terminates
               employment prior to his or her Entry Date and who is re-h ired after incurring five (5)
               consecutive Breaks-in-Service shall be considered a new Employee.

                              4.    Change in Employment Status. Any Employee who is not a
               member of an eligible class of employees and becomes a member of an eligible class
               will participate immediately if such Employee would have otherwise previously become
               a Participant.

                                    If a Participant becomes an Inactive Participant and has not
               incurred a one-year Break-in-Service, such Employee will participate immediately upon.
               returning to an eligible class of employees. If such Participant incurs a one-year
               Break-in-Service, eligibility will be determined under the Break-in-Service rules of this
               Article 111.

                     B.    Leave of Absence. For purposes of eligibility, no Employee shall be
               deemed to have suffered a Break-in-Service if his or her employment is interrupted
               because such Employee has been on a Leave of Absence. For purposes of eligibility, a



                                                    ARTICLE Ill                                111-1
               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL
                                                                                                       WH_MDL_00331821
                Case 1:18-md-02865-LAK           Document 835-123          Filed 06/27/22     Page 45 of 138




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                Break-in-Service shall not be deemed to have occurred while an Employee is a member of
                the armed forces of the United States, provided that he or she returns to the service of the
                Employer within 90 days (or such longer period as may be prescribed by law) from the
                date he or she first became entitled to his or her discharge.

                      C.   Enrollment. The Employer shall, from time to time as requested by the
               Committee, provide a list of all of its Employees, their names and ages, the number of
               Hours of Service completed by each during the current Plan Year or other applicable
               Computation Period, their dates of hire, and any additional information the Committee may
               require. The Committee shall determine from_such lists which Employees are Eligible
               Employees and their Entry Dates for participation under the Plan.

                        D.     Waiver of Participation. If waiver of participation is permitted in Article I, the
                Plan may treat Employees who waive participation in the Plan as a nondiscriminatory
               class of Employees who are ineligible to participate. A waiver made by an Employee must
                be irrevocable. A waiver of participation shall not become effective if it would constitute a
               cash or deferred arrangement within the meaning of Section 401 (k) of the Code. A waiver
               of participation shall not be considered a cash or deferred arrangement if it is irrevocable,
               applies to all plans maintained by the Employer, and is made prior to the date on which the
               Employee is first eligible to participate in the Plan. The Committee shall establish uniform
               and nondiscriminatory procedures as it deems necessary to carry out this provision
               including, but not limited to, rules prescribing the timing and filing of elections to waive
               participation. The Committee, in its sole discretion, shall determine the propriety of any
               such waiver.

                       E.     Omission of Eligible Employee. If, in any Plan Year, any Employee who
               should be included as a Participant in the Plan is erroneously omitted or an error caused a
               Participant to be credited with less than his or her full allocation, the Committee shall
               determine the amounts (or additional amounts) which should have been credited to such
               Participant's Account. Any correction by the Committee regarding the omission of an
               Eligible Employee for a Plan Year will be consistent with the correction methods used
               under the Internal Revenue Service Employee Plans Completion Resolution System.

                      F.     Inclusion of Ineligible Employee. Any correction by the Committee
               regarding the inclusion of an ineligible Employer for a Plan Year will be consistent with the
               correction method used under the Internal Revenue Service Employee Plan Compliance
               Resolution System.




                                                     ARTICLE Ill                                    111-2
               BROAD FINANCIAL (800) 395-5200,


CONFIDENTIAL
                                                                                                            WH_MDL_00331822
                 Case 1:18-md-02865-LAK          Document 835-123        Filed 06/27/22     Page 46 of 138




                                           IV.   EMPLOYER CONTRIBUTIONS

                        A.    In General. For each Plan Year in which this Plan is in effect, the Employer
               shall make contributions to the Trust in one (1) or more installments in such amounts, if
               any, as provided in Article I; provided that (i) the Plan Year for which each contribution is
               made shall be designated at the time of the contribution or upon the income tax return of
               the Employer for any relevant Plan Year; (ii) no contribution to this Plan for any Plan Year
               shall exceed an amount which the Employer estimates will be deductible under Sections
               404(a) and 4040) of the Code; (iii) no contribution for any Plan Year shall cause the
               limitations on the Annual Addition of any Participant to be exceeded for such Plan Year;
               and (iv) no contribution shall be made for any Participant who did not complete a Year of
               Service during the relevant Plan Year unless Article I provides otherwise.

                             Contributions made to an Owner-Employee may be made only from such
               Owner-Employee's Earned Income derived from the trade or business for which the
               Plan is established.

                      B.     Special Make-up Contribution. A previously forfeited Account Balance shall
               be restored in accordance with Article I.

                        C.      Corrective Contributions. Subject to all applicable limitations of the Code,
               the Employer may make additional contributions to the Plan as needed to correct any
               errors in administration which may occur from time to time. Such corrective contributions
               shall be limited to the extent necessary (including earnings as applicable) to place affected
               Pc;1rticipants in the position they would have been in but for such error or errors, and shall
               be allocated to the account or accounts from which the error was made, subject to all rules
               and procedures otherwise applicable to such Accounts. Corrective contributions made for
               a Plan Year will be consistent with the corrective methods used under the Internal
               Revenue Service Employee Plans Compliance Resolution System.

                      D.     Profit Sharing and Retirement Savings (401(k)) Contributions. The
               provisions of this Paragraph D shall apply to contributions made pursuant to the cash or
               deferred feature of the Plan.

                             1.      Qualifying Section 401 (k) Contributions. The Employer intends that
               all Qualifying Employer Contributions shall satisfy all of the requirements of
               Section 401 (k) of the Code and the Treasury Regulations promulgated there under as
               constituting a qualified cash or deferred arrangement. Each Participant shall be fully
               vested in his or her Qualifying Section 401 (k) Contributions at all times.

                              2.    Participant Elective Contributions. As permitted in Paragraph H.1
               of Article I, a Participant may elect to reduce and defer the receipt of his or her
               Compensation, the Employer shall reduce such Participant's Compensation in the



                                                   ARTICLE IV                                   IV-1

               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL
                                                                                                       WH_MDL_00331823
                Case 1:18-md-02865-LAK          Document 835-123       Filed 06/27/22    Page 47 of 138




               elected amount through payroll withholding and contribute to the Plan on behalf of each
               such electing Participant an amount equal to the Compensation to be reduced and
               deferred . A Participant's Elective Contributions shall be credited to his or her Elective
               Contribution Account, and generally will be paid by the Employer to the Plan no later
               than the 151h business day following the month in which the amount was withheld from
               the Participant's payroll.

                                      (a)     If provided in Paragraph H.1 of Article I, Employees who are
               eligible to make Elective Contributions under this Plan and who have attained age 50 by
               the end of the calendar year shall be eligible to make catch-up contributions at the
               beginning of the calendar year in accordance with, and subject to the limitations of,
               Section 414(v) of the Code. Such catch-up contributions shall not be taken into account
               for purposes of the provisions of the Plan implementing the required limitations of
               Sections 402(g) and 41 S(c) of the Code. The Plan shall not be treated as failing to
               satisfy the provisions of the Plan implementing the requirements of Section 401 (a)(4),
               401 (k)(3), 401 (k)(11 ), 410(b), or 416 of the Code, as applicable, by reason of making of
               such catch-up contributions. For purposes of Section 41 0(b) and the average benefit
               percentage test under Treasury Regulation Section 1.41 0(b )-5, catch-up contributions
               for the current Plan Year are disregarded. However, catch-up contributions made to the
               Plan in prior years are taken into account for purposes of Section 4 10(b) and the
               average benefit test under Treasury Regulation Section 1.41 0(b)-5. Those Plan
               provisions that relate to Sections 1.414(v)-1 (a) through (h) of the Treasury Regulations
               are effective for Plan Years beginning after December 31, 2003.

                                     (b)   If provided in Paragraph H.1 of Article I, Employees who are
                eligible to make Elective Contributions under this Plan may designate all or part of his or
                her Elective Contributions as Roth Contributions. Forfeitures may not be allocated to a
                Roth Contribution Account. No contributions other than designated Roth Contributions
               and rollover contributions described in Section 402(A)(c)(3)(A) of the Code are
               permitted to be allocated to the Roth Contribution Account. The separate accounting
               requirement of a Roth Contribution Account shall continue to apply until the designated
               Roth Contributions are completely distributed to the Participant. Any gains, losses,
               credits or changes must be separately allocated on a reasonable and consistent basis
               to the Participant's Roth Contribution Account and other Accounts under the Plan to
               ensure that the Roth Contribution Account maintains a record of the Participant's
               investment in the contract. For purposes of Section 401 (a)(31) of the Code, a Roth
               Contribution Account can only be rolled over to another designated Roth account under
               an Eligible Retirement Plan.

                            3.     Changes in Elective Contributions. A Participant will be given a
               reasonable period at least once each Plan Year to elect to make Elective Contributions
               or Roth Contributions. Such election may not be retroactive. A Participant may suspend
               his or her Elective Contributions or Roth Contributions at any time. The rules and



                                                  ARTICLE IV                                   IV-2

               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL
                                                                                                      WH_MDL_00331824
                 Case 1:18-md-02865-LAK          Document 835-123        Filed 06/27/22      Page 48 of 138




                procedures for allowing Participants to defer and reduce their Compensation under
                Paragraph H.1 of Article I and this Paragraph 0.3 and to decrease (or increase) such
                reductions and deferrals shall be established by the Committee, in its sole discretion;
                provided, however, that the Committee shall exercise its discretion in a uniform and
                nondiscriminatory manner. Such rules and procedures shall be the same for pre-tax
                Elective Contributions and Roth Contributions, if applicable. If this Plan provides for
                Safe Harbor Matching Contributions, a Participant shall have a reasonable opportunity
                and a reasonable period of time to increase, decrease, or resume his or her Elective
                Contributions. A 30 day period shall be deemed a reasonable period of time.

                            4.     Automatic Enrollment. The Employer may elect in Article I to apply
               the automatic enrollment provisions. If elected, the following provisions shaii apply:

                                     (a)    The Employer shall elect in Article I to apply the automatic
               enrollment provisions either to current and future Participants or only to future
               Participants hired on or after the automatic enrollment provisions are effective. If the
               Employer elects to have these provisions apply to current and future Participants, then
               the Employer will apply the automatic enrollment provisions to current Participants who
               are deferring at less than the amount elected in Article I, unless such Participants make
               an affirmative election to receive their Compensation in cash.

                                    (b)     After satisfying the Plan's eligibility requirements, each
               affected Participant shall have his or her Compensation automatically reduced by the
               percentage elected in Article I and such amount shall be contributed to the Plan.

                                     (c)     Notwithstanding the foregoing, an election by a Participant not
               to make Elective Deferrals or to contribute a different percentage may be made at any
               time. Such election, if filed when the Participant is hired, or within a reasonable time
               before the Compensation payable for the first pay period is currently made availabie, shall
               be effective for the first pay period and subsequent pay periods until superseded by a
               subsequent Deferral Election, including an election to defer zero Compensation. Elections
               filed at a later date shall be effective for payroll periods beginning in the month next
               following the date the election is filed with the Plan.

                                     (d)    If a Participant has Elective Deferrals withheld pursuant to
               automatic enrollment and no investment directive has been received by the Plan, such
               Participant's contributions shall be invested in accordance with Article I and XII of the Plan
               and the procedures established by the Committee.

                                   ( e)  For current Participants who are deferring at a percentage or
               dollar amount less than the amount elected in Article I, the Employer shall, in the first
               payroll period after the date of the automatic provisions are effective, reduce the




                                                   ARTICLE IV                                    IV-3

               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL
                                                                                                        WH_MDL_00331825
                Case 1:18-md-02865-LAK          Document 835-123       Filed 06/27/22     Page 49 of 138




                Participant's Compensation by the difference between the Participant's current Deferral
                Election and the amount elected in Article I.

                                     (f)  At the time an Employee is hired, the Committee shall provide
               the Employee with a notice that explains the automatic enrollment provisions. This notice
               shall also explain the Employee's right to elect to have no Elective Contributions made to
               the Plan or to change the amount of his or her Elective Contributions. Such notice will
               include the procedure for exercising the right and the timing for implementation of any
               such election.

                                      (g)    The Committee shall provide each Participant in the Plan with
               an annual notice of his or her Elective Contribution percentage and each Participant's right
               to change the percentage, including the procedure for exercising these rights and the
               timing for implementation of any such election. Prior to a Participant's automatic
               enrollment becoming effective, the Committee will provide such Participant with
               appropriate guidance as to the procedures then in effect for the Participant to make
               alternative elections referenced above.          Each Participant deferring Compensation
               pursuant to the automatic enrollment provisions shall be deemed to have consented to an
               Elective Deferral contribution in the amount specified ·by the Employer as provided in
               Article I, unless he or she has filed an election to the contrary with the Committee.

   r,_ -,                          (h)    As stated in Article I, Elective Deferrals made pursuant to the
   \.,_)       automatic enrollment provisions shall be treated as either pre-tax Elective Contributions or
               Roth Contributions.

                              5.     Simple 401 (k) Plans. If this is a Simple 401 (k) Plan, in addition to
               any other election periods, each Employee may make or modify his or her salary
               reduction election during the 60-day period immediately preceding each January 1. If
               the Employee elects to suspend his or her Elective Contributions during the Plan Year,
               the Committee may require the Employee to wait until the beginning of the next Plan
               Year before he or she may resume his or her Elective Contributions. The Employer
               shall notify each Eligible Employee of his or her election rights within a reasonable time
               prior to the 60-day election period and shall indicate the type and amount of the Simple
               401(k) Contribution to be made.

                      E.     Actual Deferral Percentage Limitation.

                             1.      General Limitation.

                            The amount of Qualifying Section 401 (k) Contributions made on behalf of
               the group consisting of Highly Compensated Employees shall not result in an Actual
               Deferral Percentage that exceeds the greater of:

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                                                   ARTICLE IV                                  IV-4

               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL
                                                                                                      WH_MDL_00331826
                 Case 1:18-md-02865-LAK         Document 835-123        Filed 06/27/22     Page 50 of 138




                                      (a)     The Actual Deferral Percentage limitation for the group of
                Eligible Participants who are Highly Compensated Employees for the current Plan Year
                shall not exceed the Actual Deferral Percentage for the group of Eligible Participants
                who are Non-Highly Compensated Employees for the current or preceding Plan Year as
                elected in Article I multiplied by 1.25; or

                                      (b)    The Actual Deferral Percentage for the group of Eligible
               Participants who are Highly Compensated Employees for the current Plan Year shall
               not exceed the Average Deferral Percentage for Eligible Participants who are Non-
               Highly Compensated Employees for the current or preceding Plan Year as elected in
               Article I, multiplied by two (2), and provided that the Actual Deferral Percentage for the
               group of Eligible Participants who are Highly Compensated Empioyees does not exceed
               the Actual Deferral Percentage for the group of Eligible Participants who are Non-Highly
               Compensated Employees for the current or preceding Plan Year, as elected in Article I,
               by more than two (2) percentage points.

                              2.     Prior Year Testing.

                           If the Plan provides for the prior year testing method, the Actual Deferral
               Percentage shall be determined without regard to changes in the group of Non-Highly
               Compensated Employees who are Eligible Participants during the testing year.

                              3.     First Plan Year Testing.

                             For the first Plan Year in which the Plan (other than a successor plan)
               provides for a cash or deferred arrangement, the Actual Deferral Percentage of eligible
               Non-Highly Compensated Employees under the prior year testing method shall be
               either three percent (3%) or the Actual Deferral Percentage of the Non-Highly
               Compensated Employee for such Plan Year as elected in Article i.

                             4.      Special Rules.

                             An Elective Contribution, Roth Contribution, Safe Harbor Nonelective
               Employer Contribution or Safe Harbor Matching Contribution will be taken into account
               under the Actual Deferral Percentage limitation for the Plan Year only if it is allocated to
               the Employee as of any date within the Plan Year. An Elective Contribution, Roth
               Contribution, Safe Harbor Nonelective Contribution and Safe Harbor Matching
               Contribution is considered allocated as of any date within a Plan Year if the allocation is
               not contingent on participation or performance of services after such date and the
               Elective Contribution is actually paid to the Trust no later than 12 months after the close
               of the Plan Year to which such contributions relate. Additionally, an Elective
               Contribution must relate to Compensation that either would have been received by the
               Employee during the Plan Year, except for the Employee election to defer, or is



                                                   ARTICLE IV                                  IV-5

               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL
                                                                                                      WH_MDL_00331827
                Case 1:18-md-02865-LAK          Document 835-123      Filed 06/27/22    Page 51 of 138




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                attributable to the performance of services during the Plan Year that would have
                become payable within 2½ months after the close of the Plan Year, except for the
                Employee election to defer.

                       F.     Safe Harbor Contributions. If the Employer provides for Safe Harbor
                Matching Contributions or Safe Harbor Nonelective Employer Contributions during a Plan
                Year that satisfy the requirements of Section 401(k)(12) of the Code, the Actual Deferral
                Percentage limitation shall be deemed satisfied for such Plan Year if the requirements of
                this Paragraph Fare satisfied

                              1.    Current Year Testing Method. If Safe Harbor Nonelective Employer
                Contributions or Safe Harbor Matching·Contributions are made to the Plan to satisfy the
               Actual Deferral Percentage limitation or the Average Contribution Percentage limitation
               for a Plan Year, the Plan shall be required to use the current year testing method for
               Non-Highly Compensated Participants in any such Plan Year. Such contributions, like
               Elective Contributions and Matching Contributions, shall be subject to rules relating to
               changes from current year testing to prior year testing, and the anti-abuse provisions
               that prevent the repeated changes to the Plan testing procedures or Plan provisions that
               have the effect of distorting the Actual Deferral Percentage or Average Contribution
               Percentage so as to increase significantly the permitted Actual Deferral Percentage
               ratio or Average Contribution Percentage ratiofor Highly Compensated Employees and

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               the principal purpose of the change was to achieve such a result.

                             2.    Compensation. Any Compensation definition elected in Article I
               must state a uniform definition of Compensation and comply with Section 1.401 (k) - 6 of
               the Treasury Regulations which incorporates the definition of Section 414(s)
               compensation and Section 1.414(s)-1 of the Treasury Regulations; provided, however,
               the last sentence of Section 1.414(s)-1 (d)(2)(iii) of the Treasury Regulations pertaining
               to compensation above a specified dollar amount shall not apply to a Non-Highly
               Compensated Employee.

                              3.      Plan Year. A Plan Year must be a 12 consecutive month period or
               if the Plan is a newly established plan (other than a successor plan where fifty percent
               (50%) or more of the Employees for the first Plan Year were eligible under another
               401 (k) plan or 401 (m) plan maintained by the Employer in the prior year), a period of at
               least three (3) consecutive months (or, a shorter period if the Employer is a newly
               established Employer and this Plan is established as soon as administratively feasible
               after the establishment of the Employer). Notwithstanding the preceding sentence, in
               the case of a cash or deferred arrangement that is added to an existing profit-sharing,
               stock bonus, or pre-ERISA money purchase pension plan for the first time during a Plan
               Year, the Average Deferral Percentage test and Average Contribution Percentage test,
               if applicable, will be treated as being satisfied for the entire Plan Year and the cash or
               deferred arrangement will not be treated as failing to satisfy the requirement that a Plan



                                                  ARTICLE IV                                 IV-6

               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL
                                                                                                    WH_MDL_00331828
                Case 1:18-md-02865-LAK           Document 835-123         Filed 06/27/22      Page 52 of 138




                Year must be twelve (12) consecutive months, provided (i) the Plan is not a successor
                plan (as described above), (ii) the cash or deferred arrangement is made effective no
                later than three (3) months prior to the end of the Plan Year, and (iii) the requirements of
                Safe Harbor Nonelective Contributions or Safe Harbor Matching Contributions are
                satisfied for the period from the effective date of the cash or deferred arrangement to
                the end of the Plan Year.

                             4.    Notice Requirements. To satisfy the notice requirements with
               regard to Safe Harbor Matching . Contributions or Safe Harbor Nonelective Employer
               Contributions, the notice given by the Committee to Employees must be sufficiently
               accurate and comprehensive to inform the Employee of his or her rights and obligations
               under the Plan and must be written in a manner that can be understood by the average
               Employee eligible to participate in the Plan. In addition, the notice must meet the
               following requirements:

                                    (a)    The notice must accurately describe (i) the Safe Harbor
               Matching Contribution formula or Safe Harbor Nonelective Employer Contribution
               formula used under the Plan (including a description of the level of Matching
               Contributions, if any, available under the Plan); (ii) any other contributions under the
               Plan (including Nonelective Employer Contributions and discretionary Matching
               Contributions), the condition and allocation requirements to receive such contributions;
               (iii) the Plan to which safe harbor contributions will be made if other than this Plan;
               (iv) the type and amount of Compensation that may be deferred under the Plan; (v) how
               to make a cash deferred election, including any administrative requirements that apply
               to Elective Contributions; (vi) the periods available under the Plan for making cash or
               deferred elections; and (vii) withdrawal and vesting provisions pertaining to each
               contribution made under the Plan.

                                         (b)   A plan will not fail to satisfy the content requirement of (ii),
               (iii), (iv) and (vii) of the preceding paragraph if the notice instead cross-references to the
               relevant portions of an up-to-date summary plan description that has been provided (or
               concurrently is provided) to the Employee. However, the notice must still accurately
               describe (i) the Safe Harbor Matching Contribution or Safe Harbor Nonelective
               Contribution formula used under the Plan (including a description of the levels of
               Matching Contributions, if any, available under the Plan) and state that these
               contributions (as well as Elective Contributions) are fully vested when made and (ii) how
               to make Elective Contributions (including any administrative requirements that apply to
               such elections) and the periods available under the Plan for making such elections. In
               addition, the notice must also provide information that makes it easy for Eligible
               Employees to obtain additional information about the Plan (including an additional copy
               of the summary plan description) such as telephone numbers, addresses and, if
               applicable, electronic addresses, of the individuals or offices from whom Employees can
               obtain such plan information. For Plan Years beginning after December 31, 2006, the



                                                    ARTICLE IV                                    IV-7

               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL
                                                                                                         WH_MDL_00331829
                Case 1:18-md-02865-LAK          Document 835-123      Filed 06/27/22    Page 53 of 138




                notice can only make references· to the relevant portions of an up-to-date summary plan
                description in regard to the content requirements of (ii), (iii) and (iv) of the preceding
                paragraph.

                                   (c)    The notice described above may be given through an
               electronic medium if reasonably accessible to the Employee, provided that (i) the
               system under which the electronic notice is provided is reasonably designed to provide
               the notice in a manner no less understandable to the Employee than a written paper
               document, and (ii) at the time the electronic notice is given, the Employee is advised
               that he or she may request and obtain a written paper document at no charge.

                                     (d)    The notice requirements must be given within a reasonable
               time before the beginning of each Plan Year (or, if an Employee becomes eligible after
               the preceding notice has been given, within a reasonable period before the Employee is
               eligible). If the notice is given at least 30 days and no more than 90 days before the
               beginning of each Plan Year, the notice requirements shall be deemed timely. If an
               Employee became eligible to participate after the 90th day before the beginning of the
               Plan Year, notice shall be deemed timely if given to such Employee no more than 90
               days before he or she becomes eligible to participate and no later than the Employee's
               Entry Date. The preceding sentence shall also apply for a newly established 401 {k)
               plan.

                            5.     Safe Harbor Matching Formula.        Any Safe Harbor Matching
               Contribution formula elected in Article I must, at any rate of Elective Contributions,
               provide an aggregate amount of Safe Harbor Matching Contributions to Non-Highly
               Compensated Participants at least equal to the aggregate amount of Safe Harbor
               Matching Contributions that would have been provided under Section 401 (k)(12)(B)(i) of
               the Code.

                            6.    Timely Adoption of Safe Harbor Provisions. For Plan Years
               beginning after September 30, 2003 or such other date required by the Internal
               Revenue Service, safe harbor provisions under Section 401 (k)(12) of the Code must be
               adopted prior to the first day of the Plan Year in which such provisions became
               effective.

                              Notwithstanding the preceding paragraph, if the Plan provides for the
               current year testing method for the Actual Deferral Percentage and the Average
               Contribution Percentage, if applicable, the Plan may be amended to provide Safe
               Harbor Nonelective Employer Contributions as late as 30 days prior to the last day of
               the Plan Year if Eligible Employees receive notice prior to the beginning of such Plan
               Year that the Employer may provide Safe Harbor Nonelective Employer Contributions of
               at least three percent (3%) of Compensation. If the Employer provides for Safe Harbor
               Nonelective Employer Contributions, the notice requirements of subparagraph F.4



                                                  ARTICLE IV                                  IV-8

               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL
                                                                                                 WH_MDL_00331830
                Case 1:18-md-02865-LAK          Document 835-123      Filed 06/27/22     Page 54 of 138




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               above shall apply and Eligible Employees must be given a supplemental notice at least
               30 days before the end of the Plan Year that Safe Harbor Nonelective Employer
               Contributions of at least three percent (3%) of Compensation will be made.

                             7.   Limitations On Use of Safe Harbor Contributions. Safe Harbor
               Matching Contributions and Safe Harbor Nonelective Employer Contributions shall not
               be used as Qualified Nonelective Employer Contributions or Qualified Matching
               Contributions.

                              8.   Multiple Plans. If Safe Harbor Matching Contributions or Safe
               Harbor Nonelective Employer Contributions are provided in another defined contribution
               plan maintained by the Employer, any Eligible Employee under the pian that provides
               for a cash or deferred arrangement must be an Eligible Employee under the plan that
               provides for Safe Harbor Matching Contributions or Safe Harbor Nonelective Employer
               Contributions. Safe Harbor Matching Contributions and Safe Harbor Nonelective
               Employer Contributions cannot be used to satisfy the safe harbor requirements of
               Notice 98-52 Section V.B or the applicable Final Treasury Regulations, with respect to
               more than one plan.

                      G.     Simple 401 (k) Plans. If this Plan is a Simple 401 (k) Plan, the Actual
               Deferral Percentage limitation shall be deemed satisfied provided that the following
               additional requirements are satisfied:

                             1.     Changes in Deferral Elections. Each Participant may elect, during
                                                                           st
               the 60 day period immediately preceding each January 1 (and 60 days before the first
               day an Employee is first eligible to participate); to increase, decrease or resume his or
               her Elective Contributions. The Committee shall notify each Participant within a
               reasonable period of time prior to the 60 day election period that an Employee can
               modify his or her election to defer and the Employee's rights to participate under the
               Plan. If an Employee becomes eligible after the 60 day election period, the 60 day
               election period shall be deemed satisfied if the Employee may make or modify a salary
               reduction election during a 60 day period that includes either the date the Employee
               becomes eligible to participate or the day before the Employee's Entry Date

                             2.      Timing of Adoption. If this Plan is a newly established 401 {k) plan
               containing Simple 401 (k) Plan provisions as elected in Article I, the Plan may be
                                                                                                     st
               effective as of any date during the Plan Year, but in no event later than October 1 of
               the year in which adopted. An Employer amending an existing 401(k) plan to provide
               for Simple 401 (k) Plan provisions must make such provisions effective as of the
                                   st
               following January 1 •

                      H.    Limitation on Elective Deferrals. No Participant shall be permitted to have
               Elective Deferrals made under this Plan, or any other qualified plan maintained by the



                                                  ARTICLE IV                                 IV-9

               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL                                                                                        WH_MDL_00331831
                Case 1:18-md-02865-LAK          Document 835-123      Filed 06/27/22    Page 55 of 138




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                Employer during a taxable year in excess of the dollar limitation of Section 402(g) of the
                Code in effect for such taxable year or, if this is a Simple 401 (k) Plan, Section
                408(p)(2)(a)(ii) of the Code for the calendar year..

                              1.      Deferral Limit For Catch-Up Contributions. The applicable dollar
               limit of $11 ,000 for the calendar year 2002 under Section 402(g)(1 )(B) of the Code (as
               increased under Section 402(g)(7) of the Code, to the extent applicable) shall be further
               increased by the applicable dollar catch-up limit as set forth in Section 1.414(v)-1(c)(2)
               of the Treasury Regulations ($1,000 for the calendar year 2002) with respect to eligible
               Participants entitled to make catch-up contributions.

                             2.     Deferral Limit For Multiple Plans. The preceding paragraph applies
               without regard to whether the applicable Employer plan (within the meaning of Section
               414(v)(6) of the Code) treats the Elective Deferrals as catch-up contributions. Thus, a
               catch-up eligible Participant who makes Elective Deferrals under applicable employer
               plans of two (2) or more Employers that in total exceed the applicable dollar amount
               under Section 402(g)(1) of the Code by an amount that does not exceed the applicable
               dollar catch-up limit under either plan may exclude the Elective Deferrals from gross
               income, even if neither applicable Employer plan treats those Elective Deferrals as
               catch-up contributions.

   /'··--.,                  3.     Adjustments in Deferral Limits. For taxable years beginning after
   t\;,_)      December 31, 2006, the limitations under Sections 402(g), Section 408(p)(2)(A)(ii) and
               414(v) of the Code shall be adjusted at the same time and in the same manner as
               Section 41 S(d) of the Code, except the base period taken into account shall be the
               calendar quarter beginning July 1, 2005, and any increase under this Paragraph H
               which is not a multiple of $500 shall be rounded to the next lowest multiple of $500.

                      I.      Reserved.

                      J.     Correction of Excess Contributions.

                              1.     Return of Excess Contributions. If the Committee determines that
               for any Plan Year the maximum aggregate Actual Deferral Percentage of Qualifying
               Section 401 (k) Contributions made by or on behalf of the group consisting of Highly
               Compensated Employees has been exceeded, the Committee may reduce by corrective
               distribution to the extent necessary the amount of Excess Contributions made to the
               group consisting of Highly Compensated Employees to satisfy the Actual Deferral
               Percentage limitation. The Committee shall designate such distributions to Highly
               Compensated Employees as Excess Contributions and allowable income thereof which
               shall be distributed to the appropriate Highly Compensated Employees after the close of
               the Plan Year but not later than 12 months after the close of the Plan Year.




                                                  ARTICLE IV                                IV-10

               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL
                                                                                                    WH_MDL_00331832
                Case 1:18-md-02865-LAK              Document 835-123      Filed 06/27/22   Page 56 of 138




                              2.     Determination of Corrective Distributions.

                                     (a)        The determination of corrective distributions shall be made
               as follows:

                                   Step 1.        The Committee shall calculate the dollar amount of
               Excess Contributions for each affected Highly Compensated Employee. The amount of
               Excess Contributions (if any) for a Highly Compensated Employee for a Plan Year is the
               amount (if any) by which the Employee's Elective Contributions, including Roth
               Contributions, must be reduced for the Employee's actual deferral ratio to equal the
               highest permitted actual deferral ratio under the Plan.

                                   Step 2.       The Committee shall determine the total of the dollar
               amounts calculated in step 1 ("total Excess Contributions").

                                    Step 3.       The Elective Contributions of the Highly Compensate
               Employee with the highest dollar amount of Elective Contributions shall be reduced by
               the amount required to cause such Highly Compensated Employee's Elective
               Contributions to equal the dollar amount of the Elective Contributions of the Highly
               Compensated Employee with the next highest dollar amount of Elective Contributions.
               This amount is then distributed to the Highly Compensated Employee with the highest
  r"""·-,      dollar amount of Excess Contributions. However, if a lesser reduction, when added to
  \"'=)        the total dollar amount already described under this step, would equal the total Excess
               Contributions, the lesser reduction amount is distributed.

                                  Step 4.        If the total amount distributed is less than the total
               Excess Contributions, step 3 is repeated.

                                    If the above distributions are made, the cash or deferred
               arrangement is treated as meeting the non-discrimination test of Section 401 (k)(3) of
               the Code regardless of whether the Actual Deferral Percentage, if recalculated after
               such distributions, would satisfy Section 401 (k}(3) of the Code.

                                    (b)    Notwithstanding subparagraph (a) above, if the Plan fails the
               Actual Deferral Percentage limitation the amount to be refunded to a Participant who is
               eligible to make catch-up contributions pursuant to Paragraph D of this Article IV is first
               offset by the amount of the dollar catch-up limit. The catch-up amount due to the Actual
               Deferral Percentage limitation is calculated after the Actual Deferral Percentage
               limitation has been determined for the Plan Year. Amounts eligible for disbursement
               under Section 401 (k)(8) or 408(k)(6)(C) of the Code must be re-categorized as catch-up
               contributions up to the dollar catch-up limit of Section 414(v)(2 )(B) of the Code.
               However, Elective Contributions that are not distributed because they are re-
               categorized as catch-up contributions are still considered to be Excess Contributions for



                                                      ARTICLE IV                              IV-11

               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL                                                                                          WH_MDL_00331833
                Case 1:18-md-02865-LAK          Document 835-123     Filed 06/27/22    Page 57 of 138




               purposes of Section 401 (k){8) of the Code. Thus, Matching Contributions with respect
               to such Elective Contributions are permitted to be forfeited pursuant to Section
               411 (a)(3)(G) of the Code and Paragraph K of Article X provided that catch-up
               contributions are not matched pursuant to Article I of the Plan.

                                      {c)    For purposes of determining the maximum amount of
               permitted catch-up contributions for a catch-up eligible Participant, the determination of
               whether an Elective Contribution is a catch-up contribution is made as of the last day of
               the Plan Year (or in the case of Section 415 of the Code, as of the last day of the
               Limitation Year), except that, with respect to Elective Contributions in excess of an
               applicable limit that is tested on the basis of the taxable year or calendar year (such as
               the limit of Section 401(a)(30) of the Code on Elective Deferrals), the determination of
               whether such Elective Contributions are treated as catch-up contributions is made at the
               time they are deferred.


                             3.     Corrections by Additional Contributions. The Employer may in its
               sole discretion and subject to the limitation contained in Article V of the Plan, make
               additional Qualified Nonelective Employer Contributions or Qualified Matching
               Contributions that are treated as Elective Contributions and which in combination with
               the Elective Contributions, satisfy the Actual Deferral Percentage limitation. Such
    ,~ \       Nonelective Employer Contributions and Qualified Matching Contributions must be
  ( ,=)        nonforfeitable as of the date made and subject to the same distribution restrictions that
               apply to Elective Contributions. Qualified Nonelective Employer Contributions and
               Qualified Matching Contributions which are treated as Elective Contributions must
               satisfy these requirements without regard to whether they are actually taken into
               account as Elective Contributions. A Qualified Matching Contribution is not treated as
               forfeited merely because the contribution to which it relates is an Excess Deferral, or
               Excess Contribution thereby causing forfeiture of such Qualified Matching Contribution.

                            4.     Additional Requirements.           Qualified Nonelective Employer
               Contributions and Qualified Matching Contributions which are treated as Elective
               Contributions must satisfy the following additional requirements:

                                  (a)    The Nonelective Employer Contributions, including Qualified
               Nonelective Employer Contributions, must satisfy the requirements of Section 401 (a)(4)
               of the Code and Section 1.401 (a)(4)-1 (b)(2) of the Treasury Regulations.

                                   (b)  The Nonelective Employer Contributions, excluding Qualified
               Nonelective Employer Contributions treated as Elective Contributions for purposes of
               the Actual Deferral Percentage limitation and Qualified Nonelective Employer
               Contributions treated as Matching Contributions for purposes of the Contribution




                                                  ARTICLE IV                                IV-12

               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL                                                                                        WH_MDL_00331834
                Case 1:18-md-02865-LAK          Document 835-123        Filed 06/27/22     Page 58 of 138




   (
                Percentage limitation, must satisfy the requirements of Section 401(a)(4) of the Code
                and Section 1.401 (a)(4)-1 (b)(2) of the Treasury Regulations.

                                       (c)    If the Employer is applying the special rule for employer-wide
                plans in Section 1.414(r)-1 (c)(2)(ii) of the Treasury Regulations with respect to a cash or
                deferred arrangement, the determination of whether the Qualified Nonelective Employer
                Contributions satisfy the requirements of subparagraphs (a) and (b) of this Paragraph
               J.4 must be made on an employer-wide basis regardless of whether the plans to which
               the Qualified Nonelective Employer Contributions are made are satisfying the
               requirements of Section 41 0(b) of the Code on an employer-wide basis. Conversely, in
               the case of an employer that is treated as operating qualified separate lines of business,
               and does not apply the special rule for employer-wide plans in Section 1.414(r)-
               1( c )(2)(ii) of the Treasury Regulations with respect to a cash or deferred arrangement,
               then the determination of whether the Qualified Nonelective Employer Contributions
               satisfy the requirements of this subparagraphs (a) and (b) of this Paragraph J.4 is not
               permitted to be made on an employer-wide basis regardless of whether the plans to
               which the Qualified Nonelective Employer Contributions are made satisfy the
               requirements of Section 41 O(b) of the Code on that basis.

                                     (d)  Qualified Nonelective Employer Contributions and Qualified
               Matching Contributions made for the Plan Year must satisfy the allocation requirements
               of Elective Contributions.

                                     (e)  The plan that takes Qualified Nonelective Employer
               Contributions and Qualified Matching Contributions into account in determining whether
               Elective Contributions satisfy the Actual Deferral Percentage limitation must have the
               same Plan Year as the plan or plans to which the Qualified Matching Contributions and
               Qualified Nonelective Employer Contributions were made. If the Plan Year is changed
               to satisfy this requirement, such contributions may be taken into account during the
               Short Plan Year only if they could have been taken into account under the Actual
               Deferred Percentage limitation for a plan with the same Short Plan Year.

                                 (f)   If the Employer has elected to apply the prior year testing
           method to calculate the Actual Deferral Percentage limitation, Qualified Matching
           Contributions or Qualified Nonelective Employer Contributions must be made no later
           than twelve (12) months following the last day of the Plan Year preceding the current
           Plan Year to satisfy the Actual Deferral Percentage limitation. If the Employer has
           elected to apply the current year testing method to calculate the Actual Deferral
           Percentage limitation, Qualified Matching Contributions or Qualified Nonelective
           Employer Contributions must be made no later than twelve (12) months following the
           close of the current Plan Year to satisfy the Actual Deferral limitation.




                                                  ARTICLE IV                                 IV-13

           BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL                                                                                          WH_MDL_00331835
               Case 1:18-md-02865-LAK           Document 835-123     Filed 06/27/22     Page 59 of 138




   (                               (g)    Effective as stated in Article I, Qualified Nonelective
               Employer Contributions cannot be taken into account for a Plan Year for a Non-Highly
               Compensated Participant to the extent such contributions exceed the product of that
               Non-Highly Compensated Participant's Compensation and the greater of (i) five percent
               (5%) or (ii) two (2) times the Plan's representative contribution rate. Any Qualified
               Nonelective Employer Contribution taken into account under the Contribution
               Percentage limitation under Paragraph L of Article X (including the determination of the
               representative contribution rate for purposes Section 1.401 (m)-2(a)(6)(v)(B) of the
               Treasury Regulations), is not taken into account for purposes of this Paragraph J.4
               (including the determination of the representative contribution rate under this
               subparagraph J.4(g)).

                                           For purposes of this subparagraph J.4(g) the Plan's
               representative contribution rate is the lowest applicable contribution rate of any eligible
               Non-Highly Compensated Participant among a group of eligible Non-highly
               Compensated Participants that consists of half of all eligible Non-Highly Compensated
               Participants for the Plan Year (or, if greater, the lowest applicable contribution rate of
               any eligible Non Highly Compensated Participant in the group of all eligible Non-Highly
               Compensated Participant for the Plan Year and who is employed by the Employer on
               the last day of the Plan Year).

                                         The applicable contribution rate for an eligible Non-Highly
               Compensated Participant is the sum of the Qualified Matching Contributions taken into
               account under this Paragraph J.4 for the eligible Non-Highly Compensated Participant
               for the Plan Year and the Qualified Nonelective Employer Contributions made for that
               eligible Non-Highly Compensated Participant for the Plan Year, divided by that eligible
               Non-Highly Compensated Participant's Compensation for such Plan Year.

                                            Notwithstanding this subparagraph J.4(g), Qualified
               Nonelective Employer Contributions that are made in connection with an employer's
               obligation to pay prevailing wages under the Davis-Bacon Act, the Service Contract Act
               of 1965 or similar legislation, can be taken into account for a Plan Year to the extent
               such contributions do not exceed ten percent (10%) of such Non-Highly Compensated
               Participant's Compensation.

                                    (h)    Qualified Matching Contributions satisfy this Paragraph J.4
               only to the extent that such Qualified Matching Contributions are Matching Contributions
               that are not precluded from being taken into account under the Contribution Percentage
               limitation for the Plan Year under the rules of Section 1.401 (m)-2(a)(5)(ii) of the
               Treasury Regulations.

                                  (i}   Qualified Matching Contributions and Qualified Nonelective
               Employer Contributions can not be taken into account under this Paragraphs J.4 to the



                                                  ARTICLE IV                                IV-14

               BROAD FINANCIAL (800) 395-5200



CONFIDENTIAL                                                                                        WH_MDL_00331836
                Case 1:18-md-02865-LAK        Document 835-123       Filed 06/27/22    Page 60 of 138




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               extent such contributions are taken into account for purposes of satisfying any other
               Actual Deferral Percentage limitation, Contribution Percentage limitation, or the
               requirements of Sections 1.401(k)-3, 1.401(m)-3 or 1.401(k)-4 of the Treasury
               Regulations.


                             5.     Recharacterization of Excess Contributions. If Article I allows for
                Employee After-Tax Contributions, the Committee may recharacterize Excess
                Contributions as Employee After-Tax Contributions. Such recharacterized contributions
               shall remain subject to the nonforfeitable requirements and distribution limitations that
               apply to Elective Contributions. The Committee cannot recharacterize any Excess
               Contributions after 2½ months after the close of the Plan Year. Further Excess
               Contributions will not be recharacterized with respect to a Highly Compensated
               Employee to the extent that the recharacterized amounts, in combination with Employee
               After-Tax Contributions actually made by the Employee, exceeds a maximum amount of
               Employee After-Tax Contributions that the Employee is permitted to make under the
               Plan in the absence of recharacterization determined prior to the application of the
               Contribution Percentage limitation. Such recharacterized amounts will be considered as
               Annual Additions under the limitations imposed by Section 415 of the Code and shall be
               subject to Section 401 (m) of the Code. The dollar leveling method, as described in
               Paragraph J.2 of this Article IV, with respect to the return of Excess Contributions to
               Highly Compensated Employees shall apply to this corrective procedure.

                                    The amount of Excess Contributions to be recharacterized for a
               Plan Year shall not exceed the amount of Elective Contributions made on behalf of such
               Highly Compensated Employee.

                          6.     Correction of Excess Contributions by Reduction Prior to the End of
           the Plan Year. If the Committee determines that the Actual Deferral Percentage
           limitation is being exceeded during a Plan Year, the Committee may suspend the group
           of Highly Compensated Employees' future Elective Deferrals of Qualifying 401 (k)
           Contributions for such Plan Year to enable the Plan to satisfy the Actual Deferral
           Percentage limitation. Any such suspension shall be considered an Employer-provided
           limit for purposes of Paragraph A.3 of Article II relating to catch-up contributions. The
           Committee shall give notice to such Employees of the amount to be suspended.

                                The determination of the red uction shall be made either in
           accordance with the dollar leveling method used for reduction of Excess Contributions
           or on a pro rata basis as determined by the Committee.

                 K.   Coordination of Excess Contributions with Excess Deferrals. The amount
           of Excess Contributions to be distributed or recharacterized with respect to Highly




                                                ARTICLE IV                                IV-15

           BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL                                                                                      WH_MDL_00331837
                Case 1:18-md-02865-LAK              Document 835-123     Filed 06/27/22   Page 61 of 138




                Compensated Employees shall be reduced by any Excess Deferrals previously distributed
                to such Employee for the Employee's taxable year ending in such Plan Year.

                       L.     Income Allowable to Excess Contribution. The distribution of Excess
                Contributions shall include the income allocated thereto. The income allocable to Excess
                Contributions is determined by applying the same method as used for the correction of
                Excess Aggregate Contributions described in Paragraph J of Article X.

                              A distribution of Excess Contributions is not includable in gross income of
                an Employee to the extent it represents a distribution of designated Roth Contributions.
                However, the income allocable to a corrective distribution of Excess Contributions that
                are designated Roth Contributions is included in gross income in the same manner as
                correction distributions of Excess Contributions that are pre-tax Elective Contributions.

                       M.      Correction of Excess Deferrals. Not later than the first April 15th after the
                close of the Employee's taxable year, the Employee must notify the Committee of each
                Plan under which deferrals were made, how much Excess Deferrals were received by
                such plan and each plan may distribute to the Employee the amount of Excess Deferrals
                plus any earnings thereof. An Employee may receive a corrective distribution of Excess
                Deferrals during the same taxable year.

                          1.      Requirements for Corrective Distributions. A corrective distribution
               may be made only if all of the following conditions are satisfied:

                                   (a)    The Employee designates the distribution as an Excess
               Deferral. An Employee is deemed to have designated the distribution as an Excess
               Deferral to the extent the Employee has Excess Deferrals for the taxable year, taking
               into account only Elective Deferrals under this Plan and any other plan maintained by
               the Employer.

                                   (b)   The corrective distribution is made after the date in which the
               plan received the Excess Deferral.

                                     (c)        The plan designates the distribution as a distribution of
               Excess Deferrals.

                             2.      Roth Election. To the extent elected in Article I, if an Employee's
               Elective Deferrals include both pre-tax Elective Contributions and designated Roth
               Contributions, the Committee may permit the Employee to elect whether Excess
               Deferrals are attributed to pre-tax Elective Contributions or Roth Contributions. If there
               is no election made by the Employee, then the Committee shall determine whether
               Excess Deferrals are attributed to pre-tax Elective Contributions or Roth Contributions.
               This Paragraph M.2 shall also apply to Excess Contributions and Excess Aggregate



                                                      ARTICLE IV                              IV-16

               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL                                                                                          WH_MDL_00331838
                       Case 1:18-md-02865-LAK         Document 835-123       Filed 06/27/22     Page 62 of 138




                      Contributions in regard to the return of such contributions to Highly Compensated
                      Employee's and other distributions to Employees as elected in Paragraph KK of Article
                      I.

                              N.     Income Allowable to Excess Deferrals. The distribution of Excess Deferrals
                      shall include the income allocated thereto. The income allocable to Excess Deferrals for
                      the taxable year is determined by applying the same method as used for correction of
                      Excess Aggregate Contributions described in Paragraph J of Article X.

                             0.     Coordination of Excess Deferrals with Distribution or Recharacterization of
                      Excess Contributions. The amount of Excess Deferrals that may be distributable with
                      respect to an Employee for a taxable year shall be reduced by any Excess Contributions
                      previously distributed or recharacterized with respect to such Employee for the Plan Year
                     beginning with or within such taxable year. In the event of reduction under this
                     Paragraph 0, the amount of Excess Contributions included in the gross income of the
                     Employee and reported by the Employer as a distribution of Excess Contributions shall be
                     reduced by the amount of the reduction under this paragraph. The amount of the
                     reduction under this Paragraph 0 shall be reported as a distribution of Excess Deferrals.
                     In no case may an Employee receive from the Plan as a corrective distribution for a
                     taxable year an Excess Deferral which exceeds the Employee's total Elective Deferrals
                     under the Plan for the Employee's taxable year.
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  ( _"")                     P.     Distribution of Amounts Attributed to Elective Contributions. Except for the
                     correction of Excess Contributions, Excess Aggregate Contributions and Excess Deferrals,
                     Elective Contributions, Qualified Nonelective Employer Contributions, Qualified Matching
                     Contributions, Roth Contributions, Safe Harbor Matching Contributions and Safe Harbor
                     Nonelective Employer Contributions and earnings resulting from these contributions may
                     not be distributed earlier than upon one (1) of the following events:

                                    1.     The Employee's retirement, death, disability or separation from
                     service;

                                  2.     The termination of the Plan without establishment or maintenance
                     of another defined contribution plan (other than an employer stock ownership plan, a
                     simple IRA plan or a simple employer plan);

                                   3.      The Employee's attainment of age 59½;

                                   4.     Distributions on account of hardship but for Plan Years beginning
                     after December 31, 1988, only amounts deferred by the Employee as Elective
                     Contributions or Roth Contributions, disregarding any gains or losses, may be
                     distributed; provided, however, that in no event shall the amount of such hardship




                                                        ARTICLE IV                                IV-17

                     BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL                                                                                               WH_MDL_00331839
                Case 1:18-md-02865-LAK             Document 835-123      Filed 06/27/22     Page 63 of 138




                distribution result in a value less than zero (0) in a Participant's Elective Contribution
                Account determined as of the immediately preceding Valuation Date;

                               5.    If provided in Article I, this paragraph shall apply for distributions
                and severances from employment occurring after the dates specified in Article I. A
                Participant's Elective Contributions, Qualified Nonelective Employer Contributions,
                Qualified Matching Contributions, Roth Contributions, Safe Harbor Matching
                Contributions and Safe Harbor Nonelective Employer Contributions and earnings
                attributable to such contributions shall be distributed on account of the Participant's
                severance from employment. However, such distributions shall be subject to the other
                provisions of the Plan regarding distributions, other than provisions that require a
                separation from service before such amounts may be distributed.

                       Q.      Hardship W ithdrawals. If allowed under Article I of this Plan, the Participant
               may apply for a hardship withdrawal of his or her Elective Contributions, Roth
               Contributions or Nonelective Employer Contributions, if applicable, by filing a written
               application with the Committee. In granting a hardship withdrawal, the Committee shall
               follow nondiscriminatory and objective standards in determining whether a Participant is
               entitled to a hardship withdrawal ..

                              1.    General Rule. Any hardship withdrawal may only be made if it is
               necessary to satisfy an immediate and heavy financial need of the Participant. A
               hardship withdrawal shall not exceed the amount necessary to relieve the need nor
               shall such hardship withdrawal be made to the extent the need may be satisfied from
               other financial resources reasonably available to the Employee.

                            2.     Determination of Financial Need. A withdrawal on account of
               hardship may be treated as necessary to satisfy a financial need if ·the Committee
               reasonably relies upon the Employee's representation that the need cannot be relieved
               by:

                                     (a)        Reimbursement or compensation by insurance or otherwise;

                                    (b)   Reasonable liquidation of the Employee's assets to the
               extent such liquidation would not itself cause any immediate and heavy financial need;

                                   ( c)   Cessation   of Elective          Contributions    or     Employee
               Contributions under the plans of the Employer; or

                                 (d)    Other currently available distributions (including distribution
               of ESOP dividends under Section 404(k) of the Code) or nontaxable loans from plans
               maintained by the Employer, or by any other Employer, or by borrowing from
               commercial sources on reasonable commercial terms. An Employee's resources shall



                                                      ARTICLE IV                                 IV-18

               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL                                                                                             WH_MDL_00331840
                Case 1:18-md-02865-LAK        Document 835-123        Filed 06/27/22    Page 64 of 138




                be deemed to include those assets of his or her Spouse and minor children that are
                reasonably available to the Employee.

                            3.       Determination of Necessity for Hardship Withdrawal. A hardship
               withdrawal will be deemed necessary to satisfy the financial need if it meets the
               following conditions:

                                   (a)   The hardship withdrawal is not in excess of the amount of
               the immediate and heavy financial need of the Employee. The amount of an immediate
               and heavy financial need may include amounts necessary to pay any federal, state or
               local income taxes or penalties reasonably anticipated to result from such hardship
               withdrawal.

                                    (b)    The Employee has obtained all distributions (including
               distribution of ESOP dividends under Section 404(k) of the Code), other than hardship
               withdrawals of Elective Contributions, and all nontaxable loans currently available under
               all plans maintained by the Employer.

                                    (c)    The Employee's Elective Contributions, Roth Contributions,
               and Employee After-Tax Contributions, other than mandatory Employee contributions
               made to a defined benefit plan. will be suspended for six (6) months after receipt of the
  r ·· ·.      hardship withdrawal under this Plan and all other qualified and non-qualified plans of
  \"'~,,)      deferred compensation, including the cash and deferred arrangement that is part of a
               cafeteria plan and excluding any health or welfare plans, including one that is part of a
               cafeteria plan, maintained by the Employer.

                     R.     Aggregation of Employer's Plans,

                           1.    In General. Elective Contributions that are made under two (2) or
             more plans of the Employer that are aggregated for purposes of Section 401(a)(4} or
             Section 410(b) of the Code, other than Section 410(b)(2)(A)(ii) of the Code, are to be
            treated as made under a single plan and if two (2) or more plans are permissibly
            aggregated for purposes of Section 401 (k) of the Code, the aggregated plans must
            satisfy Sections 401(a)(4), 401(k) and 410(b) of the Code as though such aggregated
            plans were a single plan. Whenever a Highly Compensated Employee is eligible under
            two (2) or more plans of the Employer which are subject to Section 401 (k) of the Code,
            in calculating the Actual Deferral Percentage limitation, the actual deferral ratio of such
            Highly Compensated Employee will be determined by treating all such plans in which
            such Highly Compensated Employee is an Eligible Participant as a single plan.

                        For purposes of this Paragraph R, the term plan means a plan within the
            meaning of Section 1.410(b)-7(a) and (b) of the Treasury Regulations, after application
            of the mandatory disaggregation rules of Section 1.410(b)-7(c) of the Treasury



                                                ARTICLE IV                                IV-19

            BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL                                                                                      WH_MDL_00331841
                Case 1:18-md-02865-LAK          Document 835-123     Filed 06/27/22    Page 65 of 138




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                Regulations and the permIssrve aggregation rules of Section 1.41 0(b )-?(d) of the
                Treasury Regulations, as modified by Paragraph R.4 of this Article IV. Thus, if two (2)
                plans are treated as a single plan pursuant to the permissive aggregation rules of
                Section 1.410(b)-7(d) of the Treasury Regulation, then such plans are treated as a
                single plan for purposes of Sections 401(k) and 401(m) of the Code.

                             2.      Plans with Inconsistent 401 {k) Testing Methods. In applying the
               permissive aggregation rules of Section 1.410(b)-7(d) of the Treasury Regulations, an
               Employer may not aggregate plans within the meaning of Section 1.410(b)-7(b) of the
               Treasury Regulations that apply inconsistent testing methods. Thus, a plan that applies
               the current year testing method may not be aggregated with another plan of the
               Employer that applies the prior year testing method. Similarly, an Employer may not
               aggregate a plan using the safe harbor provisions of Section 401 (k)(12) of the Code and
               another plan that is required to be tested under Section 401 (k)(3} of the Code.

                                3.    Disaggregation of Plans and Separate Testing. If a cash or
                deferred arrangement is included in a plan within the meaning of Section 1.410(b)-7(b)
                of the Treasury Regulations that is mandatorily disaggregated under Section 41 O(b) of
                the Code (as modified by Paragraph R.4 of this Article IV), the cash or deferred
                arrangement must be disaggregated in a consistent manner. Thus, in the case of an
                Employer that is treated as operating qualified separate lines of business under Section
                414(r) of the Code, if the eligible Employees under a cash or deferred arrangement are
                in more than one qualified separate line of business, only those Employees within each
                qualified separate line of business may be taken into account in determining whether
                each disaggregated portion of the plan complies with the requirements of Section 401 (k)
                of the Code, unless the Employer is applying the special rule for employer-wide plans in
                Section 1.414(r)-1(c)(2)(ii) of the Treasury Regulations with respect to the plan.
                Similarly, if a cash or deferred arrangement under which Employees are permitted to
               participate before they have completed the minimum age and service requirements of
               Section 410(a)(1) of the Code applies Section 41 0(b)(4)(B) of the Code for determining
               whether the plan complies with Section 41 0(b)(1) of the Code, then the arrangement
               must be treated as two separate arrangements, one comprising all eligible employees
               who have met the age and service requirements of Section 410(a)(1) of the Code and
               one comprising all eligible Employees who have not met the age and service
               requirements of Section 41 0(a)(1) of the Code unless the Plan uses the rule that allows
               for the aggregation of all eligible Employees regardless of age and service.

                            Restructuring under Section 1.401(a)(4)-9(c) of the Treasury Regulations
               may not be used to satisfy the requirements of Section 401 (k) of the Code.

                        4.     Certain Disaggregation Rules Not Applicable. The mandatory
           disaggregation rules relating to Section 401 (k) plans and Section 401 (m) plans set forth
           in Section 1.410(b)-7(c)(1) of the Treasury Regulations and an employee stock



                                                  ARTICLE IV                               IV-20

               BROAD FINANCIAL (800) 395-5200



CONFIDENTIAL                                                                                       WH_MDL_00331842
                Case 1:18-md-02865-LAK         Document 835-123       Filed 06/27/22    Page 66 of 138




                ownership plan and non--employee stock ownership plan portions of a plan set forth in
               Section 1.41 0(b)-7(c)(2) of the Treasury Regulations shall not apply for purposes of this
                Paragraph R. Accordingly, notwithstanding Section 1.41 0(b)-7(d)(2) of the Treasury
               Regulations, an employee stock ownership plan and a non-employee stock ownership
               plan which are different plans, (within the meaning of Section 1.410(b)-7(b)) of the
               Treasury Regulations) are permitted to be aggregated for purposes of Section 401(k) of
               the Code.

                              5.     Permissive Aggregation of Collective Bargaining              Units.
                Notwithstanding the general rule under Section 410(b) of the Code and Section
                1.41 0(b)-7(c) of the Treasury Regulations, a plan that benefits Employees that are
               covered by a collective bargaining agreement and Employees who are not included in
               the collective bargaining unit are treated as comprising separate plans. An Employer
               can treat two or more separate collective bargaining units as a single collective
               bargaining unit for purposes of this Paragraph R.5 and this Article IV, provided that the
               combination of units are determined on a basis that is reasonably consistent from year
               to year.

                              6.     Multiemployer Plan. Notwithstanding Section 1.410(b)-7(c)(4)(ii)(C)
               of the Treasury Regulations, the portion of the plan that is maintained pursuant to a
               collective bargaining agreement (within the meaning of Section 1.413-1(a)(2)) of the
               Treasury Regulations) is treated as a single plan maintained by a Single Employer that
               employs all the Employees benefiting under the same benefit computation formula and
               covered pursuant to that collective bargaining agreement. The rules of Paragraph R.5
               of this Article IV {including the permissive aggregation of collective bargaining units)
               apply to the resulting deemed single plan in the same manner as if the Plan was a
               Single Employer Plan. The noncollectively bargained portion of the plan is treated as
               maintained . by one or more Employers, depending on whether the noncollectively
               bargaining unit employees who benefit under the plan are employed by one or more
               Employers.

                         7.    Safe-Harbor Contributions. The rules regarding aggregation and
           disaggregation of cash or deferred arrangements and plans shall also apply for
           purposes of Sections 401{k)(12) and 401 (m)(1 1) of the Code. The anti-discrimination
           test under Section 401 (k)(3) of the Code shall apply to Employees who are eligible to
           make Elective Contributions but not yet eligible to receive Safe Harbor ·Matching
           Contributions or Safe Harbor Nonelective Employer Contributions.

                     S.     Universal Availability Requirements of Catch-Up Contributions.

                         1.      General Rule. If the Employer maintains a plan that offers catch-up
           contributions and that is otherwise subject to Section 401 (a)(4) of the Code (including a
           plan that is subject to Section 401(a)(4) of the Code pursuant to Section 403(b)(12) of



                                                 ARTICLE IV                                IV-21
           BROAD FINANCIAL (800) 395-5200



CONFIDENTIAL                                                                                       WH_MDL_00331843
                Case 1:18-md-02865-LAK          Document 835-123        Filed 06/27/22     Page 67 of 138




   (           the Code), such plan will not satisfy the requirements of Section 401 (a)(4) of the Code
               unless all catch-up eligible Participants who participate under any plan maintained by
               the Employer are provided with an effective opportunity to make the same dollar amount
               of catch-up contributions. A plan fails to provide an effective opportunity to make catch-
               up contributions if it has an applicable limit (e.g., an Employer-provided limit) that
               applies to a catch-up eligible Participant and does not permit the Participant to make
               Elective Deferrals in excess of that limit. An applicable Employer plan does not fail to
               satisfy the universal availability requirement of this Paragraph S solely because an
               Employer-provided limit does not apply to all Employees or different limits apply to
               different groups of Employees as permitted by Section 1.414(v)-1(b)(2)(i) of the
               Treasury Regulations. However, a plan may not provide lower Employer-provided limits
               for catch-up eligible Participants.

                               2.     Payroll Period Exception. An applicable Employer plan does not
               fail to satisfy the universal availability requirement of this Paragraph S merely because
               the plan allows Participants to defer an amount equal to a specified percentage of
               Compensation for each payroll period and for each payroll period permits each catch up
               eligible Participant to defer a pro-rata share of the applicable catch-up limit in addition to
               that amount.

                              3.    Cash Availability Exception. An Employer plan does not fail to
               satisfy the universal availability requirement of this Paragraph S merely because it
  l)           restricts the Elective Deferrals of any Employee (including a catch-up eligible
               Participant) to amounts available after other withholding from the Employee's pay (e.g.,
               after deduction of all applicable income and employment taxes). For this purpose, an
               Employer-provided limit of 75% of Compensation or higher will be treated as limiting
               Employees to amounts available after other withholdings.

                            4.     Class Exclusion Exception. An applicable employer does not fail to
               satisfy the universal availability requirement of this Paragraph S merely because
               Employees described in Section 410(b)(3) of the Code are not provided the opportunity
               to make catch-up contributions.

                             5.     Exception for Certain Types of Plans. An applicable Employer plan
               does not fail to satisfy the universal availability requirement merely because another
               applicable Employer plan that is a Section 457 eligible governmental plan does not
               provide for catch-up contributions to the extent set forth in Sections 414(v)(6)(C) and
               457(b)(3).

                             6.     Acquisition and Disposition Exception. If an applicable Employer
               plan satisfies the universal availability requirement of this Paragraph S before an
               acquisition or disposition described in Section 1.41 O(b )-2(f) of the Treasury Regulations
               and would fail to satisfy the universal availability requirement of this Paragraph because



                                                   ARTICLE IV                                  IV-22

               BROAD FINANCIAL (800) 395-520Q



CONFIDENTIAL                                                                                           WH_MDL_00331844
                Case 1:18-md-02865-LAK         Document 835-123        Filed 06/27/22    Page 68 of 138




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                of such acquisition or disposition, then the applicable Employer plan shall continue to be
                treated as satisfying the universal availability requirement through the end of the
                transition period described under Section 41 O(b)(6)(C)(ii) of the Code.

                       T.     Multiple Plan Limits on Catch-Up Contributions.

                               1.    General Rule. For purposes of Paragraph H of this Article IV, all
                applicable Employer plans, other than Section 457 eligible governmental plans,
                maintained by the same Employer are treated as one plan and all Section 457 eligible
               governmental plans maintained by the same Employer are treated as one plan. Thus,
               the total amount of catch-up contributions under all applicable Employer plans of an
               Empioyer (other than Section 457 eligible governmental plans) is limited to the
               applicable dollar catch-up limit for the relevant taxable year and the total amount of
               catch-up contributions for all Section 457 eligible governmental plans of an Employer is
               limited to the applicable dollar catch-up limit for the relevant taxable year.

                              2.     Coordination of Employer-Provided Limits within Plans.            An
                applicable Employer plan is permitted to allow a catch-up eligible Participant to defer in
                excess of an Employer-provided limit under that plan without regard to whether Elective
                Deferrals made by the Participant have been treated as catch-up contributions for the
                taxable year under another applicable Employer plan aggregated with such plan under
                this Paragraph T. However, to the extent Elective Deferrals under another plan
                maintained by the Employer have already been treated as catch-up contributions during
                the taxable year, the Elective Deferrals under the plan may be treated as catch-up
               contributions only up to the amount remaining under the catch-up limit for the taxable
               year. Any other Elective Deferrals that exceed the Employer-provided limit must satisfy
               the benefits, rights and features current and effective availability requirements of
               Section 1.401(a)(4)-4 of the Treasury Regulations to the extent that the contributions
               are not catch-up contributions. Elective Deferrals in excess of the Employer-provided
               limit are taken into account under the Actual Deferral Percentage limitation to the extent
               they are not catch-up contributions.

                         3.    Allocation Rules. If a catch-up eligible Participant makes additional
           Elective Deferrals in excess of an applicable limit described in Paragraph H of this
           Article IV under more than one applicable Employer plan that is aggregated under the
           rules of this Paragraph T, then the applicable Employer plan under which Elective
           Deferrals in excess of an applicable limit are treated as catch-up contributions is
           permitted to be determined in any manner that is not inconsistent with the manner in
           which such amounts were actually deferred under the applicable plan.




                                                 ARTICLE IV                                 IV-23
           BROAD FINANCIAL (800} 395-5200



CONFIDENTIAL                                                                                        WH_MDL_00331845
                Case 1:18-md-02865-LAK          Document 835-123       Filed 06/27/22    Page 69 of 138




   (                             V.     ALLOCATIONS TO PARTICIPANTS' ACCOUNTS

                       A.    Maintenance of Accounts.        The Committee shall, where applicable,
               establish and maintain a Elective Contribution Account, Employee After-Tax Contribution
               Account, Matching Contribution Account, Nonelective Employer Contribution Account,
               Qualified Matching Contribution Account, Qualified Nonelective Employer Contribution
               Account, Rollover Contribution Account, Roth Contribution Account, Safe Harbor Matching
               Contribution Account, Safe Harbor Nonelective Employer Contribution Account, Simple
               401 (k) Account and/or Transferred Benefits Account in the name of each Participant.

                       8.     Valuation of Trust.

                             1.     Date for Valuation. As soon as administratively feasible after any
               Valuation Date, the Trustee shall value the Trust assets and liabilities on the basis of
               fair market values as of such Valuation Date.

                              2.     Instructions for Valuation.      If the Trustee, in making such
               valuations, shall determine that the Trust consists, in whole or in part, of property not
               traded freely on a recognized market, or that information necessary to ascertain the fair
               market value of any Trust assets or liabilities is not readily available to the Trustee, the
               Trustee may request the Committee to instruct the Trustee as to such fair market value
               for all purposes under the Plan; and in such event the fair market value determined by
               the Committee shall be binding and conclusive. If the Committee fails or refuses to
               instruct the Trustee as to such fair market value within a reasonable time after receipt of
               the Trustee's request, the Trustee shall take such action as it deems necessary or
               advisable to ascertain such fair market value, including the retention of such counsel
               and independent appraisers as it considers necessary; and in such event the fair market
               value determined by the Trustee shall be binding and conclusive. The expenses
               incurred in retaining such counsel and/or independent appraisers shall be paid by the
               Trust.

                      C.     Allocation of Trust Earnings.

                             1.     General. As of each Valuation Date and prior to the allocation of
               Employer contributions, Employee After-Tax Contributions and, if applicable, forfeitures
               for the Plan Year, the Committee shall allocate the increment of Trust net income to or
               charge Trust net losses against, as the case may be, the respective Accounts of the
               Participants in proportion to the balances (minus any distributions made to the
               Participant and any forfeitures declared in such Account after the immediately preceding
               Valuation Date) of such Accounts as of the immediately preceding Valuation Date.

                          2.    Segregated and Directed Accounts. Notwithstanding the foregoing,
               segregated Accounts of a Participant held in accordance with the provisions of



                                                    ARTICLE V

               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL                                                                                        WH_MDL_00331846
                Case 1:18-md-02865-LAK          Document 835-123        Filed 06/27/22     Page 70 of 138




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                Paragraph B.4(a) of Article Vll and Paragraph B of Article XII, if provided for in Article I,
                shall be valued separately on each Valuation Date, and the increment of Trust net
                income shall be allocated to or Trust net loss shall be charged against, as the case may
                be, such Accounts on a segregated basis.

                              3.    Elective Contribution Accounts.      Unless otherwise elected in
               Paragraph MM, Elective Contributions, Roth Contributions and After~Tax Contributions
               made by a Participant and deposited throughout a Plan Year to his or her Elective
               Contribution Account, Roth Contribution Account and Employee After-Tax Contribution
               Account shall have allocated to them a proportionate share of Trust net income or net
               losses attributable to all such Accounts on any reasonable basis established by the
               Committee at its sole discretion. The frequency or method with which Trust net income
               and net losses are allocated to these Accounts may be established and changed at the
               discretion of the Committee, but only in a uniform and nondiscriminatory manner.

                      D.     Allocation to Contribution Accounts.

                             1.     General. Amounts contributed by the Employer for any Plan Year
               (and, if applicable, any previously unallocated forfeitures) shall be allocated to the
               appropriate Accounts in accordance with the manner provided in Article I as of each
               Anniversary Date.

                              2.     Permitted Disparity Limits. For any Plan Year this Plan benefits
               any Participant who benefits under another qualified plan or simplified employee
               pension, as defined in Section 408 (k) of the Code, maintained by the Employer that
               provides for permitted disparity (or imputes disparity), the Employer will contribute for
               each Participant who is eligible for an allocation of Nonelective Employer Contributions
               pursuant to Paragraph P of Article I an amount equal to the excess contribution
               percentage multiplied by the Participant's Section 415 Compensation. Such amounts
               shall be allocated to the Nonelective Employer Contributions Accounts of each eligible
               Participant in the proportion that each such Participant's 415 Compensation bears to the
               415 Compensation of all eligible Participants.

                                 If this Plan provides for permitted disparity, then for Plan Years
           beginning on or after January 1, 1995, the number of years credited to the Participant for
           allocation or accrual purposes under this Plan, any other qualified plan or simplified
           employee pension plan (whether or not terminated) ever maintained by the Employer shall
           be limited to a total cumulation of permitted disparity of 35 years. For purposes of
           determining the participant's cumulative permitted disparity limit, all years ending in the
           same calendar year are treated as the same year. If the Participant has not benefited
           under a defined benefit or target benefit plan for any year beginning on or after January 1,
           1994, the Participant has no cumulative disparity limit.




                                                   ARTICLE V                                    V-2

           BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL                                                                                           WH_MDL_00331847
                Case 1:18-md-02865-LAK          Document 835-123        Filed 06/27/22    Page 71 of 138




   (                           3.     Allocations That Rely On Cross-Testing. If the allocation under
                Article I relies on the cross-testing rules of Section 1.401 (a)(4 )-8 of the Treasury
                Regulations, then for purposes of the last paragraph of Paragraph M.2 of Article I, the
                Plan has broadly available allocation rates for the Plan Year if each allocation rate
                under the Plan is currently available during the Plan Year to a group of Employees that
                satisfies Section 41 0(b) of the Code (without regard to the average benefit percentage
                test). For this purpose, if two allocation rates can be permissively aggregated under
                Section 1.401(a)(4)-4(d)(4) of the Treasury Regulations, assuming the allocation rates
                were treated as benefits, rights or features, they may be aggregated and treated as a
                single allocation rate. In addition, the disregard of age and service conditions rules of in
                Section 1.401 (a)(4 )-4(b )(2)(ii)(A) of the Treasury Regulations do not apply for purposes
                of this paragraph.

                              The Plan has a gradual age or service schedule for the Plan Year if the
               allocation formula for all Employees under the plan provides for a single schedule of
               allocation rates under which (i) The schedule defines a series of bands based solely on
               age, Years of Service, or the number of points representing the sum of age and Years
               of Service (age and service points), under which the same allocation rate applies to all
               Employees whose age, Years of Service, or age and service points are within each
               band; and (ii) The allocation rates under the schedule increase smoothly at regular
               intervals. A schedule of allocation rates increases smoothly if the allocation rate for
               each band within the schedule is greater than the allocation rate for the immediately
               preceding band but, by no more than five (5) percentage points. However, a schedule
               of allocation rates will not be treated as increasing smoothly if the ratio of the allocation
               rate for any band to the rate for the immediately preceding band is more than 2.0 or if it
               exceeds the ratio of allocation rates between the two immediately preceding bands.

                              A schedule of allocation rates has regular intervals of age, Years of
                Service or age and service points, if each band, other than the band associated with the
               highest age, Years of Service, or age and service points, is the same length. For this
               purpose, if the schedule is based on age, the first band is deemed to be of the same
               length as the other bands if it ends at or before age 25. If the first age band ends after
               age 25, then, in determining whether the length of the first band is the same as the
               length of other bands, the starting age for the first age band is permitted to be treated as
               age 25 or any age earlier than 25. For a schedule of allocation rates based on age and
               service points, the rules of the preceding two sentences are applied by substitution 25
               age and service points for age 25. For a schedule of allocation rates based on service,
               the starting service for the first service band is permitted to be treated as one (1) Year of
               Service or any lesser amount of service.

                            Minimum allocation rates are permitted. A schedule of allocation rates
               under a plan does not fail to increase smoothly at regular intervals merely because a
               minimum uniform allocation rate is provided for all Employees or the minimum benefit



                                                   ARTICLEV                                     V-3

               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL                                                                                          WH_MDL_00331848
                Case 1:18-md-02865-LAK         Document 835-123        Filed 06/27/22    Page 72 of 138




                described in Section 416(c)(2) of the Code is provided for all Non-Key Employees
                (either because the Plan is a Top-heavy Plan or without regard to whether the Plan is a
                Top-heavy Plan) if the schedule satisfies one of the following conditions: (i) the
                allocation rates under a plan are greater than the minimum allocation rate can be
                included in a hypothetical schedule of allocation rates that increases smoothly at regular
                intervals, within the meaning of this Paragraph 0 .3, where the hypothetical schedule
               has a lowest allocation rate no lower than one percent (1%) of Compensation; or (ii) for
               a plan using a schedule of allocation rates based on age, for each age band in the
               schedule that provides an allocation rate greater than the minimum allocation rate, there
               could be an Employee in that age band with an equivalent accrual rate that is less than
               or equal to the equivalent accrual rate that would apply to an Employee whose age is
               the highest age for which the allocation rate equals the minimum allocation rate.


                             4.      Suspension of Benefits if Participant Changes Employee Status. If
               a Participant continues in the employ of the Employer, but changes his or her
               employment status to a class of employees that is ineligible for participation, such
               termination of participation shall not constitute a termination of employment for
               purposes of this Plan. An otherwise eligible Participant shall accrue benefits in the Plan
               for the Plan Year in which he or she changes his or her employment status based on his
               or her Compensation received before the change in status. However, such Inactive
               Participant shall not accrue further benefits under the Plan until the date he or she again
               becomes a participant; provided, however, that Compensation received prior to his or
               her again becoming a Participant shall be disregarded.

                          5.    Amendments to The Plan - Preservation of Accrued Benefit.
           Notwithstanding anything to the contrary contained in this Plan, no amendment to the
           Plan shall be effective to the extent that it has the effect of (i) decreasing a Participant's
           Accrued Benefit derived from Employer contributions; or (ii) except as provided by
           Treasury Regulations, eliminating an optional form of benefit, with respect to benefits
           attributable to Years of Service before the amendment; provided, however, that a
           Participant's Accrued Benefit may be reduced to the extent required as a condition of
           meeting the standards for qualification of the Plan. Furthermore, no amendment to the
           Plan shall have the effect of decreasing a Participant's vested interest in his or her
           Accrued Benefit determined without regard to such amendment as of the later of the
           date such amendment was adopted, or becomes effective.

                     E.     Limitation on Allocation of Employer Contributions and Forfeitures.

                         1.     Dollar Amount and Percentage Limitations. Except to the extent
           permitted under Paragraph H.1 of Article I relating to catch-up contributions and Section
           414(v) of the Code, the Annual Addition allocated to a Participant's Accounts shall not
           exceed the lesser of:



                                                 ARTICLEV                                    V-4
           BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL                                                                                        WH_MDL_00331849
                Case 1:18-md-02865-LAK             Document 835-123       Filed 06/27/22    Page 73 of 138




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                                      (a)       The Defined Contribution Dollar Limitation; or

                                     (b)    100% of the Participant's Section 415 Compensation for the
                Limitation Year; provided, however, that this compensation limitation shall not apply to:

                                           (i)    Any contribution for medical benefits (within the
                meaning of Section 401(h) or 419A(f)(2) of the Code) after separation from service
                which is otherwise treated as an Annual Addition; or

                                           (ii)  Any amount otherwise treated as an Annual Addition
               under Section 415(1)(1) of the Code.

                                   (c)    For purposes of applying the limitation described in this
               Paragraph E, Section 415 Compensation shall include elective amounts not includible in
               the gross earnings of the Employee by reason of Section 132(f)(4) of the Code.

                             2.     Multiple Defined Contribution Plans and Welfare Benefit Fund
               Limitation. If, in a Plan Year, a Participant also participates in a defined contribution
               plan or a welfare benefit fund maintained by the Employer or by another member of the
               Controlled Group, the limitations set forth in this Article V with respect to such
               Participant shall apply as if the Annual Additions accrued to such Participant under all
               defined contribution plans and welfare benefit funds in which the Participant has
               participated were derived from one Plan.

                       F.     Allocation Priorities if Limitations Exceeded. If the Annual Addition for a
               Participant is exceeded due to the allocation of forfeitures, a reasonable error in estimating
               a Participant's Compensation, or a reasonable error in determining the amount of Elective
               Deferrals with respect to any Plan Year, then compliance with such limitation shall be
               accomplished as follows: First, the amount of the Participant's Employee After-Tax
               Contributions for that Plan Year which were included in the Annual Addition shall be
               refunded to him or her; second, unless the Participant elects a refund of pre-tax Elective
               Deferrals, any Roth Contributions shall be refunded to the Participant to the extent the
               distribution would reduce the excess amount in the Participant's Account; third, any pre-tax
               Elective Deferrals shall be refunded to the Participant to the extent the distribution would
               reduce the excess amount in the Participant's Account; fourth, the excess of Employer
               contributions which cannot be allocated to any Participant for such Plan Year shall either
               be (i) allocated to the remaining Participants' Accounts with any remaining unallocable
               Annual Additions held in a suspense account to reduce Employer contributions for the
               subsequent Limitation Year; or (ii) held in suspense accounts and applied to reduce future
               Employer contributions during the next Limitation Year, as elected in Article I.




                                                      ARTICLEV                                   V-5

               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL                                                                                           WH_MDL_00331850
                Case 1:18-md-02865-LAK         Document 835-123       Filed 06/27/22    Page 74 of 138




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                       G.     Key Man Insurance Proceeds. Any proceeds of key man insurance
               received by the Trust during any Plan Year shall be allocated to the Employer Contribution
               Accounts of the Participants who are otherwise eligible to receive an allocation of
               Employer contributions on the Anniversary Date of the Plan Year in which the insured
               died. Such proceeds shall be allocated to each Participant in the ratio that each
               Participant's Accrued Benefits as of the first day of the Plan Year in which the proceeds
               are received bears to the value of all such Participants' Accrued Benefits. The allocation
               of such amounts shall be treated as an investment gain of the Trust.




                                                ARTICLEV                                    V-6

           BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL                                                                                       WH_MDL_00331851
                Case 1:18-md-02865-LAK         Document 835-123        Filed 06/27/22     Page 75 of 138




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                                    VI.     VESTING AND BENEFIT ENTITLEMENT

                       A.      Vesting. The Accrued Benefit credited to any Participant shall vest in him or
                her as follows:

                             1.     Full Vesting. As specified in Article I, a Participant's Accrued
               Benefit shall be fully vested at his or her Normal Retirement Age. A Participant will
               become fully vested no later than the later of the Participant's 65th birthday or the fifth
               anniversary commencing the participation under the Plan. Such Accrued Benefit shall
               also be fully vested upon a complete discontinuance of Employer Contributions or
               complete or partial termination of the Plan to the extent provided in Paragraph B of
               Article XIV.

                            2.     Section 401 (k) Contributions. A Participant shall be fully vested in
               his or her Elective Contribution, Qualifying Matching Contribution, Qualifying
               Nonelective Contribution and Roth Contribution Accounts at all times.

                             3.   Safe Harbor Contributions. A Participant shall be fully vested in his
               or her Safe Harbor Matching Contribution and Safe Harbor Nonelective Employer
               Contribution Accounts at all times.

                             4.    Simple 401 (k) Contributions. A Participant shall be fully vested in
               his or her Simple 401 (k) Account at all times.

                             5.      Partial Vesting. The Nonelective Employer Contributions and
               Matching Contributions of a Participant whose employment terminates, or who suffers a
               Break-in-Service prior to his or her Normal Retirement Age for reasons other than death
               or Total Disability, shall vest in him or her in accordance with the vesting provisions
               contained in Article I.

                             6.    Vesting with the Controlled Group. If the Employer is a member of
               a Controlled Group, then vesting credit shall be granted to an Employee for each Year
               of Service completed with the Employer and each other member of the Controlled
               Group.

                      8.      Forfeitures. Non-vested Accrued Benefits shall be forfeited in accordance
               with the following provisions:

                          1.     Cash-Out of $5,000 or Less. Subject to Paragraph B.3 of this
           Article VI, a Participant who terminates employment with the Employer in any Plan Year
           with a vested Accrued Benefit equal to or less than $5,000, will be paid a distribution of
           the value of his or her entire vested Accrued Benefit as soon as administratively feasible
           after the event elected in Article I and forfeited unless a later date for the forfeiture of



                                                  ARTICLE VI                                   Vl-1

           BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL                                                                                          WH_MDL_00331852
                Case 1:18-md-02865-LAK         Document 835-123        Filed 06/27/22     Page 76 of 138




               non-vested Accrued Benefits is elected in Article I. For purposes of this Paragraph 8.1,
               if the value of a Participant's vested Accrued Benefit is zero (0), the Participant shall be
               deemed to have received a distribution of such zero (0) vested Accrued Benefit
               immediately upon employment termination or, if later, at the time the forfeiture occurs as
               elected in Article I.

                               2.     Cash-Out of More Than $5,000. Subject to Paragraph 8.3 of this
               Article VJ, a Participant who terminates employment with the Employer with a vested
               Accrued Benefit greater than $5,000, may elect to receive the entire value of his or her
               vested Accrued Benefit as soon as administratively feasible after the event elected in
               Article I, and the non-vested Accrued Benefit wi!! be immediately forfeited unless a !ater
               date for the forfeiture of non-vested Accrued Benefits is elected in Article l.

                             3.    $3,500 Cash-Out. If and to the extent elected in Article I, the
               involuntary cash-out limit of $5,000 described above shall be $3,500.

                           4.      Partial Cash-Outs of Vested Benefits. If the Participant receives a
            distribution of less than his or her entire vested Accrued Benefit during a Plan Year, the
            portion of the non-vested Accrued Benefit that will be immediately forfeited (unless
            Article I does not provide for a forfeiture of a partial cash-out distribution or a later date
            for the forfeiture of non-vested Accrued Benefits is elected in Article I) is the total ·
            non-vested Accrued Benefit multiplied by a fraction, the numerator of which is the
            amount of the vested Accrued Benefit that was distributed and the denominator of which
            is the total vested Accrued Benefit.

                         5.     Value of Rollover Contributions.      If provided in Article I, for
           purposes of this Paragraph B and Paragraph 8.5 of Article VII, the value of a
           Participant's vested Accrued Benefit shall be determined without regard to that portion
           of the vested Accrued Benefit that is attributed to Rollover Contributions (and earnings
           allocable thereto).

                          6.     Rehire After Cash-Out. If a Participant receives a distribution
            pursuant to this Paragraphs B, resumes employment covered under this Plan and, if
            required by Article I, repays to the Plan the full amount distributed to the Participant
            before the earlier of five (5) years after the first date on which the Participant is
            subsequently re-employed by the Employer, or the date on which the Participant incurs
           five (5) consecutive one-year Breaks-in-Service following the date of the previous
           distribution, then the amount that was forfeited shall be restored. If a terminated
           Participant who had no vested Accrued Benefit and was deemed to have received a
           distribution later resumes covered employment before the date the Participant incurs
           five (5) consecutive one-year Breaks-in-Service, the amount that was previously
           forfeited by such Participant will be restored to his or her account.




                                                 ARTICLE VI                                  Vl-2

           BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL                                                                                         WH_MDL_00331853
                Case 1:18-md-02865-LAK           Document 835-123         Filed 06/27/22     Page 77 of 138




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                               7.     Delayed Forfeiture . If the Employer elects in Article I to delay
                forfeiture of non-vested Accrued Benefits until after the Plan Year of distribution, the
                separate account rule in Paragraph C of this Article VI shall apply until the forfeiture
                actually occurs. If the forfeiture occurs prior to five (5) consecutive one-year Breaks-in-
                Service, then the above rules of this Paragraph B will apply after Paragraph C of this
                Article VI no longer applies.

                              8.    Separate Account on In-Service Distribution. If this Plan allows for
               a distribution on account of hardship or other in-service distributions at any time when a
               Participant has a non-forfeitable right to less than 100% of the Accrued Benefit, and the
               Participant may increase the non-forfeitable percentage in his or her Account, a
               separate account as provided in Paragraph C of this Article VI will be established for the
               non-vested portion of the Accrued Benefit of the Participant who receives an in-service
               distribution.

                            9.     Accumulated Deductible Contributions. For Plan Years beginning
               after December .31, 1988, a Participant's vested Accrued Benefit shall include
               accumulated     deductible   employee     contributions   within    the    meaning       of
               Section 72(o)(5)(8) of the Code for purposes of the cash-out provisions of this Article VI.

                       C.      Re-Vesting in Forfeitures Upon Re-Employment. If a Participant receives a
               distribution of his or her vested Accrued Benefit at a time when such Participant's vested
               interest is less than 100% and if, at the time of payment to the Participant, the Participant's
               non-vested benefit has not been forfeited, a separate account shall be established for the
               non-vested portion of the Participant's interest in the Plan as of the time of the distribution,
               and if he or she returns to the employ of the Employer prior to the time he or she suffers
               five (5) consecutive one-year Breaks-in-Service or an earlier forfeitable event as elected in
               Article I, then at any "Relevant Time" the Participant's vested portion of the separate
               account shall be an amount ("X") determined by the formula X = P(AB + D) - D or if
               elected in Article I determined by the formula X=P(AB+(RxD)}-(RxD). For purposes of
               applying either formula, P is the vested percentage at the Relevant Time; AB is the
               account balance at the Relevant Time; D is the amount of the distribution; and R is the
               ratio of the account balance at the Relevant Time to the account balance after distribution.
               If a Participant returns to the employ of the Employer prior to incurring five (5) consecutive
               one-year Breaks-in-Service, or an earlier forfeitable event, he or she shall continue on the
               vesting schedule set forth in Paragraph A.5 of this Article VI as if he or she had not left,
               and he or she shall be a Participant as of his or her date of rehire.

                   D.    Limitation on Vesting Upon Re-Employment. If a terminated Participant is
           re-employed by the Employer, then , except as provided for in this Article VI, all of the
           Participant's Years of Service before his or her re-employment shall be considered as
           Years of Service after his or her re-employment for the purpose of determining the




                                                    ARTICLE VI                                    Vl-3

           BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL                                                                                             WH_MDL_00331854
                Case 1:18-md-02865-LAK           Document 835-123        Filed 06/27/22      Page 78 of 138




                Participant's Accrued Benefit under the Plan derived from Employer contributions
                allocated to the Participant subsequent to his or her date of re-employment.

                      E.      Vesting Upon Change of Employment Status. If a Participant becomes an
               Inactive Participant, his or her Accrued Benefit shall continue to vest as long as he or she
               is an Employee of the Employer or its Controlled Group and has not incurred a Break-in-
               Service.

                       F.     Vested Interest Not Distributed. If a terminated Participant has not received
               a distribution or a deemed distribution of his or her vested Accrued Benefit, then his or her
               Accrued Benefit shall be credited with its share of Trust net earnings, gains, or losses and
               changes in the fair market value of the Trust assets through the Valuation Date next
               preceding actual distribution and forfeitures, if any.

                       G.     Break-in-Service While Still Employed. lf a Participant incurs a Break-in-
               Service but does not terminate employment with the Employer, his or her Accrued Benefit
               shall remain in the Trust and shall be credited with its share of Trust net earnings, gains, or
               losses and changes in the fair market value through the Valuation Date next preceding
               distribution and forfeitures, if any.

                      H.      Effect of Break-in-Service - Vested Participant. If a Participant has five (5)
               consecutive one-year Breaks-in-Service, he or she shall not have credited to him or her
               Years of Service accrued subsequent to such Break-in-Service for purposes of
               determining his or her vested interest in his or her Accrued Benefit derived from Employer
               contributions credited prior to such .Break-in-Service.

                      I.     Reserved.

                     J.   Effect of Break-in-Service - Non-Vested Participant. If a Participant does
           not have a vested interest in any portion of his or her Accrued Benefit at the time a Break-
           in-Service occurs, Years of Service prior to the Break-in-Service shall not be taken into
           account in determining the Participant's vested interest in his or her Accrued Benefit if the
           number of consecutive one-year Breaks-in-Service equals or exceeds the greater of five
           (5) or the aggregate number of Years of Service prior to the Break-in-Service.

                        If a former Participant has five (5) or more consecutive one-year
           Breaks-in-Service, his or her Years of Service prior to such Breaks-in-Service shall be
           taken into account in determining the former Participant's vested interest in his or her
           Accrued benefit only if either:

                          1.    Such former Participant had a vested interest in his or her Accrued
           Benefit at the time of his or her termination of employment; or




                                                  ARTICLE VI                                    Vl-4

           BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL                                                                                            WH_MDL_00331855
                Case 1:18-md-02865-LAK          Document 835-123       Filed 06/27/22    Page 79 of 138




                              2.     Upon his or her re-employment, the number of consecutive
                one-year Breaks-in-Service is less than the number of Years of Service completed prior
                to the Break-in-Service.

                             Separate Accounts shall be maintained for the Participant's pre-Break and
                post-Break Accrued Benefit and both Accounts shall share in the allocation of Trust
                earnings and losses as provided in Article V of the Plan.

                             With respect to any former Participant whose prior service is not
               disregarded under the break-in-service rules in effect prior to the first Plan Year
               beginning after December 31, 1984 , whether the Plan may subsequently disregard the
               years of service is governed by the provisions of this Paragraph J.

                     K.     Limitation on Right to Amend Vesting Schedule.               Any amendment
               changing the vesting schedule shall:

                              1.  Not cause any Participant's vested interest in such Participant's
               Accrued Benefit to be less than such Participant's vested interest on the day before
               such amendment becomes effective; and

                              2.      Permit any Participant having at least three (3) Years of Service at
  ( - - Ji     the end of the election period the option to elect, irrevocably, within a reasonable period
   ""-/        after the adoption of such amendment, to have such Participant's vested interest
               determined without regard to said amendment (that is, in accordance with the vesting
               schedule in effect prior to such amendment). The election period shall begin on the
               date the amendment is adopted and end not earlier than 60 days after the latest of (i)
               the adoption date; (ii) the effective date; or (iii) the date written notice of the right of
               election is given to the Participant.

                            If a Participant does not elect a vesting schedule, then he or she will vest
               in accordance with the most favorable vesting schedule.




                                                  ARTICLE VI                                   Vl-5

               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL                                                                                          WH_MDL_00331856
                Case 1:18-md-02865-LAK             Document 835-123    Filed 06/27/22     Page 80 of 138




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                                            VII.   DISTRIBUTION OF BENEFITS

                      A.     Definitions.

                              1.      "Annuity Starting Date" means the first day of the first period for
               which an amount is payable as an annuity to a Participant, or in the case of a benefit not
               payable in the form of an annuity, the first day on which all events have occurred which
               entitle the Participant to a benefit. For purposes of the preceding sentence, the first day
               of the first period for which a benefit is to be received on account of separation from
               service by reason of disability shall be treated as the Annuity Starting Date only if such
                        , benefit is not an auxiliarv
               disabilitv                           , benefit.


                             2.     "Election Period" means, with respect to a Qualified Joint and
               Survivor Annuity, the 90-day period ending on the Annuity Starting Date. With respect
               to a Qualified Preretirement Survivor Annuity, Election Period means the period
               beginning on the first day of the Plan Year in which Participant attains age 35 and
               ending on the date of the Participant's death. If a Participant separates from service
               prior to age 35, the Election Period shall begin on the date of separation from service
               with respect to benefits accrued as of that date.

                         A Participant who has not attained age 35 as of the end of any Plan Year
           may make a special Waiver Election to waive the Qualified Preretirement Survivor
           Annuity for the period beginning on the date of such election and ending on the first day
           of the Plan Year in which the Participant will attain age 35. Such election will not be
           valid unless the Participant receives a written explanation of the Qualified Preretirement
           Survivor Annuity. The Qualified Preretirement Survivor Annuity coverage will be
           automatically reinstated as of the first day of the Plan Year in which the Participant
           attains age 35. Any new Waiver Election on or after such date shall be subject to the
           full requirements of this Article VII .

                          3.      "Qualified Joint and Survivor Annuity" means, with respect to a
           married Participant, an immediate annuity for the life of the Participant with a survivor
           annuity for the life of his or her Spouse which is 50%, or a greater percentage as
           elected in Article I, of the amount of the annuity paid for the joint lives of the.Participant
           and his or her Spouse and which is the actuarial equivalent of a single annuity for the
           life of the Participant. With respect to an unmarried Participant, a Qualified Joint and
           Survivor Annuity means an annuity for the life of the Participant.

                         4.     "Qualified Preretirement Survivor Annu ity" means an immediate
           annuity for the life of the Participant's Spouse, the payment under which is equal to
           50%, or a greater percentage as elected in Article I, of the sum of the Participant's
           Accrued Benefit and any insurance proceeds payable upon death of the Participant; any
           security interest held by the Plan by reason of an outstanding loan to the Participant



                                                    ARTICLE VII                             Vll-1

           BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL                                                                                         WH_MDL_00331857
                Case 1:18-md-02865-LAK          Document 835-123       Filed 06/27/22     Page 81 of 138




                shall be taken into account in determining the amount of the Qualified Preretirement
                Survivor Annuity.

                              5.     "Spouse" or "Surviving Spouse" means a person who has been
               married to the Participant throughout the one-year period (unless otherwise elected in
               Article I) ending on the earlier of the date of the Participant's death or such Participant's
               Annuity Starting Date; provided, however, that a former Spouse shall be treated as the
               Spouse or Surviving Spouse to the extent required under a Qualified Domestic
               Relations Order. The one-year marriage requirement does not apply to the payment of
               a Qualified Joint and Survivor Annuity.

                              6.     "Transferred Benefits" mean the benefits of a Participant derived
               from another qualified plan that are involuntarily transferred to this Plan subject to the
               requirements of Section 414(1) of the Code and, where applicable, the annuity and
               survivor annuity requirements of Sections 401 (a)(11) and 417 of the Code. A
               Participant shall vest in his or her Transferred Benefits Account in accordance with
               Article I, but subject to the vesting requirements of Section 411(a)(10) of the Code. A
               rollover and voluntary transfer described in Q&A 3 of Section 1.411 (d)-4 of the Treasury
               Regulations will not be deemed a transfer of benefits.

                              7.     "Waiver Election" means a written election by a Participant during
                the Election Period to receive the payment of the Participant's vested Accrued Benefit in
                a manner other than a Qualified Joint and Survivor Annuity or a Qualified Preretirement
                Survivor Annuity. A Waiver Election must be consented to by the Participant's Spouse.
                The Spouse's consent must acknowledge the effect of the waiver and must be
               witnessed by either the Plan representative or a notary public as required at the sole
               discretion of the Committee. The Spouse's consent will be deemed made if the
                Participant establishes to the satisfaction of the Committee that (i) there is no Spouse;
               or (ii) the Spouse cannot be located. If the Spouse is legally incompetent to give
               consent, the Spouse's legal guardian, even if the guardian is the Participant, may give
               consent. Also, if the Participant is legally separated or the Participant has been
               abandoned (within the meaning of local law) and the Participant has a court order to
               such effect, spousal consent is not required unless a Qualified Domestic Relations
               Order provides otherwise. Similar rules apply to a plan subject to the requirements of
               Section 401 (a)(11 )(B)(iii)(I) of the Code.     Any consent made or deemed made
               hereunder shall be valid only with respect to the Spouse who signs, or is deemed to
               have signed, the consent. The Waiver Election of a Qualified Preretirement Survivor
               Annuity shall identify the Beneficiary or class of Beneficiaries or any contingent
               Beneficiaries. The Waiver Election of a Qualified Joint and Survivor Annuity shall
               identify the Beneficiary or class of Beneficiaries or contingent Beneficiary, if applicable,
               and the method of payment. Any change in the Waiver Election shall require a new
               spousal consent, unless the original consent of the Spouse expressly permits
               designations by the Participant without any requirement of further consent by the



                                                  ARTICLE VII                                  Vll-2

               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL                                                                                           WH_MDL_00331858
                Case 1:18-md-02865-LAK          Document 835-123        Filed 06/27/22     Page 82 of 138




                Spouse and acknowledges that the more restrictive consent could have been given. A
                revocation of a prior waiver may be made by a Participant without the consent of the
                Spouse at any time before the Annuity Starting Date. The Participant may revoke a
                Waiver Election at any time, but any new Waiver Election must comply with the
                requirements of this Paragraph A.7. A former Spouse's consent to a Waiver Election
                shall not be binding on a new Spouse.

                          B.   Distribution With Annuity Option - Other Than Death. if this Pian provides
               for an annuity option as selected in Article I, the Committee shall direct the Trustee to
               distribute to a Participant the amount of his or her vested Accrued Benefit as a result of the
               Participant's termination of employment, including (i) termination of employment for any
               reason other than death; (ii) Total Disability before Normal Retirement Age; or
               (iii) retirement on or after Normal Retirement Age in accordance with this Paragraph B.
               Such Accrued Benefit shall be determined as of the Valuation Date preceding the date of
               the Participant's distribution.

                             1.     Payment of Qualified Joint and Survivor Annuity. A Participant
               shall automatically receive his or her vested Accrued Benefit in the form of a Qualified
               Joint and Survivor Annuity unless the Participant makes a Waiver Election during the
               applicable Election Period.

                             2.     Notice Requirements.        The Committee sha11 provide to each
               Participant within a period of time of no less than 30 days and no more than 90 days
               prior to the Annuity Starting Date, a written explanation of (i) the terms and conditions of
               a Qualified Joint and Survivor Annuity; (ii) the Participant's right to make, and the effect
               of, a Waiver Election waiving the Qualified Joint and Survivor form of benefit; (iii) the
               rights of a Spouse to consent to any Waiver Election which waives his or her rights to
               such form ·of Annuity; and (iv) the right to make, and the effect of, a revocation of a
               previously made Waiver Election.

                              The Participant shall be furnished with a general description of all the
               eligibility conditions and other material features of the optional forms of benefits and
               information explaining the relative values of the various optional forms of benefits that
               are available under the terms of the Plan in a like manner and within the time period as
               stated in the preceding paragraph. The requirement to provide relative values of the
               optional forms of benefits shall only apply to plans that offer a life annuity form of
               payment. Written consent of the Participant to a distribution must be made after the
               Participant receives such notice and must not be made more than 90 days before the
               Annu ity Starting Date.

                                  (a)    If a distribution is one to which Sections 401 (a)(11) and 417
               of the Code do not apply, such distribution may commence less than 30 days after the




                                                  ARTICLE VII                                  Vll-3

               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL                                                                                           WH_MDL_00331859
                Case 1:18-md-02865-LAK          Document 835-123           Filed 06/27/22    Page 83 of 138




   (            notice required under Section 1.411(a)-11(c) of the Income Tax Regulations is given,
                provided that:

                                              (i)    The Committee clearly informs the Participant that the
                Participant has a right to a period of at least 30 days after receiving the notice to
                consider the decision of whether or not to elect a distribution (and, if applicable, a
                particular distribution option); and

                                              (ii)   The    Participant,     after   receiving    the     notice,
                affirmatively elects a distribution.

                                    (b)   If a distribution is one to which Sections 401 (a)(11) and 417
               of the Code apply, such distribution may commence less than 30 days after the notice is
               given provided that:

                                            (i)    The Committee provides information to the Participant
               clearly indicating that the Participant has a right to at least 30 days to consider whether
               to waive the Qualified Joint and Survivor Annuity and consent to a form of distribution
               other than a Qualified Joint and Survivor Annuity;

                                             (ii)    The Participant is permitted to revoke an affirmative
               distribution election at least until the Annuity Starting Date, or if later, at any time prior to
               the expiration of the seven (7) day period that begins the day after the explanation of
               the Qualified Joint and Survivor Annuity is provided to the Participant;

                                           (iii) The Annuity Starting Date is after the date that the
               explanation of the Qualified Joint and Survivor Annuity is provided to the Participant.
               However, for distributions made after December 31, 1996, the Annuity Starting Date
               may be before the date that the written explanation is given to the Participant, provided
               that the distribution does not commence until at least 30 days after such written
               explanation is provided to such Participant; and

                                          (iv)   Distribution in accordance with the affirmative election
               does not commence before the expiration of the seven (7) day period that begins the
               day after the explanation of the Qualified Joint and Survivor Annuity is provided to the
               Participant.

                             3.     Alternate Forms of Benefit Payments. During any time that a
               Waiver Election is in effect, the Participant shall elect to have his or her vested Accrued
               Benefit distributable in one ( 1) of the alternate forms of payment described in
               subparagraphs (a) through (e) of th is Paragraph B.3 as permitted in Article I. The
               Committee shall instruct the Trustee to distribute the benefits in such form. If a Waiver
               Election is in effect when benefits are distributed, but no method of distribution is



                                                    ARTICLE VII                                   Vll-4

               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL                                                                                              WH_MDL_00331860
                Case 1:18-md-02865-LAK              Document 835-123      Filed 06/27/22    Page 84 of 138




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                otherwise selected by the Participant, then the Committee shall make reasonable efforts
                to obtain an election of a method of distribution from such Participant. If the Committee
                is unable to obtain an election for a method of distribution from such Participant, then
                the benefits shall be deferred until the later of Normal Retirement Age or age 62, at
                which time the benefits shall be paid in the form of a Qualified Joint and Survivor
                Annuity if required, or in the form of a cash lump sum in all other cases.

                                    (a)     The payment of the Participant's vested Accrued Benefit in a
                single sum in cash or in kind.

                                     (b)     Except as provided in subparagraph 4(a) of this
               Paragraph B, the payment of the Participant's vested Accrued Benefit as an annuity, in
               a series of monthly payments, variable or fixed, with or without a period certain for his or
               her life or for the joint lives of the Participant and his or her spouse or Designated
               Beneficiary.

                                    (c)         The payment of the Participant's vested Accrued Benefit in a
               series of installments.

                                      (d)       Any combination of the methods described above.

                                    (e)    If the distribution constitutes an Eligible Rollover Distribution,
               the payment of the Participant's vested Accrued Benefit in a total or partial direct
               transfer to an Eligible Retirement Plan; provided that a partial direct transfer shall be
               equal to at least $500. If elected in Article I, Roth Contributions will be treated as a
               separate plan for purposes of this subparagraph 8.3( e ).

                              4.     Restriction on Alternate Form of Benefits.

                                   (a)     If this Plan does not provided for a Qualified Joint and
               Survivor Annuity, no distributions shall be made in the form of a life annuity. In-kind
               distributions requested by a Participant, if permitted under Article I, shall be made
               available in a non-discriminatory manner under Section 401 (a)(4) of the Code and if
               permitted by the issuer of the particular asset. If a Participant elects installments, his or
               her installment payments shall be payable not less frequently than annually over a
               period not to exceed any one (1) of the following permissible periods:

                                      (i)    A period certain not extending beyond the life
           expectancy of the Participant; or

                                       (ii)  A period certain not extending beyond the joint and
           last survivor expectancy of the Participant and a Designated Beneficiary.




                                                      ARTICLE VII                              Vll-5

               BROAD FINANCIAL (800) 395-5200



CONFIDENTIAL                                                                                           WH_MDL_00331861
                Case 1:18-md-02865-LAK           Document 835-123          Filed 06/27/22      Page 85 of 138




               The Trustee may segregate the unpaid balance of the Participant's vested Accrued Benefit
               in one (1) or more banks, trust companies, savings and loan associations or similar
               institutions, including the Trust or any of its affiliates, if applicable, for investment in savings
               accounts, certificates of deposit, government bonds, bankers' acceptances or similar
               securities. Unless violative of Section 401 (a)(9) of the Code, net earnings on the unpaid
               vested Accrued Benefit shall be distributed with the last payment.

                                    (b)    Any deferred distribution from an annuity contract in a form
               other than a Qualified Joint and Survivor Annuity shall require a Waiver Election. The
               annuity contract shall provide for the notice provisions of REACT and shall comply with
               the requirements of this Plan, including the Participant's rights to optional forms of
               benefits and the distribution requirement of Section 401 (a)(9) of the Code and the
               regulations thereunder. Any annuity contract distributed hereunder must be non-
               transferable.

                              5.     Distribution Consent Requirements. Subject to subparagraph (g)
               below of this Paragraph 8.5, if the Participant's vested Accrued Benefit exceeds $5,000,
               the Participant and the Participant's Spouse or the survivor of the two must consent to
               any distribution of such vested Accrued Benefit if the form of benefit is payable in other
               than a Qualified Joint and Survivor Annuity.

  {- }                              (a)    Notwithstanding the foregoing, if this Plan is not subject to
  ,~,,.        Section 401 (a)(11) and 417 of the Code, only the Participant's consent is required.
               Written consent of the Participant or the Participant's Spouse is not required if the
               vested Accrued Benefit does not exceed $5,000 at the date of distribution. However, if
               a Participant has begun to receive distributions pursuant to an optional form of benefit
               that provides for a schedule of periodic distribution, consent will be required even if the
               Participant's remaining vested Accrued Benefit is less than $5,000.

                                     (b)     If this Plan is subject to Sections 401(a)(11) and 417 of the
               Code, a distribution may not be made after the Annuity Starting Date unless the
               Participant and the Spouse of the Participant or the Surviving Spouse consent in writing
               to such distribution even if the vested Accrued Benefit is less than or equal to $5,000.

                                      (c)    If the Participant separates from service with a vested
               Accrued Benefit of at least $200 but not more than $5,000, such Participant shall be
               entitled to elect a direct transfer or partial direct transfer of his or her Accrued Benefit as
               described in Paragraph B.3 of this Article VII. If the Participant fails to make such
               election, his or her vested Accrued Benefit shall be paid to him or her in a single sum
               payment subject to mandatory federal income tax withholding. Such payment shall
               occur 30 days after the receipt of the notice described in Paragraph B.2 of this
               Article VII but before the 90 day period described in such Paragraph B.2 has expired.




                                                     ARTICLE VII                                     Vll-6

               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL                                                                                                 WH_MDL_00331862
                Case 1:18-md-02865-LAK         Document 835-123        Filed 06/27/22     Page 86 of 138




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                                       (d)    Notwithstanding the preceding subparagraph (c), for
               distributions made on or after March 28, 2005 if the Participant's vested Accrued
               Benefit, including any Rollover Contributions, is greater than $1,000 (or a lesser amount
               if elected in Article I), the Committee shall establish an individual retirement account for
               the benefit of the Employee unless otherwise elected in Article I. Such transfer shall
               occur 30 days after the receipt of the notice described in Paragraph 8.2 of this
               Article VII but before the 90 day period described in such Paragraph B.2 has expired.

                                    (e)    If elected in Article I, the involuntary cash-out distribution
               limit of $5,000 described above shall be reduced. The determination of whether
               Rollover Contributions (and earnings allowable thereto) are included in the value of the
               Participant's vested Accrued Benefit for purposes of the involuntary cash-out distribution
               limit but not for purposes of automatic rollover to an individual retirement account for
               mandatory distribution shall be made in accordance with Article I.

                                   (f)    If the Participant's vested Accrued Benefit is less than $200,
            it shall be paid to him or her in a single sum payment as soon as administratively
            feasible after the date elected in Article I unless the direct payment of a distribution to a
            Participant has been reduced below $200 pursuant to Article I. If elected in Article I,
            Roth Contributions will be treated as a separate plan for purposes of this subparagraph
           B.5(f). In that case, the Plan will not provide for a direct rollover (including an automatic
           rollover) for distributions from a Participant's Roth Contribution Account if the amount of
           the distributions that are Eligible Rollover Distributions are reasonably expected to total
           less than $200 during a Plan Year. In addition, any distribution from a Participant's
           Roth Contribution Account is not taken into account in determining whether distributions
           from a Participant's other Accounts are reasonably expected to total less than $200
           during a Plan Year. However, Eligible Rollover Distributions from a Participant's Roth
           Contribution Accounts are taken into account in determining whether the total amount of
           the Participant's Accrued Benefit exceeds $1,000 for purposes of subparagraph B.5(d)
           of this Article VII.

                              (g)      lf and to the extent elected in Article I, the $5,000 dollar
           amount described in the first paragraph of this Paragraph B.5 shall be $3,500.

                          6.    Special Rules. The Committee shall notify the Participant and the
            Participant's Spouse of the right to defer benefits to the later of age 62 or the Normal
            Retirement Age under the Plan and the right to optional forms of benefit as described in
           Paragraph B.3 of this Article VII . The notice to defer benefits and the explanation of the
           optional forms of benefits shall comply with Paragraph B.2 of this Article VII. If the
           benefit is payable commencing before the later of age 62 or the Normal Retirement
           Age, in a Qualified Joint and Survivor Annuity, or if this Plan does not provide for the
           survivor annuity requirements of REACT, only the Participant's consent is required. If
           this Plan is terminated and an annuity that may be purchased from a commercial



                                                 ARTICLE Vil                                 Vll-7

           BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL                                                                                         WH_MDL_00331863
                Case 1:18-md-02865-LAK          Document 835-123      Filed 06/27/22    Page 87 of 138




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               provider is not offered as an optional form of distribution, the Participant's Accrued
               Benefit payable upon termination may be distributed to the Participant without his or her
               consent. The preceding sentence shall not apply if the Employer maintains another
               defined contribution plan within the Controlled Group other than an employee stock
               ownership plan as defined in Section 4975(e)(7) of the Code to which benefits are
               transferred from the terminated Plan.          However, the transfer need not require
               Participant consent. All transfers shall comply with the rules of Section 411 (d)(6) of the
               Code. The consent requirements of this Paragraph 8 .6 do not apply to the extent that a
               distribution is required to satisfy the requirements of Sections 401 (a)(9) and 415 of the
               Code.

                             7.     Accumulated Deductible Employee Contributions. Before the first
               day of the first Plan Year beginning after December 31, 1989, the Participant's vested
               Accrued Benefit shall not include accumulated deductible employee contributions within
               the meaning of Section 72(o)(5)(8) of the Code. These employee contributions, if any,
               shall be maintained in a separate account.

                              8.     Incidental Benefit Rule. The Committee shall ensure that all
               distributions required under this Article VII shall be made and determined in accordance
               with Section 401(a)(9) of the Code and the regulations issued thereunder, including the
               minimum distribution and incidental benefit requirements of Section 401 (a)(9)(G) of the
               Code.

                             9.     Commencement of Benefits. Distribution to any Participant of his
               or her vested Accrued Benefit shall commence not later than the April 1 of the calendar
               year following the calendar year in which he or she attains age 70½.

                                    (a)  Notwithstanding the foregoing, if elected in Article I, the
               required beginning date for minimum required distributions for any Participant (other
               than a 5%-Owner) is the April 1 of the calendar year following the later of the calendar
               year in which such Participant attains age 70½ or the calendar year in which such
               Participant retires.

                                    (b)    If elected in Article I, the required beginning date for
               minimum required distributions is the April 1 of the calendar year following the calendar
               year in which the Participant attains age 70½, except that benefit distributions to a
               Participant (other than a 5%-Owner) with respect to benefits accrued after the later of
               the adoption or effective date of an amendment to the Plan must commence by the later
               of the April 1 of the calendar year following the calendar year in which the Participant
               attains age 70½ or retires.

                                  (c)   If elected in Article I, any Participant (other than a 5%-
               Owner) who attained age 70½ prior to January 1, 1997 and who is still employed by·the



                                                  ARTICLE VII                                Vll-8

               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL                                                                                         WH_MDL_00331864
                Case 1:18-md-02865-LAK          Document 835-123        Filed 06/27/22     Page 88 of 138




               Employer, may elect, in accordance with the administrative procedures established by
               the Committee, to stop receiving minimum required distributions until April 1 of the
               calendar year following retirement. If provided in Article I, there shall be a new Annuity
               Starting Date upon recommencement. Any such election shall not affect a new
               Participant's right to elect an in-service distribution pursuant to Article I of the Plan. The
               election to stop receiving minimum required distributions shall also apply to any
               Participant who is currently receiving minimum required distributions and has not been
               given the right to elect to stop such distributions.

                                      (d)    If provided in Article I, any Participant (other than a 5%-
               0wner) who attains age 70½ after 1995 and is still employed by the Employer may
               eiect, in accordance with the administrative procedures estabiished by the Committee,
               to defer receiving minimum required distributions until the calendar year following
               retirement. Such election must be made by the April 1 of the calendar year following
               the calendar year in which the Participant attained age 70½ (i.e. , by April 1, 1997 if the
               Participant attained age 70½ in 1996) unless such Participant has not been given the
               right to elect to defer such distributions. If a Participant fails to make such election,
               such Participant will begin receiving a minimum required distribution by the April 1 of the
               calendar year following the calendar year in which the Participant attains age 70½ (i.e.,
               by April 1, 1997 if the Participant attained age 70½ in 1996).

  /.,.., .                           (e)    If elected in Article I, the preretirement age 70½ distribution
  t"")         option is only eliminated with respect to Participants who attain age 70½ in or after a
               calendar year that begins after the later of December 31, 1998, or the adoption date of
               this amendment. This provision shall not affect the Participant's right to receive an
               in-service distribution pursuant to Article I of the Plan.

                                     (f)  Any amendment made to an existing plan to eliminate
               distributions after age 70½ shaii not apply if the amendment is not adopted by the iast
               day of the remedial amendment period that applies to such plan due to changes made
               by the Small Business Job Protection Act of 1996.

                                    (g)    If this document establishes a new plan and if elected in
             Article I, any Participant (other than a 5%-0wner) who is still employed by the Employer
             and who has attained age 70½ will not be entitled to receive distri butions until the
             April 1 of the calendar year following retirement. This provision shall not affect the
             Participant's right to elect an in-service distribution pursuant to Article I of the Plan.

                                   (h)     Notwithstanding the above, once minimum required
             distributions have commenced to a 5%-0wner under this Paragraph B.9, such
             distributions shall continue.




                                                 ARTICLE VII                                   Vll-9

             BROAD FINANCIAL (800) 395-5200



CONFIDENTIAL                                                                                           WH_MDL_00331865
                Case 1:18-md-02865-LAK          Document 835-123     Filed 06/27/22     Page 89 of 138




                                10.     Coordination with Minimum Distribution Requirements Previously in
                Effect. If Article      specifies an effective date to apply the Final and Temporary
                Regulations under Section 401(a)(9) of the Code that is earlier than calendar years
                beginning with the 2003 calendar year, required minimum distributions for 2002 under
                this Article VII will be determined as follows:

                                      (a)    If the total amount of 2002 required minimum distributions
               under the Plan made to the Distributee or Designated Beneficiary prior to the effective
               date stated in Paragraph GG.1 of Article I equals or exceeds the required minimum
               distributions determined after the effective date in such Paragraph, then no additional
               distributions will be required to be made for 2002 on or after such date to the Distributee
               or Designated Beneficiary.

                                    (b)   If the total amount of 2002 required minimum distributions
               under the Plan made to the Distributee or Designated Beneficiary prior to the effective
               date of Paragraph GG.1 of Article I is less than the amount determined after the
               effective date of such Paragraph, then required minimum distributions for 2002 on and
               after such date will be determined so that the total amount of required minimum
               distributions for 2002 made to the Distributee or Designated Beneficiary will be the
               amount determined after the effective date specified in Paragraph GG.1 of Article I.

   ( )                               (c)   With respect to distributions under the Plan made prior to the
    , _,       effective date specified in Paragraph GG.1 of Article I but no earlier than the calendar
               year beginning January 1, 2001, the Plan will apply the minimum distribution
               requirements of Section 401 (a)(9) of the Code in accordance with the regulations under
               Section 401 (a)(9) of the Code that were proposed on January 17, 2001, notwithstanding
               any provision of the Plan to the contrary.

                                  (d)   Notwithstanding the other provisions of this Article VII,
               distributions may be made under a designation made before January 1, 1984, in
               accordance with Section 242(b)(2) of TEFRA and the provisions of Paragraph G of this
               Article VII.

                              11 .   Amount of Required Minimum Distribution During the Participant's
               Lifetime.

                                      (a)   During the Participant's lifetime, the minimum amount that
               will be distributed for each Distribution Calendar Year is the lesser of:

                                            (i)     the quotient obtained by dividing the Participant's
               account balance by the distribution period in the Uniform Lifetime Table set forth in
               Section 1.401 (a)(9)-9 of the Final Treasury Regulations, using the Participant's age as
               of the Participant's birthday in the Distribution Calendar Year; or



                                                  ARTICLE VII                               Vll-10

               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL
                                                                                                     WH_MDL_00331866
               Case 1:18-md-02865-LAK         Document 835-123         Filed 06/27/22      Page 90 of 138




                                            (ii)   if the Participant's sole Designated Beneficiary for the
               Distribution Calendar Year is the Participant's Spouse, the quotient obtained by dividing
               the Participant's account balance by the number in the Joint and Last Survivor Table set
               forth in Section 1.401 (a)(9)-9 of the Final Treasury Regulations, using the Participant's
               and Spouse's attained ages as of the Participant's and Spouse's birthdays in the
               Distribution Calendar Year.

                                     (b)    For purposes of Paragraphs B and C of this Article VII, a
               Participant's account balance shall equal his or her Accrued Benefit as of the last
               Valuation Date in the calendar year immediately preceding the Distribution Calendar
               Year (vaiuation caiendar year) increased by the amount of any contributions made and
               allocated or forfeitures allocated to the account balance as of dates in the valuation
               calendar year after the Valuation Date and decreased by distributions made in the
               valuation calendar year after the Valuation Date. The account balance for the valuation
               calendar year includes any amounts rolled over or transferred to the Plan either in the
               valuation calendar year or in the Distribution Calendar Year if distributed or transferred
               in the valuation calendar year.

                                    (c)     For purposes of required minimum distributions, life
               expectancy, where applicable, shall be computed by use of the Single Life Table in
               Section 1.401 (a)(9)-9 of the Final Treasury Regulations.

                              (d)   For the purposes of Paragraphs B and C of this Article VII,
           Designated Beneficiary means the individual who is designated as the Beneficiary as
           described in Paragraph A.16 of Article ii and is the Designated Beneficiary under
           Section 401 (a)(9) of the Code and Section 1.401 (a)(9)-4 of the Final Treasury
           Regulations.

                                 (e)   Required minimum distributions will be determined under
           this Paragraph 8.11 beginning with the first Distribution Calendar Year and up to and
           including the Distribution Calendar Year that includes the Participant's date of death.

                          12.     Forms of Distribution. Unless the Participant's interest is distributed
           in the form of an annuity purchased from an insurance company or in a single sum on or
           before the required beginning date, as of the first Distribution Calendar Year
           distributions will be made in accordance with Paragraph 8 .11 and subparagraphs
           C.2(b), (c), (d), (e) and (f) of this Article VII. If the Participant's interest is distributed in
           the form of an annuity purchased from an insurance company, distributions thereunder
           will be made in accordance with the requirements of Section 401 (a)(9) of the Code and
           the Final and Temporary Treasury Regulations issued on April 17, 2002.




                                                 ARTICLE VII                                  Vll-11

           BROAD FINANCIAL (800) 395-5200


                                                                                                        WH_MDL_00331867
CONFIDENTIAL
                Case 1:18-md-02865-LAK          Document 835-123        Filed 06/27/22     Page 91 of 138




   (                          13.
                                                                            '
                                      Distribution on Total Disability. Notwithstanding any delay in the
               timing of distributions pursuant to Article I, if a Participant terminates employment as a
               result of Total Disability, he or she shall be eligible for the immediate commencement of
               his or her vested Accrued Benefit as soon as administratively feasible after such
               termination; provided that the Participant shall make a written application for and submit
               to the Committee sufficient evidence to establish his or her Total Disability. The
               Committee, in its sole discretion, may demand further examination by an independent
               physician acceptable to it to determine the Participant's Total Disability before approving
               or denying any such claim. If permitted in Article I, a Participant may receive an
               in-service distribution of his or her vested Accrued Benefit on account of Total Disability.

                       C.      Distribution at Death. If this Plan provides for an annuity option as selected
               in Article I, and if a Participant ceases participation under the Plan by reason of his or her
               death prior to the Annuity Starting Date, unless there has been a valid Waiver Election
               during the applicable Election Period, a Qualified Preretirement Survivor Annuity shall be
               paid to the Surviving Spouse commencing on the later of the Normal Retirement Age or on
               the date that a Participant would have attained age 62 unless an alternate form of benefit
               is selected. The Surviving Spouse may elect to have such annuity distributed within a
               reasonable time after the Participant's death, subject to an adjustment on account of an
               earlier distribution, if any.

                              1.     Notice Requirements and Alternate Forms of Death Benefits.

                                       (a)     The Committee shall provide each Participant a written
               explanation of the Qualified Preretirement Survivor Annuity in such terms and in such
               manner as would be comparable to the explanations provided for meeting the notice
               requirements of Paragraph B.2 of this Article VII applicable to a Qualified Joint and
               Survivor Annuity. Except for separation from service prior to age 35, the applicable
               period for a written explanation to a Participant is whichever of the following periods
               ends last (i) the period beginning with the first day of the Plan Year in which the
               Participant attained age 32 and ending with the close of the Plan Year preceding the
               Plan Year in which the Participant attained age 35; (ii) a reasonable period ending after
               an Employee becomes a Participant; (iii) a reasonable period ending after the Plan no
               longer fully subsidizes the benefit; or (iv) a reasonable period ending after
               Section 401 (a)(11) of the Code first applies to the Participant. For purposes of applying
               clauses (ii), (iii) and (iv), a reasonable period ending after the last of these events have
               occurred means the end of the two-year period beginning one (1) year prior to the date
               the applicable event occurs, and ending one (1) year after that date.

                                   (b)    if a Participant separates from service before the Plan Year
               in which the Participant attains age 35, notice shall be provided within the two-year
               period beginning one (1) year prior to separation and ending one (1) year after
               separation. If the Participant thereafter returns to employment with the Employer, the



                                                   ARTICLE VII                                 Vll-12

               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL                                                                                            WH_MDL_00331868
               Case 1:18-md-02865-LAK          Document 835-123        Filed 06/27/22     Page 92 of 138




               applicable period for such Participant shall be redetermined as described in clauses (i),
               (ii), (iii) and (iv) of this Paragraph C.1 (a).

                                    (c)     During any time that a Waiver Election is in force, the
               Participant may elect to have his or her death benefit distributed in any one of the ways
               permitted by Paragraph JJ of this Article I, including without limitation, a total or partial
               direct transfer to an Eligible Retirement Plan, if the distribution constitutes an Eligible
               Rollover Distribution.

                                     (d)    If, at the death of a Participant, his or her death benefit is
               payable in the form of a Qualified Preretirement Survivor Annuity, the Participant's
               Surviving Spouse shall be entitled to select by written election an alternate form of
               benefit payment in any of the ways permitted by Paragraph JJ of Article I, including
               without limitation, a total or partial direct transfer to an Eligible Retirement Plan, if the
               distribution constitutes an Eligible Rollover Distribution.

                             2.      Time of Distribution Upon Death. Upon the death of a Participant,
               the following distribution provisions shall apply:

                                 (a)     If the Participant dies before distributions begin, the
           Participant's entire interest will be distributed, or begin to be distributed, no later than as
           follows:

                                       (i)    If the Participant's Surviving Spouse is the
           Participant's sole Designated Beneficiary, then , except as provided in Article I,
           distributions to the Surviving Spouse will begin by December 31 of the calendar year
           immediately following the calendar year in which the Participant died, or by December
           31 of the calendar year in which the Participant would have attained age 70½, if later.

                                      (ii)   If the Participant's Surviving Spouse is not the
           Participant's sole Designated Beneficiary, then , except as provided in Article I,
           distributions to the Designated Beneficiary will begin by December 31 of the calendar
           year immediately following the calendar year in which the Participant died.

                                       (iii)  If there is no Designated Beneficiary as of September
           30 of the year following the year of the Participant's death, the Participant's entire
           interest will be distributed by December 31 of the calendar year containing the fifth
           anniversary of the Participant's death.

                                       (iv)   If the Participant's Surviving Spouse is the
           Participant's sole Designated Beneficiary and the Surviving Spouse dies after the
           Participant but before distributions to the Surviving Spouse begin, this subparagraph




                                                  ARTICLE VII                                Vll-13

           BROAD FINANCIAL (800) 395-5200


                                                                                                       WH_MDL_00331869
CONFIDENTIAL
                Case 1:18-md-02865-LAK          Document 835-123       Filed 06/27/22     Page 93 of 138




                C.2(a), other than subparagraph C.2(a)(i), will apply as if the Surviving Spouse were the
                Participant.

                               For purposes of this Paragraph C.2, unless subparagraph C.2(a)(iv)
                applies, distributions are considered to begin on the Participant's required beginning
                date. If subparagraph C.2(a)(iv) applies, distributions are considered to begin on the
                date distributions are required to begin to the Surviving Spouse under subparagraph
                C.2(a)(i). If distributions under an annuity purchased from an insurance company
                irrevocably commence to the Participant before the Participant's required beginning
                date (or to the Participant's Surviving Spouse before the date distributions are required
                to begin to the Surviving Spouse under subparagraph C.2(a)(i)), the date distributions
                are considered to begin is the date distributions actually commence.

                                    (b)   If the Participant dies on or after the date distributions begin
               and there is a Designated Beneficiary, the minimum amount that will be distributed for
               each Distribution Calendar Year after the year of the Participant's death is the quotient
               obtained by dividing the Participant's account balance by the longer of the remaining life
               expectancy of the Participant or the remaining life expectancy of the Participant's
               Designated Beneficiary, determined as follows:

                                         (i)    The Participant's remammg life expectancy is
               calculated using the age of the Participant in the year of death, reduced by one (1) for
               each subsequent year.

                                           (ii)  If the Participant's Surviving Spouse is the
               Participant's sole Designated Beneficiary, the remaining life expectancy of the Surviving
               Spouse is calculated for each Distribution Calendar Year after the year of the
               Participant's death using the Surviving Spouse's age as of the Spouse's birthday in that
               year. For Distribution Calendar Years after the year of the Surviving Spouse's death, the
               remaining life expectancy of the Surviving Spouse is calculated using the age of the
               Surviving Spouse as of the Spouse's birthday in the calendar year of the Spouse's
               death, reduced by one (1) for each subsequent calendar year.

                                            (iii) If the Participant's Surviving Spouse is not the
               Participant's sole Designated Beneficiary, the Designated Beneficiary's remaining life
               expectancy is calculated using the age of the Beneficiary in the year following the year
               of the Participant's death, reduced by one (1) for each subsequent year.

                                    (c)     If the Participant dies on or after the date distributions begin
               and there is no Designated Beneficiary as of September 30 of the year after the year of
               the Participant's death, the minimum amount that will be distributed for each Distribution
               Calendar Year after the year of the Participant's death is the quotient obtained by
               dividing the Participant's account balance by the Participant's remaining life expectancy



                                                   ARTICLE VII                                Vll-14

               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL
                                                                                                       WH_MDL_00331870
               Case 1:18-md-02865-LAK          Document 835-123        Filed 06/27/22    Page 94 of 138




               calculated using the age of the Participant in the year of death, reduced by one ( 1) for
               each subsequent year.

                                     (d)   Except as provided in Article I, if the Participant dies before
               the date distributions begin and there is a Designated Beneficiary, the minimum amount
               that will be distributed for each Distribution Calendar Year after the year of the
               Participant's death is the quotient obtained by dividing the Participant's account balance
               by the remaining life expectancy of the Participant's Designated Beneficiary, determined
               as provided in subparagraph C.2(b) and (c) of this Article VII.

                                    (e)    If the Participant dies before the date distributions begin and
               there is no Designated Beneficiary as of September 30 of the year following the year of
               the Participant's death, distribution of the Participant's entire interest will be completed
               by December 31 of the calendar year containing the fifth anniversary of the Participant's
               death.

                                 (f)     If the Participant dies before the date distributions begin, the
           Participant's Surviving Spouse is the Participant's sole Designated Beneficiary, and the
           Surviving Spouse dies before distributions are required to begin to the Surviving Spouse
           under subparagraph C.2(a)(i), then subparagraphs C.2(d), (e) and (f) of this Article VII
           will apply as if the Surviving Spouse were the Participant.

                            3.  REACT Death Benefit. If the Plan is subject to REACT Surviving
           Spouse protection, the amount of death benefits to be paid to the Participant's Surviving
           Spouse shall be a Qualified Preretirement Survivor Annuity determined in accordance
           with Article I and this Article VII. Any remaining Accrued Benefit shall be paid in
           accordance with the Participant's Beneficiary designation. If this Plan does not provide
           for an annuity option, the special rule as provided in Paragraph E of this Article VII shall
           apply.

                         4.    Death Benefits. The death benefit payable under this Plan shall be
           equal to the face amount of any life insurance policies, if any (excluding key man
           insurance) on such Participant's life in effect on his or her date of death, plus such
           Participant's Accrued Benefit.

                            5. Lack of Designation. If such deceased Participant had filed with the
           Committee a document naming a Designated Beneficiary, but failed to designate the
           form in which benefit payments are to be made, then the Committee shall direct the
           Trustee to distribute to such Designated Beneficiary the unpaid amount of the
           Participant's Accrued Benefit as determined above, in such one (1) or more ways as
           permissible under Paragraph B.3 of this Article VII. If such deceased Participant failed
           to name a Designated Beneficiary, or if no Designated Beneficiary survives him or her,




                                                 ARTICLE VII                                Vll-15

           BROAD FINANCIAL (800) 395-5200


                                                                                                      WH_MDL_00331871
CONFIDENTIAL
                Case 1:18-md-02865-LAK          Document 835-123      Filed 06/27/22     Page 95 of 138




   (           then the unpaid amount of the Participant's Accrued Benefit shall be paid to the
               Designated Beneficiary pursuant to the priorities set forth in Article IX of the Plan.

                             6.    Proof of Death. Upon the death of a Participant, the Committee
               may, but need not, require the personal representative of the Participant's estate and/or
               the Designated Beneficiary to furnish proof of death and such tax release forms and any
               other forms, papers or documents as are deemed appropriate by the Committee prior to
               making any payment of death benefits.

                              7.      Proof of Surviving Spouse. The Committee shall withhold and shall
               not authorize the distribution of death benefits until such time as the Committee can
               determine the existence and/or identity of a Surviving Spouse or any other non-spouse
               Beneficiary. If the Committee cannot determine to its reasonable satisfaction the
               identity of the person or persons to whom such death benefits should be distributed
               within a reasonable time after the date of death of the Participant, then the Committee
               shall not authorize the distribution of such death benefits but shall hold such death ·
               benefits in trust until the identity of such Surviving Spouse or other Beneficiary is finally
               determined. If necessary as determined by the Committee in its sole discretion, the
               Committee may file a complaint for interpleader or declaratory relief requesting that the
               court determine the identity of any persons who are entitled to payment of such
               benefits. In such a case, the death benefits may be deposited with the court pending
               the outcome.

                                8.   Death of Beneficiary. A Beneficiary shall not have any rights to
               benefits under the Plan unless he or she survives the Participant. If the Participant and
               his or her Beneficiary die simultaneously and it is not possible to determine who died
               first, .it is presumed that the Participant survived the Beneficiary, regardless of any
               finding to the contrary by a state court or pursuant to any state law.

                      D.     Transitional Rules. The Qualified Joint and Survivor Annuity and Qualified
               Preretirement Survivor Annuity provisions of this Article VII, to the extent that they are
               applicable under this Plan, shall apply only to Participants who complete an Hour of
               Service on or after August 23, 1984.

                             1.     Service On or After January 11 1976. Any Inactive Participant not
               receiving benefits on August 23, 1984, shall be given the opportunity to make a Waiver
               Election for a Qualified Preretirement Survivor Annuity if such Inactive Participant
               (i) completed at least one (1) Hour of Service with the Employer under this Plan (or a
               Predecessor Plan) in a Plan Year beginning on or after January 1, 1976; and (ii) had
               completed at least 10 Years of Vested Service when he or she terminated employment.

                            2.     Service On or After September 2 1 1974 and Before January 1,
               1976.    Any Inactive Participant not receiving benefits on August 23, 1984, who



                                                  ARTICLE VII                               Vll-16

               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL                                                                                         WH_MDL_00331872
                    Case 1:18-md-02865-LAK          Document 835-123        Filed 06/27/22      Page 96 of 138




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   \               completed at least one (1) Hour of Service with the Employer under this Plan (or a
                   Predecessor Plan) on or after September 2, 1974, but who did not complete an Hour of
                   Service in a Plan Year beginning on or after January i, 1976, shall be given the
                   opportunity to have his or her benefits paid in accordance with the distributive provisions
                   and the Qualified Joint and Survivor Annuity provisions of this Plan in effect before
                   August 23, 1984, as required by Section 303(e) of REACT.

                                      Any election available to an Inactive Participant under this
                   Paragraph D.2 may be made during the period commencing on August 23, 1984, and
                   ending on such former Participant's Annuity Starting Date.

                           E.     Non-Annuity Rules.

                                  1.      No Annuities. If this Plan does not provide for an annuity option as
                   selected in Article I, then the Participant shall not be entitled to the payment of his or her
                   vested Accrued Benefit in the form of annuity. Furthermore, the Qualified Joint and
                  Survivor Annuity and Qualified Preretirement Survivor Annuity provisions of
                  Paragraphs B and C of this Article VII shall not be applicable to this Plan, but all of the
                  remaining provisions of such Paragraphs B and C relating to distribution forms and time
                  of commencement of distributions shall be applicable to the Participant and his or her
                  Surviving Spouse and/or Designated Beneficiary. On the death of the Participant, all of
                  his or her death benefit shall be paid to his or her Surviving Spouse within a reasonable
                  time. The Surviving Spouse may elect to receive the deceased Participant's benefits
                  under the Plan within 90 days after the date of death. If there is no Surviving Spouse or
                  if the Surviving Spouse consents in writing in a manner prescribed under Paragraph A. 7
                  of this Article VII, then the Participant's death benefit shall be paid to the Designated
                  Beneficiary.

                                 2.   Transferred Benefits. Irrespective of any lack of selection of the
                  annuity option in Article I, the Qualified Joint and Survivor Annuity and Qualified
                  Preretirement Survivor Annuity provisions of Paragraphs Band C of this Article VII shall
                  apply to Transferred Benefits which are neither rollover benefits nor voluntary transfers
                  under Q&A 3 of Section 1.411 (d)-4 of the Treasury Regulations.

                                 3.    Offset of Annuity Plans. If this Plan would not otherwise be subject
                  to the survivor annuity requirements of Section 401 (a)(11) and 417 of the Code, but its
                  benefits are used to offset benefits in a plan subject to such requirements, than the
                  survivor annuity requirements will apply to those Participants whose benefits are offset.

                                4.      QDRO Distributions. Qualified Domestic Relations Orders may
                  order the distribution of an Alternate Payee's interest in all or a portion of a Participant's
                  vested Accrued Benefit to be distributed in one of the alternate forms of distribution set
                  forth in Paragraph JJ of Article I, including without limitation, a partial or total direct



                                                      ARTICLE VII                                 Vll-17
                  BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL                                                                                               WH_MDL_00331873
                Case 1:18-md-02865-LAK          Document 835-123        Filed 06/27/22     Page 97 of 138




                transfer to an Eligible Retirement Plan, if the distribution constitutes an Eligible Rollover
                Distribution.

                       F.     Time of Distribution.        Unless Article I allows Participants to defer
               commencement of benefits, distribution to a Participant shall occur no later than 60 days
               after the close of the Plan Year in which the Participant reaches Normal Retirement Age or
               terminates employment, whichever is later. However, the failure of a Participant and his or
               her Spouse, where applicable, to consent to a distribution, shall be deemed to be an
               election to defer the commencement of a payment of any benefits to the later of age 62 or
               the Normal Retirement Age. Notwithstanding anything herein to the contrary, any deferral
               of benefit shall not violate Sections 401 (a)(9) and 415 of the Code including the failure to
               consent to a distribution by the Participant and the Spouse w~ere applicable.

                      G.       Pre-TEFRA Designations. Notwithstanding Paragraphs B and C of this
               Article VII, each Participant or his or her Designated Beneficiary who made a timely
                designation pursuant to Section 242(b)(2) of TEFRA shall have had the right and power to
                elect by written designation delivered to the Committee, the time for commencement of
                and the form of distribution of his or her Accrued Benefits; provided, however, that any
               such designation must have been consistent with the provisions of ERISA, the Code and
               Notice 83-23 in effect at the time the designation was made and shall comply with the
               spousal consent requirements of REACT; provided, further, however, that such Participant
               or his or her Designated Beneficiary may have selected any form of distribution available
               under the terms of the Plan as in effect at the time of execution of such designation and
               the form selected by each Participant is hereby incorporated by reference. The following
               form of distribution is also available pursuant to such designation, in addition to those
               forms of distribution set forth above by reference and elsewhere in the Plan:

                            Payment in a series of cash installments, not less frequently than
               annually, over a period of time equal to twice the future life expectancy of the Participant
               determined as of the date payments of benefits commence, or if the Participant is
               married at such date, over the greater of twice the life expectancy of the Participant or
               his or her Spouse. Expected return multiple Tables V and VI of Section 1.72-9 of the
               Treasury Regulations shall determine the number of years of future life expectancy.

                              If a designation is revoked subsequent to the date distributions are
               required to commence, the Trust must distribute by the end of the calendar year
               following the calendar year in which the revocation occurs the total amount not yet
               distributed which would have been required to have been distributed to satisfy
               Section 401 (a)(9) of the Code and the proposed regulations thereunder, but for the
               Section 242(b)(2) election. For calendar years beginning after December 31, 1988,
               such distributions must meet the minimum distribution incidental benefit requirements in
               Section 1.401 (a)(9)-2 of the Proposed Regulations. Any changes in the designation will
               be considered to be a revocation of the designation. However, the mere substitution or



                                                   ARTICLE VII                                Vll-18

               BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL
                                                                                                       WH_MDL_00331874
                 Case 1:18-md-02865-LAK                               Document 835-123                         Filed 06/27/22                 Page 98 of 138




               addition of another Beneficiary (one not named in the designation) under the
               designation will not be considered to be a revocation of the designation, so long as such
               substitution or addition does not alter the period over which distributions are to be made
               under the designation, directly or indirectly (such as altering the relevant measuring life).
               If an amount is transferred or rolled over from one plan to another, the rules in Q&A J-2
               and Q&A J-3 of Section 1.401 (a)(9)-1 of the Proposed Regulations shall apply.

                       H. ·   Loans to Participants. If allowed under Article I, the Committee may, in its
               sole discretion and upon written application of a Participant (or, if allowable under Article I
               or by the Plan's loan policy, an Inactive Participant) on a form provided by the Committee,
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               this Paragraph H.

                              1.     Limitation on Amount of Loan. The total amount of such loan shall
               not exceed the lesser of (i) $50,000 reduced by the excess, if any, of the highest
               outstanding balance of loans made to the Participant from the Plan during the one (1)
               year period ending on the day before the date on which such loan is made, over the
               outstanding balance of loans from the Plan to the Participant on the date on which such
               loan was made . or (ii) 50% of the Participant's vested Accrued Benefit. In determining
               such limitation, the Committee shall take into account the balance of such loan and the
               outstanding balance of all other loans to the Participant from the Plan or any other
               qualified plan of the Employer.

                        2.     Nondiscrimination. The Plan's policies with respect to making any
           such loans shall be uniformly and non-discriminatorily applied and such loans shall not
           be made available to Highly Compensated Employees, officers or shareholders in an
           amount greater than the amount made available to other Employees.

                         3.     Aggregation Rules. For purposes of the preceding subparagraphs
           1. and 2., Section 414(b), (c), (m) and (o) of the Code shall apply.·

                         4.    Committee Determination.         The Committee shall give due
           consideration to the type of security given for the loan and the creditworthiness of the
           Participant/borrower in determining whether to approve or disapprove a loan. in no
           event shall the Committee be required to make any such loans.

                         5.    Designation of Investment in Loan. Unless loans are designated as
           a directed investment of the Participant's Account pursuant to Article I, any loan or loans
           made to a Participant shall be treated as an investment of the Trust.

                         6.     Documentary Requirements. Any loans shall be evidenced .by the
           Participant's promissory note which shall:




                                                                        ARTICLE VII                                                              Vll-19

           BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL                                                                                                                                                     WH_MDL_00331875
                Case 1:18-md-02865-LAK              Document 835-123       Filed 06/27/22    Page 99 of 138




                                      (a)    be for a specific term, which shall not exceed five (5) years
                unless the Participant certifies in writing to the Committee that the proceeds of the loan
                will be applied to acquire the Participant's principal residence; and

                                   (b)   specify that the Participant's vested Accrued Benefit shall
                serve as security in the event of a default, plus other collateral if the Committee
                reasonably determines that additional collateral is necessary in order for the loan to be
                adequately secured; and

                                  (c)    bear interest at the rate equal to the prevailing interest rate
                charged by persons in the business of lending money for loans made under similar
                circumstances.

                            7.     Loan Procedures. The Committee shall establish a written program
               which contains the following information:

                                      (a)       The identity of the person(s) authorized to administer the
               loan program.

                                     (b)        A procedure for applying for a loan.

                                     (c)        The basis on which loans will be approved or denied.

                                     (d)        Limitations, if any, on the types and amount of the loan
               offered.

                                     (e)        The procedures for determining a reasonable rate of interest.

                                     (f)        The type of collateral which may secure a Participant's loan.

                                     (g)    The events constituting default and causing acceleration and
               the steps that will be taken to preserve plan assets in the event of any such events.

                              8.    Other Acceleration. In addition to any acceleration provisions
               contained in the promissory note, a Participant's loan shall immediately become due
               and payable if such Participant is entitled to and elects to receive a distribution from the
               Plan, other than a hardship distribution. In this case, the Committee shall immediately
               request payment of the outstanding principal balance and accrued but unpaid interest
               on the loan. If the Participant does not repay such amount within a reasonable time
               after such request, the Committee shall have the right to offset and reduce the
               Participant's vested Accrued Benefit which was used for security for such loan by such
               amount. If the Participant's vested Accrued Benefit is less than the amount due, the
               Committee shall take appropriate steps to collect the balance due directly from the



                                                       ARTICLE VII                              Vll-20

               BROAD FINANCIAL (800) 395-5200

CONFIDENTIAL
                                                                                                         WH_MDL_00331876
                Case 1:18-md-02865-LAK         Document 835-123       Filed 06/27/22      Page 100 of 138




               Participant. Notwithstanding the foregoing, the Committee may allow an Inactive
               Participant who has terminated employment to elect to transfer his or her outstanding
               loan to a plan described in Section 401 (a) or 403(a) of the Code, provided that the loan
               is not in default at the time of the transfer.

                              9.     Procedures Upon Default. Upon default of a loan, the Participant's
               Accrued Benefit shall be reduced by the outstanding principal balance of the loan plus
                accrued but unpaid interest. However, if the Participant's Account is subject to the
               withdrawal restrictions of Section 401 (k) of the Code or if this Plan is subject to
               Section 417 of the Code, the Participant's Accrued Benefit shall not be reduced until a
               distributable event occurs under the terms of the Plan. During any time that a !oan !s !n
               default under the terms of the promissory note and the borrowing Participant's vested
               Accrued Benefit is not distributable, such loan shall be treated as a directed investment
               of such Participant's Account, regardless of whether directed investments are permitted
               in Article I.

                             10.    Spousal Consent. If the Plan provides for distribution of benefits in .
               the form of an annuity, and if a Participant taking a loan pursuant to this Paragraph H is
               married, the Committee shall require that such Participant obtain his or her Spouse's
               consent to the loan and the possible reduction in such Participant's Accrued Benefit.
               Such consent shall be obtained within the 90-day period prior to the making of the loan
               and shall be in writing and shall acknowledge the effect of the loan and shall be
               witnessed by a Plan representative or notary public. If the Plan does not provide for
               annuities, spousal consent shall not be required.

                     I.     Reserved.

                 J.      Distributions to Incompetent Persons. The Committee may direct the
           Trustee to distribute the benefits of any Participant pursuant to the instructions of any
           person named by such Participant in a durable power of attorney which, on its face,
           appears to be valid and enforceable, or a court-appointed legal guardian or conservator of
           such Participant.

                   K.     Nonliability. Any payment to a Participant or Designated Beneficiary, or to
           the legal representative of a Participant or Designated Beneficiary, in accordance with the
           provisions of this Plan, shall to the extent thereof be in full satisfaction of all claims under
           this Plan against the Trustee, the Committee and the Employer, any of whom may require
           such Participant, legal representative or Designated Beneficiary, as a condition precedent
           to such payment, to execute a receipt and release therefore in such form as shall be
           detennined by the Trustee, the Committee, or the Employer, as the case may be. The
           Employer does not guarantee the Trust, the Participants, former Participants or their
           Designated Beneficiaries against loss of or depreciation in value of any right or benefit that
           any of them may acquire under the terms of this Plan. All of the benefits payable under



                                                 ARTICLE VII                                Vll-21

           BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL                                                                                          WH_MDL_00331877
               Case 1:18-md-02865-LAK           Document 835-123      Filed 06/27/22     Page 101 of 138




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               this Plan shall be paid or provided solely from the Trust, and the Employer does not
               assume any liability or responsibility for payment of such benefits.

                      L.      Benefit Claims Procedure.

                              1.     Applications. All applications for benefits under the Plan shall be
               submitted to the Committee at the Employer's principal place of business. Applications
               for benefits must be in writing on forms acceptable by the Committee and must be
               signed by the Participant and his or her Spouse, or in the case of a death benefit, by the
               Designated Beneficiary or legal representative of the deceased Participant. The
               Committee reserves the right to require the Participant to furnish proof of his or her
               marital status, age, and the age of his or her Spouse, if any, prior to processing any
               application. Each application shall be acted upon and approved or disapproved by the
               Committee within 90 days following its receipt by the responsible officer of the
               Employer. If any application for benefits is denied, in whole or in part, the Committee
               shall notify the applicant in writing of such denial and of his or her right to a review by
               the Committee and shall set forth, in a manner calculated to be understood by the
               applicant, the specific reasons for such denial, the specific references to pertinent Plan
               provisions on which the denial is based, a description of any additional material or
               information necessary for the applicant to perfect his or her application, an explanation
               of why such material or information is necessary, and an explanation of the Plan's
               review procedure.

                               2.      Review of Denials. Any person whose application for benefits is
               denied in whole or in part may appeal to the Committee for a review of the decision by
               submitting a written statement to the Committee within 60 days after receiving written
               notice from the Committee of the denial of his or her claim (i) requesting a review by the
               Committee of his or her application for benefits; (ii) setting forth all of the grounds upon
               which his or her request for review is based and any facts in support of such request;
               and (iii) setting forth any issues or comments which the applicant deems pertinent to his
               or her application. The Committee shall meet as required to review appeals of denials
               of applications for benefits submitted to it. The Committee shall act upon each appeal
               within 60 days after receipt of the applicant's request for review by the Committee. The
               Committee shall make a full and fair review of each such application and any written
               material submitted by the applicant or the Employer in connection with such review and
               may require the Employer or the applicant to submit such additional facts, documents,
               or other evidence as the Committee, in its sole discretion, deems necessary or
               advisable in making such a review. On the basis of its review, the Committee shall
               make an independent determination of the applicant's eligibility for benefits under the
               Plan. The decision of the Committee on any application for benefits shall be final and
               conclusive upon all persons if supported by substantial evidence in the records.




                                                   ARTICLE VII                               Vll-22

               BROAD FINANCIAL (800) 395-5200

CONFIDENTIAL                                                                                          WH_MDL_00331878
                Case 1:18-md-02865-LAK                        Document 835-123                        Filed 06/27/22       Page 102 of 138




                       M.    Income Tax Withholding. Distributions made under the Plan to any
               Participant or his or her Designated Beneficiary shall be subject to the income tax
               withholding rules set forth in Section 3405 of the Code and the Treasury Regulations
               promulgated thereunder.

                       N.    Qualified Domestic Relations Orders. Notwithstanding anything to the
               contrary contained herein, the Committee shall direct the Trustee to make distribution to
               an Alternate Payee in accordance with a Qualified Domestic Relations Order, and such
               distribution may be made, notwithstanding the age or continued employment of the
               Participant who is a party to such Order, at any time as specified in the Order, provided the
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               alternate payee executes release forms, withholding forms and any other documents,
               forms or papers that the Committee deems necessary and desirable.

                   0.      Overpayment of Vested Interest.        If a Participant or Beneficiary is
           erroneously paid benefits greater than the Participant's vested Accrued Benefit, the
           Committee may, in its sole discretion exercised in the best interests of Participants and
           Beneficiaries, demand from the Participant or Beneficiary repayment of such overpayment.
           If the Participant or Beneficiary refuses to make repayment, the Committee may take legal
           action to recover the amount of the overpayment, plus interest, and costs of collection
           including reasonable attorneys' fees. If the Participant returns to employment and the
  {   ·~   overpayment has not been repaid to the Plan, the Committee may offset the overpayment
  \,,_J    against future Plan benefits.




                                                                 ARTICLE VII                                                   Vll-23

           BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL                                                                                                                                WH_MDL_00331879
                Case 1:18-md-02865-LAK              Document 835-123         Filed 06/27/22   Page 103 of 138




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                                                VIII.   TOP-HEAVY LIMITATIONS

                       If in any Plan Year the Plan is a Top-heavy Plan as defined in Paragraph A
                below, the limitations and requirements set forth in this Article VIII shall apply to the
                Plan, unless this is a Simple 401(k) Plan within the meaning of Section 401(k)(11) of the
                Code.

                       The Top-heavy requirement of Section 416 of the Code and Paragraph E of this
               Article VIII shall not apply, if the Plan consists solely of a cash or deferred arrangement
               which meets the requirements of Section 401(k)(12) of the Code and Matching
               Contributions that comply with the requirement of Section 401 (m)(11) of the Code.

                       A.      Definitions.

                               1.     "Determination Date" means with respect to any Plan Year the last
               day of the preceding Plan Year or, in the case of the first Plan Year, the last day of such
               Plan Year, provided that the Employer did not previously establish another qualified
               plan that is part of a Required Aggregation Group.

                            2.     "Key Employee" means any Participant who at any time during the
               Plan Year containing the Determination Date is:

                                      (a)   An officer of the Employer having Section 415
               Compensation greater than $130,000 (as adjusted under Section 416(i)(I} of the Code
               for Plan Years beginning after December 31, 2002); provided, however, that no more
               than 50 Employees or, if lesser, the greater of three (3) or 10% of the Employees shall
               be treated as officers; provided further that if the total number of officers exceeds this
               limitation, only the highest compensated officers shall be included ;

                                      (b)       A 5%-Owner of the Employer;

                                (c)   A 1%-Owner                 of    the    Employer   whose    Section 415
               Compensation exceeds $150,000; or

                                     (d)        A Beneficiary of a Key Employee or a former Key Employee.

                                           For purposes of this Paragraph A.2,                 Section 415
               Compensation shall include amounts contributed by the Employer pursuant to a salary
               reduction agreement which are excludable from the Employee's gross income under
               Section 125, 132(f)(4}, 402(e)(3), 402 (g)(3), 402(h), 403(b), 408(p)(2)(A)(i) or 457 of the
               Code.




                                                        ARTICLE VIII                              Vlll-1

               BROAD FINANCIAL (800) 395-5200

CONFIDENTIAL                                                                                               WH_MDL_00331880
                Case 1:18-md-02865-LAK        Document 835-123           Filed 06/27/22   Page 104 of 138




                                          An Employee shall be deemed a "1 %-Owner'' if he or she (i)
               owns more than one percent (1%) of the outstanding stock or owns stock possessing
               more than one percent (1%) of the total combined voting power of all classes of stock, if
               the Employer is a corporation; or (ii) owns more than one percent ( 1%) of the capital or
               profit interests in the Employer if the Employer is not a corporation. In making the
               determination of a 1%-Owner or a 5%-Owner, Section 416(i)(1)(B)(iii) of the Code
               modifies Section 318(a)(2) of the Code, the corporate attribution rule. The business
               aggregation rules of Section 414 of the Code shall not be applied to determine
               ownership in the Employer.
                                                          _..._"   __ _ any Employee vvho is
                                                          IIIVC:UI~                                 a Key
           Employee.

                         4.    "Top-heavy Plan" means, with respect to any Plan Year, (i) any
           defined benefit pension plan maintained by the Employer if, as of the Determination
           Date, the present value of cumulative Accrued Benefits under the plan for Key
           Employees exceeds 60% of the present value of cumulative Accrued Benefits under the
           Plan for all Employees; and (ii) any defined contribution plan, other than a Simple 401 (k)
           Plan, maintained by the Employer if, as of the Determination Date, the aggregate of the
           Accounts of Key Employees under the Plan exceeds 60% of the aggregate of the
           Accounts of all Employees under the Plan. This rule is referred to herein as the
           "60% Test."

                         5.    "Top-heavy Group" means any Aggregation Group if the sum of the
           present value of cumulative Accrued Benefits for Key Employees under all defined
           benefit pension plans included in the Aggregation Group, and the sum of the accounts
           of Key Employees under all defined contribution plans included in the Aggregation
           Group, exceed 60% of a similar sum determined for all Employees. An "Agmegation
           Group" means either a Required Aggregation Group or a Permissive Aggregation
           Group.

                        6.     "Required Aggregation Group" means each qualified plan of the
          Employer in which a Key Employee is a participant, and each other qualified plan of the
          Employer which enables the qualified plan or plans containing a Key Employee to meet
          the anti-discrimination requirements of Section 401(a)(4) or 410 of the Code. A
          Required Aggregation Group includes any qualified plan of the Employer that has
          terminated within the one (1) year period ending on the Determination Date.

                    B.     Aggregation Groups.

                       1.     Required Aggregation Group. Each qualified plan of the Employer
          required to be included in a Required Aggregation Group shall be treated as a
          Top-heavy Plan if the Required Aggregation Group is a Top-heavy Group.



                                               ARTICLE VIII                                Vlll-2
          BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL                                                                                         WH_MDL_00331881
                Case 1:18-md-02865-LAK         Document 835-123        Filed 06/27/22     Page 105 of 138




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                             2.     Permissive Aggregation Group. For purposes of determining the
               existence of a Top-heavy ,Group, the Employer may elect to include in the Required
               Aggregation Group any other qualified plan of the Employer not otherwise required to
               be included, if such Group after the election would continue to meet the
               anti-discrimination requirements of Sections 401(a)(4) and 410 of the Code; provided,
               however, that any such qualified plan will not be otherwise deemed a Top-heavy Plan
               by reason of such election.

                                    If the Permissive Aggregation Group is a Top-heavy Group, each
               qualified plan of the Employer that is a part of a Required Aggregation Group will be
               considered a Top-heavy Plan. If the Permissive Aggregation Group is not a Top-heavy
               Group, no qualified plan in the Permissive Aggregation Group will be considered a
               Top-heavy Plan.

                            3.    Plans Aggregated . Only those qualified plans of the Employer in
               which the Determination Dates fall within the calendar year shall be aggregated to
               determine whether the qualified plans (or the Aggregation Group) are Top-heavy Plans
               (or a Top-heavy Group).

                      C.      60% Test - Special Rules. For purposes of the 60% Test, the following
               special rules of this Paragraph C shall apply.

                             1.    Participant Contributions. Benefits derived from both Participant
               contributions (whether voluntary or mandatory, but not deductible contributions) and
               Employer contributions shall be taken into account for the 60% Test.

                              2.      Distributions. In determining the present value of cumulative
               Accrued Benefits of any Participant or the Account of any Participant under the Plan (or
               plans which form the Aggregation Group), such present value or Account shall be
               increased by the aggregate of distributions made to such Participant from the Plan (or
               plans forming the Aggregation Group) during the one (1) year period ending on the
               Determination Date. For this purpose, the term "Participant" shall include an Employee
               who is no longer employed by the Employer. The foregoing shall also apply to
               distributions under a terminated qualified plan of the Employer which, if it had not been
               terminated, would have been required to be included in an Aggregation Group. In the
               case of a distribution made for reasons other than separation from employment, death,
               or Total Disability, this provision shall be applied by substitution five (5) year period for
               one (1) year period.

                             3.     Rollover Contributions.    Except as otherwise provided in the
               Treasury Regulations, any rollover contribution or similar transfer made by an Employee
               to the Plan after December 31, 1983 shall not be taken into account; provided, however,



                                                  ARTICLE VIII                                Vlll-3

           BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL                                                                                           WH_MDL_00331882
               Case 1:18-md-02865-LAK        Document 835-123        Filed 06/27/22    Page 106 of 138




             that this transfer rule shall not apply to mergers or consolidations of several plans, the
             division of one (1) plan, or rollovers between plans of the Employer or related
             employers.

                          4.     Change of Status. The cumulative Accrued Benefit or Account of a
             Participant who was formerly a Key Employee, but who ceases to be a Key Employee
             for a Plan Year, shall not be taken into account for purposes of the 60% Test for the
             Plan Year in which he or she is not a Key Employee.

                            5.    Non-Performance of Service. The Accounts and Accrued Benefits
             of a Participant who has not performed serv1ices for the Employei maintaining the Plan
             during the one (1) year period ending on the Determination Date shall be disregarded.

                         6.     Determination of Present Value. The present value of cumulative
            Accrued Benefits under any aggregated defined benefit pension plan maintained by the
            Employer shall be determined by applying the actuarial equivalents set forth in such
            defined benefit pension plan.

                           7.      Determination of Accrued Benefit. Solely for the purpose of
            determining if the Plan, or any other plan included in a Required Aggregation Group of
            which this Plan is a part, is top-heavy (within the meaning of Section 416(g) of the
       \~   Code) the Accrued Benefit of an Employee other than a Key Employee (within the
 (
     ~./    meaning of Section 416(i)(1) of the Code) shall be determined under (i) the method, if
            any, that uniformly applies for accrual purposes under all plans maintained by the
            Controlled Group; or (ii) if there is no such method, as if such benefit accrued not more
            rapidly than the slowest accrual rate permitted under the fractional accrual rate of
            Section 411 (b )(1 )(C) of the Code.

                          8.    Catch-Up Contributions. Catch-up contributions made in
            accordance with Section 414(v) of the Code with respect to the current Plan Year are
            not taken into account for purposes of top-heavy testing under Section 416 of the Code.
            However, catch-up contributions made to the Plan in prior years are taken into account
            in determining whether the Plan is top-heavy under Section 416 of the Code.

                    D.     Minimum Vesting Requirements. If the Plan is a Top-heavy Plan, then the
            partial vesting provisions of Paragraph AS of Article VI are modified to the extent
            necessary to provide for vesting at a faster rate during the relevant Plan Year under either
            of the following vesting schedules, as elected in Paragraph V of Article I:

                         1.    3-Year Cliff Vesting. Each Employee who has completed three (3)
            Years of Vested Service with the Employer shall be 100% vested in his or her Accrued
            Benefit.




                                               ARTICLE VIII                                Vlll-4

            BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL                                                                                        WH_MDL_00331883
                Case 1:18-md-02865-LAK         Document 835-123       Filed 06/27/22        Page 107 of 138




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                              2.    6-Year Graded Vesting.         Each Employee shall have a
                non-forfeitable vested interest in his or her Accrued Benefit determined under the
                following schedule:

                                                                     Vested Percentage
                                            Years of                 of the Participant's
                                         Vesting Service              Accrued Benefit

                                       less than 2                            0%
                                                 2                           20%
                                                 3                           40%
                                                 4                           60%
                                                 5                          80%
                                                 6 or more                 100%

                             3.    Limitations on Right to Amend Vesting Schedule. The limitations of
               Paragraph K of Article VI regarding the right to amend the vesting schedule shall apply
               to any change in the vesting schedule caused by the Plan becoming a Top-heavy Plan,
               or ceasing to be a Top-heavy Plan.

                       E.     Minimum Benefit Requirement. If the Plan is a Top-heavy Plan, then to the
               extent that the Plan benefits do not meet the minimum benefit requirements set forth
               below, each Participant who is not a Key Employee shall be provided with such minimum
               benefits. Key Employees shall share in the allocation of Top-heavy minimum benefits, if
               any, as described in this Paragraph E, if elected in Article I. Such minimum benefits shall
               be determined without taking into account Employer contributions to or a Participant's
               benefits under the Social Security Act. To the extent that the minimum benefit of any
               Participant is vested in accordance with Paragraph D of this Article VIII, such minimum
               Accrued Benefit may not be forfeited or suspended under Section 411 (a)(3)(B)
               or 411 (a)(3)(D) of the Code.

                          1.    3% Benefit. Each Participant who is not a Key Employee shall
           receive an allocation of Employer contributions (and forfeitures, if applicable) of not less
           than three percent (3%) or such higher percentage of such Participant's Section 415
           Compensation as elected in Article I; provided, however, that if there is an allocation of
           Employer contributions (and forfeitures, if applicable) of less than three percent (3%) of
           Section 415 Compensation in any Plan Year for all Key Employees, the allocation of
           such contributions (and forfeitures, if applicable) need not exceed the highest
           percentage of Section 415 Compensation at which such contributions (and forfeitures, if
           applicable) are allocated or required to be allocated under the Plan for any Key
           Employee. Elective Contributions made by Key Employees shall be included in
           determining the Key Employee percentage of contribution.              If a Key Employee
           participates in a defined benefit plan which is included with this Plan in a Top-heavy



                                                 ARTICLE VIII                                  Vlll-5

           BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL                                                                                            WH_MDL_00331884
               Case 1:18-md-02865-LAK   Document 835-123   Filed 06/27/22   Page 108 of 138




CONFIDENTIAL                                                                         WH_MDL_00331885
                   Case 1:18-md-02865-LAK          Document 835-123     Filed 06/27/22    Page 109 of 138




                   Group, a three percent (3%) minimum benefit will be provided to each Non-Key
                   Employee who only participates in this Plan.

                                       All defined contribution plans required to be included in an
                   Aggregation Group shall be treated as one (1) plan; provided, however, .that any defined
                   contribution plan required to be included in an Aggregation Group where such plan
                   enables a defined benefit pension plan to meet the anti-discrimination requirements of
                   Sections 401(a)(4) and 410 of the Code shall not be taken into account.

                                 2.     Persons Covered.       Notwithstanding anything to the contrary
                  contained in this Plan, each person who is a Participant (other than an Inactive
                  Participant, a Participant in an excluded class or a Participant who has waived
                  participation under the Plan) on the last day of the Plan Year shall have allocated to his
                  or her Employer Contribution Account the minimum benefits provided under this
                  Paragraph E even if such Participant (r) fails to complete 1,000 Hours of Service during
                  the Plan Year; (ii) refuses to make mandatory contributions to the Plan, if applicable; or
                  (iii) is excluded from participation under the Plan because his or her Section 415
                  Compensation is less than a stated amount.

                               3.     Profit Sharing and Retirement Savings Plans. Participant Elective
                  Contributions made pursuant to Paragraph H.1 of Article I shall be taken into account in
   (- )           determining the minimum benefit requirements of Paragraph E of this Article VIII.
    , -~------~

                                      Elective Contributions shall be treated as contributions for purposes
                  of determining the minimum contribution or benefits allocated to Key Employees under
                  Section 416 of the Code but will not be treated as satisfying the minimum contribution or
                  benefit requirements of Section 416 of the Code for Non-Key Employees. However,
                  Qualified Nonelective Employer Contributions described in Section 401(m)(4)(C) of the
                  Code may be used to satisfy minimum contribution requirements for Non-Key
                  Employees.

                                       For Plan Years beginning after December 31 , 2001, Matching
                  Contributions and Qualified Matching Contributions shall be taken into account for
                  purposes of satisfying the top-heavy minimum contribution requirements of Section
                  416(c)(2) of the Code and the Plan. The preceding sentence shall apply with respect to
                  Matching Contributions and Qualified Matching Contributions under this Plan or, if
                  Article I provides that the minimum contribution requirement shall be met in another
                  plan, such other plan. Matching Contributions that are used to satisfy the minimum
                  contribution requirements shall be treated as Matching Contributions for purposes of the
                  Contribution Percentage test and other requirements of Section 401 (m) of the Code.




                                                     ARTICLE VIII                             Vlll-6

                  BROAD FINANCIAL (800) 395-5200

CONFIDENTIAL
                                                                                                       WH_MDL_00331886
               Case 1:18-md-02865-LAK         Document 835-123       Filed 06/27/22    Page 110 of 138




                       F.     Annual Section 415 Compensation.     Section 415 Compensation shall be
               limited to the Compensation Limitation.

                        G.   Multiple Plans. If this Plan is the only qualified plan of the Employer in
               which a Participant who is a Non-Key Employee participates, the minimum benefits
               required by Paragraph E.1 of this Article VIII shall be provided under this Plan. If such
               Participant participates in this Plan and a defined benefit plan included in a Top-heavy
               Group or in another defined contribution plan of the Employer included in a Top-heavy
               Group, top-heavy minimum benefits shall be provided under the Plan designated in
               Article I.




                                                ARTICLE VIII                              Vlll-7

           BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL                                                                                       WH_MDL_00331887
                Case 1:18-md-02865-LAK           Document 835-123      Filed 06/27/22     Page 111 of 138




                                           IX.    DESIGNATED BENEFICIARIES

                        Each Participant and Inactive Participant may name a Designated Beneficiary to
                receive his or her death benefits by completing a form acceptable to the Committee.
                Participants shall have the right at any time to revoke such designation or to substitute
                another Designated Beneficiary. If at the daath of a Participant or a Designated
                Beneficiary, the name of a Designated Beneficiary or contingent Designated Beneficiary
                is not on file with the Committee, the Participant shall be deemed to have named the
                following Designated Beneficiary, in order of priority:

                                (i)                 The Surviving Spouse (as defined in Paragraph A.5 of
                Article VII, without regard to the one-year marriage requirement);

                                (ii)              If the Participant is not survived by a Surviving
                Spouse, the trustees of the. revocable living trust established by the Participant during
                his or her lifetime;

                               (iii)               The Participant's children, per stirpes;

                               (iv)                The Participant's estate. ·


   C>                       The Committee's determination as to which persons, if any, qualify within
               the aforementioned categories shall be final and conclusive upon all persons.




                                                   ARTICLE IX                                 IX-1

               BROAD FINANCIAL (800) 395-5200

CONFIDENTIAL
                                                                                                     WH_MDL_00331888
                Case 1:18-md-02865-LAK         Document 835-123         Filed 06/27/22     Page 112 of 138




                                     X.      CONTRIBUTIONS BY PARTICIPANTS

                      A.     Employee After-Tax Contributions.

                              1.    Eligibility. If allowed under Article I, all Participants are eligible to
               make Employee After-Tax Contributions to the Plan by submitting an application on
               forms acceptable to the Committee. All such applications shall include the Participant's
               acceptance of the relevant terms and conditions of this Plan. If such contributions are
               to be made by payroll deduction, such application shall state the Participant's
               designation of the proportion of his or her Section 415 Compensation which he or she
               shall contribute, and his or her consent to the \AJ!thhc!d!ng cf such contributions by the
               Employer. Contributions may also be made by the Participant in a single-sum form by
               direct contribution.    A Participant may continue to make Employee After-Tax
               Contributions throughout the period he or she is a Participant; provided, however, that a
               Participant shall have the absolute right to discontinue payroll deduction Employee
               After-Tax Contributions as of the end of any month following the month in which he or
               she gives written notice thereof to the Employer.

                              2.   Amount of Contributions. A Participant may contribute to the Trust
               such amounts as he or she shall determine as set forth in his or her written election;
               provided, however, that such amounts shall not exceed the limitations of Paragraph E of
               Article V. A Participant may change the amount of his or her Employee After-Tax
               Contributions withheld by payroll deduction once during each Plan Year, and any other
               time permitted by the Committee, with respect to future contributions by filing a written
               election with the Committee.

                         3.   Collection of Contributions.  All contributions received by the
           Employer, whether by withholding or by direct payment from the Participant, shall be
           paid over by the Employer to the Trustee.

                   B.     Rollover Contributions. If allowed under Article I, any Employee who is a
           Participant during any Plan Year, or any Employee who the Committee reasonably
           anticipates will become a Participant, may make qualified Rollover Contributions to the
           Plan. If the Committee shall determine, subsequent to any such contribution, that such
           contribution did not in fact constitute a qualified Rollover Contribution, the amount of
           such contribution shall be returned to the Employee as soon thereafter as reasonably
           practicable. Any such qualified Rollover Contributions shall be allocated and held on
           behalf of the Participant in a Rollover Contribution Account. Said Account shall be
           deemed a part of the Participant's Accrued Benefit and shall be subject to the
           distribution provisions of Article VII of the Plan.




                                                  ARTICLEX                                      X-1

           BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL                                                                                           WH_MDL_00331889
                Case 1:18-md-02865-LAK           Document 835-123        Filed 06/27/22      Page 113 of 138




                               If provided in Article I, this Plan will accept Rollover Contributions and
                direct rollover of Eligible Rollover Distributions from the types of plans specified in
                Article I, beginning on the effective date specified in Article I.

                        C.    Separate Administration and Accounts for Participant Contributions. The
                 Employee After-Tax Contributions and the Rollover Contributions of a Participant shall be
                 accounted for separately. The Committee shall establish an Employee After-Tax
                Contribution Account for each Participant's Employee After-Tax Contributions and a
                Rollover Contribution Account for his or her Rollover Contributions. Unless Participant
                Directed Accounts are allowed under Article I, a Participant's Employee After-Tax
                Contribution Account and Rollover Contribution Account shall be invested in the general
                Trust Fund. On each Valuation Date, the Committee shall determine the fair market value
                of such Accounts and (subject to the following sentence) shall allocate income or losses to
                the respective Accounts in proportion to the amounts therein as of the Valuation Date. For
                the purpose of allocating income and losses, the Accounts to which Participants'
                contributions are allocated shall be valued by including only a portion of current year
                contributions and taking into account Participant withdrawals, which portion shall be
                determined on a weighted basis by considering the length of time (in complete months)
                since the making of the contribution (or withdrawal) in relation to the number of complete
                months elapsed since the last Valuation Date.

                      D.    Vesting. A Participant's Employee After-Tax Contribution Account and
               Rollover Contribution Account shall at all times be fully vested.

                       E.      Withdrawal of Contributions. The balance of the Employee After-Tax
               Contribution Account as of any Anniversary Date may be withdrawn upon 90 days written
               notice to the Committee, severance of employment being automatically deemed such
               notice; provided, however, that such 90 day period may be extended by the Committee to
               satisfy liquidity needs of the Trust. Any Participant who withdraws 90% of his or her
               Employee After-Tax Contribution Account within one (1) Plan Year must withdraw his or
               her entire Employee After-Tax Contribution Account and shall be ineligible to make
               Employee After-Tax Contributions for the period ending on the Anniversary Date following
               one (1) year from the date of the last such withdrawal. If this Plan is subject to
               Section 41 7 of the Code, the withdrawal of all or any portion of a Participant's Employee
               After-Tax Contributions shall be subject to the annuity provisions of Article VII of the Plan.

                       F.     Distribution of Rollover Contribution Accounts. When a Participant
               terminates employment for any reason, his or her Rollover Contribution Accounts shall be
               distributed to him or her (or in the case of death, to his or her Designated Beneficiary) in
               the form designated by the Participant as required pursuant to the provisions of Article VI I
               of the Plan. If elected in Article I, a Participant may receive his or her Rollover Contribution
               Account prior to termination of employment.




                                                     ARTICLEX                                      X-2

               BROAD FINANCIAL (800) 395-5200

CONFIDENTIAL
                                                                                                         WH_MDL_00331890
                Case 1:18-md-02865-LAK                   Document 835-123               Filed 06/27/22          Page 114 of 138




                        G.       Limitations on Section 401(m) Contributions.

                                 1.       Contribution Percentage Limitation.

                                    (a)     The amount of Qualifying Section 401 (m) Contributions
               made on behalf of the group consisting of Highly Compensated Employees shall not
               result in an Actual Deferral Percentage that exceeds the greater of the following:

                                         (i)  The Average Contribution Percentage for Eligible
               Participants who are Highly Compensated Employees for the current Plan Year shall
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               -·--- ------ - · -· -- . .. -•-:::,- --·····--
               Non-Highly Compensated Employees for the current or the preceding Plan Year, as
               elected in Article I, multiplied by 1.25; or

                                            (ii)   The Average Contribution Percentage for Eligible
                Participants who are Highly Compensated Employees for the Plan Year shall not
                exceed the Average Contribution Percentage for Eligible Participants who are
                Non-Highly Compensated Employees for the current or the preceding Plan Year, as
               elected in Article I, multiplied by two (2); provided that the Average Contribution
               Percentage for Eligible Participants who are Highly Compensated Employees does not
               exceed the Average Contribution Percentage for Eligible Participants who are
               Non-Highly Compensated Employees for the current or preceding Plan Year, as elected
               in Article I, by more than two (2) percentage points or such lesser amount as the
               Secretary of the Treasury shall prescribe to prevent the multiple use of this alternative
               limitation with respect to any Highly Compensated Employee.

                               (b)     For the first Plan Year in which the Plan (other than a
           successor p!an) provides for a Matching Contribution or After-Tax Employer
           Contribution, the Average Contribution Percentage of Non-Highly Compensated
           Employees under the prior year testing method shall be either three percent (3%) or the
           Average Contribution Percentage of the Non-Highly Compensated Employees for such
           Plan Year as elected in Article I.

                                    If the Plan provides for the prior year testing method, the
           Average Contribution Percentage shall be determined without regard to changes in the
           group of Non-Highly Compensated Employees who are Eligible Participants during the
           testing year.

                        2.     Matching Contributions.   If elected in Article I, Matching
           Contributions may be made to the Plan. Such Matching Contributions shall be allocated
           in accordance with Article I.




                                                             ARTICLEX                                                  X-3

           BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL                                                                                                                    WH_MDL_00331891
                Case 1:18-md-02865-LAK          Document 835-123    Filed 06/27/22    Page 115 of 138




                              3.      Safe Harbor Matching Contributions and Safe Harbor Nonelective
                Employer Contributions.       If Safe Harbor Matching Contributions or Safe Harbor
                Nonelective Employer Contributions are made to this Plan, the Average Contribution
                Percentage shall be deemed satisfied but only with respect to Matching Contributions
                provided that the following requirements are met:

                                     (a)    Each Non-Highly Compensated Employee who is eligible to
                receive an allocation of Safe Harbor Matching Contributions or Safe Harbor Nonelective
                Employer Contributions under the Plan must be an Eligible Participant under the Plan's
                cash or deferred arrangement;

                                    (b)    The Plan provides for a ·Safe Harbor Matching Contribution
                formula as described in either Section 401(k)(12)(B)(i) of the Code (the "Basic Matching
                Formula" as described in Article I) or Section 401 (m)(11 )(B)(ii) of the Code (the
               "Enhanced Matching Formula" as described in Article I); provided, however, that with
               respect to the Enhanced Matching Formula in Article I, the Safe Harbor Matching
               Contributions are only made with respect to Elective Contributions or Employee After-
               Tax Contributions that do not exceed six percent (6%) of the Employee's Compensation
               and no other required Matching Contributions are provided under this Plan.
               Alternatively, the Plan provides for a Safe Harbor Nonelective Employer Contribution
               formula that satisfies Section 401 (k)(12)(C) of the Code and any required Matching
               Contributions do not exceed six percent (6%) of Compensation;

                                    (c)    Matching Contributions made at the Employer's discretion on
               behalf of any Participant may not exceed a dollar amount greater than four percent (4%)
               of such Participant's Compensation and are only made with respect to Elective
               Contributions or Employee's After-Tax Contributions that do not exceed six percent
               (6%) of the Participant's Compensation;

                                   (d)   If Safe Harbor Matching Contributions are made on a payroll
               period method rather than on an annual method, then such Safe Harbor Matching
               Contributions must be contributed·to the Plan by the last day of the following Plan Year
               quarter; and

                                  (e)   Safe Harbor Matching Contributions must also satisfy the
               requirements of Paragraph F of Article IV.

                             4.    Simple 401(k) Plan. A Simple 401 (k) Plan shall not be subject to
               the Contribution Percentage limitation.

                              5.     Special Rules.




                                                   ARTICLE X                                X-4

               BROAD FINANCIAL (800) 395-5200

CONFIDENTIAL
                                                                                                  WH_MDL_00331892
                Case 1:18-md-02865-LAK          Document 835-123        Filed 06/27/22     Page 116 of 138




   (
                                     (a)    For purposes of determining the Contribution Percentage
               limitation, Employee After-Tax Contributions are taken into account for a Plan Year in
               which such amounts were contributed to the trust or paid to an agent of the Plan and
               transmitted to the trust within a reasonable time after the payment to the agent. Excess
               Contributions that are recharacterized are taken into account as Employee After-Tax
               Contributions for the Plan Year that includes the period for which such Excess
               Contributions are includable in the gross income of the Employee.

                                      (b)   A Matching Contribution or Safe Harbor Matching
                Contribution will be taken into account under the Contribution Percentage limitation for
                the Plan Year only if such contribution is (i) a!!ocated to the Employee's Account under
                the terms of the Plan as of any date within the Plan Year; (ii) actually paid to the trust no
                later than the end of the 12-month period beginning on the date after the close of the
                Plan Year; and (iii) made on behalf of the Employee on account of such Employee's
               Elective Contributions or Employee After-Tax Contributions for the Plan Year. Safe
               Harbor Matching Contributions may be allocated only to Non-Highly Compensated
               Participants. Matching Contributions and Safe Harbor Matching Contributions that do
               not satisfy all of the preceding requirements of this subparagraph (b) may not be taken
               in account for purposes of the Average Contribution Percentage limitation. Instead, the
               contribution must satisfy Section 401 (a){4) of the Code without regard to the special
               non-discrimination rule in this paragraph for the Plan Year in which allocated as if they
               were irrevocable contributions and were the only Nonelective Employer Contributions
               made for the Plan Year.

                               (c)    A Matching Contribution with respect to an Elective
           Contribution for a Non-Highly Compensated Employee is not taken into account under
           the Actual Contribution Percentage limitation to the extent such Matching Contribution
           exceeds the greater of (i) five percent (5%) of the Employee's Compensation; (ii) the
           Employee's Elective Contributions to the Plan Year; and (iii) the product of two (2) times
           the Plan's representative matching rate, as described is Section 1.401 (m)-2(a)(5)(ii)(B)
           and (C) of the Treasury Regulations, and the Employee's Elective Contributions for the
           Plan Year.

                  H.     Correction of Excess Aggregate Contributions.          If the Committee
           recharacterizes Excess Contributions as described in Paragraph J.5 of Article IV, the
           recharacterized amount shall be subject to the Contribution Percentage limitation of
           Section 401(m) of the Code. Excess Contributions recharacterized as Employee After-Tax
           Contributions shall be included in determining the amount of Excess Aggregate
           Contributions for the Plan Year that ends with or within the Plan Year for which the
           Contribution Percentage limitation is applied.

                          The Committee may correct Excess Aggregate Contributions by
           distributing the Excess Aggregate Contributions and income allocated thereto to the



                                                  ARTICLEX                                      X-5
          BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL                                                                                           WH_MDL_00331893
                Case 1:18-md-02865-LAK          Document 835-123        Filed 06/27/22     Page 117 of 138




                appropriate Highly Compensated Employee after the close of the Plan Year but not
                more than 12 months after the close of the Plan Year. The return of Excess Aggregate
                Contributions to the Highly Compensated Employee shall be determined using the
                same method applied to the return of Excess Contributions.

                               The Committee may correct Excess Aggregate Contributions by the
                forfeiture of nonvested Matching Contributions (and income allocable thereto). Such
                forfeitures shall be made only to the extent necessary to avoid failure of the Contribution
                Percentage limitation. The forfeiture of Excess Aggregate Contributions to the Highly
                Compensated Employee shall be determined using the same method applied to the
                return of Excess Contributions.

                       I.      Reserved.

                        J.     Distribution of Income. Any distribution or forfeiture of Excess Aggregate
                 Contributions must include the income or loss allocated to such contributions. Allocable
                 income or loss includes income or loss both from the Plan Year in which the Contribution
                 Percentage limitation was exceeded and for the gap period between the end of the Plan
                Year and the date of distribution. Allocable income or loss for the Plan Year is determined
                by multiplying the income or loss for the Plan Year allocable to Qualifying Section 401 (m)
                Contributions by a fraction, the numerator of which is the Excess Aggregate Contributions
                made on behalf of an Employee for the Plan Year and the denominator of which is the
                total Account balance attributed to Qualifying Section 401 (m) Contributions as of the end
                of the Plan Year minus the income or plus the loss allocable to such account balance for
                the Plan Year. The Committee may determine the allocable income or loss for the gap
               period by using the fractional method, as prescribed in the preceding sentence, for the
               period between the end of the Plan Year and the last day of the month preceding the
               distribution date that is allocable to Qualifying 401 (m) Contributions. Alternatively the
               Committee may determine income or loss for the gap period under a safe-harbor method,
               under which income on Excess Aggregate Contributions for the gap period is equal to 10%
               of the income or loss allocable to Excess Aggregate Contributions calculated under the
               fractional method as described above in this paragraph for the Plan Year, times the
               number of calendar months between the end of the Plan Year and the date of distribution
               counting whole months only and treating distributions made on or before the 15th day of
               the month as made on the last day of the preceding month and distributions made after
               the first 15 days of the month as occurring on the first day of the next month.
               Notwithstanding the preceding, for Plan Years beginning prior to the effective date of Final
               Treasury Regulations·under 401 (k) of the Code as elected in Article I, or if no election is
               made, no later than Plan Years beginning after December 31, 2005, the Committee can
               exclude gap period that is allocated to the Participant's Accounts distribution so long as
               such exclusion is applied consistently to all Participants and corrective distributions for the
               Plan Year. For Plan Years in which Final Treasury Regulations under 401(k) are effective
               gap period income can only be excluded as permitted under Section 1.401 (k)-(2)(b) of the



                                                    ARTICLE X                                     X-6

               BROAD FINANCIAL (800) 395-5200

CONFIDENTIAL
                                                                                                        WH_MDL_00331894
                Case 1:18-md-02865-LAK                                    Document 835-123                               Filed 06/27/22                       Page 118 of 138




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               Treasury Regulations. The income allowable to Excess Aggregate Contributions resulting
               from the recharacterization of Elective Contributions shall be determined and distributed as
               if such recharacterized Elective Contributions had been distributed as Excess
               Contributions.

                             For Plan Years in which the Final Treasury Regulations under 401(k) of
               the Code are effective, if gap period income is required to be allocated, the Committee
               may determine the income allocable to Excess Aggregated Contributions on a date that
               is no more than seven (7) days before the distribution.

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               income to the extent it represents a distribution of designated Roth Contributions.
               However, the income allocable to a corrective distribution of Excess Aggregate
               Contributions that are designated Roth Contributions are included in gross income in
               the same manner as income allocable to a corrective distribution of Excess Aggregate
               Contributions that are not designated as Roth Contributions.

                      K.      Coordination with Section 401(a)(4) of the Code. Matching Contributions
              attributable to Employee After-Tax Contributions or Elective Contributions which are
              returned to the Highly Compensated Employee shall not remain allocated to the Highly
              Compensated Employee. The distribution of a matched Employee After-Tax Contribution
    ,.,-. \   or Elective Contribution to a Highly Compensated Employee must include the
  (
  ·_)         corresponding Matching Contribution. Unmatched Employee After-Tax Contributions shall
              be distributed first. To the extent necessary, matched Employee After-Tax Contributions
              shall be distributed, in which case the distribution must be made proportionately from the
              matched and Matching Contributions. A Matching Contribution that is forfeited to cover an
              Excess Aggregate Contribution is not taken into account under the Contribution
              Percentage limitation.

                            If an Elective Contribution is returned to a Highly Compensated Employee
              and a corresponding Matching Contribution relates to such Elective Contribution, the
              Committee may forfeit such Matching Contribution regardless of vesting in order to
              satisfy Section 401 (a)(4) of the Code.

                      L.    Additional Qualified Nonelective Employer Contributions. Rather than
              returning Excess Aggregate Contributions, the Committee, in its sole discretion, may make
              additional Qualified Nonelective Employer Contributions or may apply Elective
              Contributions to satisfy the Contribution Percentage limitation provided that the Qualified
              Nonelective Employer Contributions and Elective Contributions that will be treated as
              Matching Contributions are made with respect to Employees who are Eligible Participants
              under the Plan




                                                                             ARTICLEX                                                                                   X-7

              BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL                                                                                                                                                                         WH_MDL_00331895
                Case 1:18-md-02865-LAK          Document 835-123      Filed 06/27/22    Page 119 of 138




                             1.    Conditions for Additional QNECs. Qualified Nonelective Employer
                Contributions will be treated as Matching Contributions only if the additional
                requirements described below are satisfied:

                                   (a)  The Nonelective Employer Contributions including Qualified
                Nonelective Employer Contributions treated as Matching Contributions shall satisfy
                Section 401(a)(4) of the Code and Section 1.401(a)(4)-1(b)(2) of the Treasury
                Regulations.

                                    (b)    The Nonelective Employer Contributions excluding Qualified
                Nonelective Employer Contributions treated as Matching Contributions for the
                Contribution Percentage limitation and Qualified Nonelective Employer Contributions
                treated as Elective Contributions for the Actual Deferral Percentage limitation shall
                satisfy Section 401(a)(4) of the Code and Section 1.401(a)(4)-1(b)(2) of the Treasury
                Regulations.

                                     (c)   If the Employer is applying the special rule for employer-wide
               plans in Section 1.414(r)-1(c)(2)(ii) of the Treasury Regulations with respect to a cash or
               deferred arrangement, the determination of whether the Qualified Nonelective Employer
               Contributions satisfy the requirements of subparagraphs (a) and (b) of this Paragraph L
               must be made on an employer-wide basis regardless of whether the plans to which the
               Qualified Nonelective Employer Contributions are made are satisfying the requirements
               of Section 410(b) of the Code on an employer-wide basis. Conversely, in the case of an
               employer that is treated as operating qualified separate lines of business, and does not
               apply the special rule for employer-wide plans in Section 1.414(r)-1 (c)(2)(ii) of the
               Treasury Regulations with respect to a cash or deferred arrangement, then the
               determination of whether the Qualified Nonelective Employer Contributions satisfy the
               requirements of subparagraphs (a) and (b) of this Paragraph L is not permitted to be
               made on an employer-wide basis regardless of whether the plans to which the Qualified
               Nonelective Employer Contributions are made are satisfying the requirements of
               Section 41 0(b) of the Code on that basis.

                                     (d)    The Elective Contributions including those treated as
               Matching Contributions for purposes of the Contribution Percentage limitation shall
               satisfy Section 401 (k)(3) of the Code.

                                   (e)   Qualified Nonelective Employer Contributions shall be
               allocated to the Employee within the Plan Year, and the Elective Contributions shall
               relate to Compensation for the Plan Year or Compensation that would have been
               received within 2½ months after the Plan Year and are allocated within the Plan Year.

                                  (f)    The plan which treats Qualified Nonelective Employer
               Contributions and Elective Contributions as Matching Contributions and the plan to



                                                   ARTICLEX                                   X-8

               BROAD FINANCIAL (800) 395-5200

CONFIDENTIAL
                                                                                                    WH_MDL_00331896
               Case 1:18-md-02865-LAK         Document 835-123       Filed 06/27/22     Page 120 of 138




               which the Qualified Nonelective Employer Contributions and Elective Contributions are
               made must have the same Plan Year. If the Plan Year is changed to satisfy this
               requirement, such contributions may be taken into account during the Short Plan Years
               only if they could have been taken into account under the Contribution Percentage
               limitation for a plan with the same Short Plan Year.

                                     (g)   If the Employer has elected to apply the prior year testing
               method to calculate the Contribution Percentage limitation, Qualified Nonelective
               Employer Contributions must be made no later than twelve (12) months following the
               last day of the Plan Year preceding the current Plan Year to satisfy the Contribution
               Percentage limitation. If the Employer has elected to apply the current year testing
               method to calculate the Contribution Percentage limitation, Qualified Nonelective
               Employer Contributions must be made no later than twelve (12) months following the
               close of the current Plan Year to satisfy the Contribution Percentage limitation.

                                   (h)    Effective as stated in Article I, Qualified Nonelective
              Employer Contributions cannot be taken into account for a Plan Year for a Non-Highly
              Compensated Participant to the extent such contributions exceed the product of that
              Non-Highly Compensated Participant's Compensation and the greater of (i) five percent
              (5%) or (ii) two (2) times the Plan's representative contribution rate. Any Qualified
              Nonelective Employer Contribution taken into account under the Actual Deferral
  ( -\        Percentage limitation under Paragraph J.4 of Article IV (including the determination of
  "'-..02J    the representative contribution rate for purposes Section 1.401 (k)-2(a)(6){iv)(B) of the
              Treasury Regulations), is not taken into account for purposes of this Paragraph L
              (including the determination of the representative contribution rate for purposes of this
              subparagraph (h)).

                                  For purposes of this subparagraph (h ), the Plan's representative
             contribution rate is the lowest applicable contribution rate of any eligible Non-Highly
             Compensated Participant among a group of eligible Non-highly Compensated
             Participants that consists of half of all eligible Non-H ighly Compensated Participants for
             the Plan Year (or, if greater, the lowest applicable contribution rate of any eligible Non
             Highly Compensated Participant in the group of all eligible Non-Highly Compensated
             Participant for the Plan Year and who is employed by the Employer on the last day of
             the Plan Year).

                                 The applicabie contribution rate for an eligible Non-Highly
             Compensated Participant is the sum of the Matching Contributions taken into account
             under this Paragraph L for the eligible Non-Highly Compensated Participant for the Plan
             Year and the Qualified Nonelective Employer Contributions made for that eligible Non-
             Highly Compensated Participant for the Plan Year, divided by that eligible Non-Highly
             Compensated Participant's Compensation for such Plan Year.




                                                ARTICLEX                                    X-9

             BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL                                                                                       WH_MDL_00331897
                Case 1:18-md-02865-LAK          Document 835-123      Filed 06/27/22    Page 121 of 138




                                      Notwithstanding this subparagraph (h), Qualified Nonelective
                Employer Contributions that are made in connection with an Employer's obligation to
                pay prevailing wages under the Davis-Bacon Act, Service Contract of 1965 or similar
                legislation, can be taken into account for a Plan Year to the extent such contributions do
                not exceed ten percent (10%) of the Non-Highly Compensated Participant's
                Compensation.

                               2.     Qualified Nonelective Employer Contributions Not Taken Into
                Account. Qualified Nonelective Employer Contributions can not be taken into account
                under this Paragraph L to the extent such contributions are taken into account for
                purposes of satisfying any other Actual Deferral Percentage limitation, Contribution
                Percentage limitation, or the requirements of Sections 1.401 (k)-3, 1.401 (m)-3 or
                1.401 (k)-4 of the Treasury Regulations.

                       M.    Correction of Excess Aggregate Contribution Prior to the Plan Year. If the
               Committee determines that the Contribution Percentage is being exceeded during the Plan
               Year, the Committee may suspend the group of Highly Compensated Employees by
               suspending Matching Contributions or Employee After-Tax Contributions or any other
               contributions which result in additional contributions under Section 401 (m) of the Code to
               satisfy the Contribution Percentage limitation. The Committee shall give notice to such
               Employees of the amounts to be reduced. The determination of the reduction shall be
   ()          made in accordance with the same method used for the return of Excess Aggregate
               Contributions or on a pro rata basis as determined by the Committee.

                       N.     Coordination with Correction of Excess Contributions and Excess
               Deferrals. The determination of the amount of Excess Aggregate Contributions with
               respect to a Plan Year shall be made after determining the Excess Contribution, if any, to
               be treated as an Employee After-Tax Contribution due to recharacterization under
               Section 401 (k) of the Code for the Plan Year subject to Section 401 (k) of the Code ending
               with the Plan Year being tested under Section 401 (m) of the Code. Excess Aggregate
               Contributions attributed to amounts other than Employee After-Tax Contributions,
               including forfeited Matching Contributions, shall be treated as Employer Contributions for
               purposes of Sections 404 and 415 of the Code even if distributed from the Plan.

                       0.     Aggregation Rules for Section 401 (m) Contributions.

                             1.    In General. If the Employer maintains two (2) or more plans to
               which Employee After-Tax Contributions or Matching Contributions are made, then the
               plans may be considered as a single plan for purposes of determining whether or not
               such plans satisfy Sections 401(a)(4), 401(m) or 410(b) of the Code, other than
               Section 410(b)(2)(A) of the Code. In such case, the aggregated plans must satisfy the
               Contribution Percentage limitation with respect to the amount of the Employee After-Tax
               Contributions and Matching Contributions and additionally must satisfy



                                                  ARTICLEX                                   X-10

               BROAD FINANCIAL (800) 395-5200

CONFIDENTIAL
                                                                                                    WH_MDL_00331898
               Case 1:18-md-02865-LAK         Document 835-123       Filed 06/27/22    Page 122 of 138




               Sections 401 (a)(4) and 410(b) of the Code as though such aggregated plans were a
               single plan. Whenever a Highly Compensated Employee is eligible under two (2) or
               more plans of the Employer which are subject to Section 401 (m) of the Code, in
               calculating the Contribution Percentage limitation, the actual contribution ratio of such
               Highly Compensated Employee will be determined by treating all such plans in which
               such Highly Compensated Employee is an Eligible Participant as a single plan.

                                For purposes of this Paragraph 0, the term plan means a plan
           within the meaning of Section 1.410(b)-7(a) and (b) of the Treasury Regulations, after
           application of the mandatory disaggregation rules of Section 1.410(b)-7(c) of the
           Treasury Regulations and the permissive aggregation ru!es of Section 1.41 O(b )-7(d) of
           the Treasury Regulations, as modified by Paragraph 0.4 of this Article X. Thus, if two
           (2) plans are treated as a single plan pursuant to the permissive aggregation rules of
           Section 1.410(b)-7(d) of the Treasury Regulations, then such plans are treated as a
           single plan for purposes of Sections 401 (k) and 401 (m) of the Code.

                        2.     Plans with Inconsistent 401(k) Testing Methods. In applying the
           permissive aggregation rules of Section 1.410(b)-7(d) of the Treasury Regulations, an
           Employer may not aggregate plans within the meaning of Section 1.410(b)-7(b) of the
           Treasury Regulations that apply inconsistent testing methods. Thus, a plan that applies
           the current year testing method may not be aggregated with another plan of the
 (-· }     Employer that applies the prior year testing method. Similarly, an Employer may not
 ··~ ·'    aggregate a plan using the safe harbor provisions of Section 401 (m)(11) of the Code
           and another plan that is required to be tested under Section 401 (m)(2) of the Code.

                         3.      Disaggregation of Plans and Separate Testing. If Employee After-
           Tax Contributions or Matching Contributions are included in a plan within the meaning
           of Section 1.41 O(b )-?(b) of the Treasury Regulations that is mandatorily disaggregated
          under Section 410(b) of the Code (as modified by Paragraph 0.4 of this Article X), the
          Employee After-Tax Contributions or Matching Contributions must be disaggregated in
          a consistent manner. Thus, in the case of an Employer that is treated as operating
          qualified separate lines of business under Section 414(r) of the Code, if the eligible
          Employees under a plan which provides for Employee After-Tax Contributions or
          Matching Contributions are in more than one qualified separate line of business, only
          those Employees within each qualified separate line of business may be taken into
          account in determining whether each disaggregated portion of the plan complies with
          the requirements of Section 40i(m) of the Code, unless the Employer is applying the
          special rule for employer-wide plans in Section 1.414(r)-1 (c)(2)(ii) of the Treasury
          Regulations with respect to the plan. Similarly, if a plan provides for Employee After-
          Tax Contributions or Matching Contributions under which Employees are permitted to
          participate before they have completed the minimum age and service requirements of
          Section 41 0(a)(1} of the Code applies Section 410(b)(4 )(B) of the Code for determining
          whether the plan complies with Section 410(b)(1) of the Code, then the plan must be



                                                ARTICLEX                                  X-11

          BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL                                                                                       WH_MDL_00331899
                Case 1:18-md-02865-LAK          Document 835-123      Filed 06/27/22    Page 123 of 138




                treated as two separate plans, one comprising all eligible employees who have met the
                age and service requirements of Section 410(a)(1) of the Code and one comprising all
                eligible Employees who have not met the age and service requirements of Section
                41 0(a)(1) of the Code unless the Plan uses the rule that allows for the aggregation of all
                eligible Employees regardless of age and service.

                                   Restructuring under Section 1.401 (a)(4 )-9(c) of the Treasury
                Regulations may not be used to satisfy the requirements of Section 401 (m) of the Code.

                              4.     Certain Disaggregation Rules Not Applicable. The mandatory
                disaggregation rules relating to Section 401 (k) plans and Section 401 (m) plans set forth
                in Section 1.410(b)-7(c)(1) of the Treasury Regulations and an employee stock
                ownership plan and non-employee stock ownership plan portions of a plan set forth in
                Section 1.41 0(b)-7(c)(2) of the Treasury Regulations shall not apply for purposes of this
                Paragraph 0 . Accordingly, notwithstanding Section 1.410(b)-7(d)(2) of the Treasury
                Regulations, an employee stock ownership plan and a non-employee stock ownership
                plan which are different plans (within the meaning of Section 1.410(b)-7(b)) of the
                Treasury Regulations) are permitted to be aggregated for purposes of Section 401 (m) of
                the Code.




                                                   ARTICLE X                                 X-12

               BROAD FINANCIAL (800) 395-5200

CONFIDENTIAL
                                                                                                    WH_MDL_00331900
                          Case 1:18-md-02865-LAK               Document 835-123    Filed 06/27/22     Page 124 of 138




                                                         XI.    LIFE INSURANCE POLICIES

                                 A.     Investment and Ownership of Life Insurance Policies. The Committee may
                         direct the Trustee to purchase life insurance policies on the life of a Participant or on a
                         member of the Participant's family or on the joint life expectancy of a Participant and a
                         member of the Participant's family. The Trustee shall be the applicant for any policies
                         purchased, and each Participant for whom such policy is purchased shall direct in writing
                         that the Trustee shall be recognized by the insurer as the owner of the policy having the
                         power to exercise all rights, privileges, options, elections and other incidents of ownership
                         granted by or permitted under the policy. The Trustee may also be named as the
                         Beneficiary in the application foi such policy; piovided, hOitveve;, that the Participant shall
                         have the right to nominate the Designated Beneficiary pursuant to Article IX of the Plan.
                         Upon the death of the Participant, the Trustee shall pay all proceeds of the policies to the
                         Participant's Designated Beneficiary or if there is no Designated Beneficiary then in
                         accordance with Article IX.

                                B.     Payment of Premiums. Upon receipt of notice of the premiums due the
                        insurer for the initial premium on policies purchased pursuant to this Article XI and upon
                        direction of the Committee, the Trustee shall pay such premiums to said insurer. The
                        policies shall be delivered to the Trustee, and any notices of premiums falling due under
                        such policies thereafter shall be addressed to and such premiums shall be paid by the
  ( ---.-\)             Trustee.
   -..,.,.,;_c_, .-,·



                              C.      Accounting for Policies. The value of any policies purchased by the Trustee
                        pursuant to this Article XI shall be included in the annual valuations of the Plan.

                                D.    Discrimination. To the extent that policies are purchased, there shall be no
                        disciimination between Participants as to the foim, optional methods of settlement, or
                        other provisions of said policies. However, any Participant may refuse any offer to
                        purchase contracts for his or her benefit. Such refusal must be in writing and, when
                        tendered, shall satisfy the anti•discrimination intent of the first sentence of this
                        Paragraph D.

                               E.      Disposition Upon Retirement or Total Disability. If any Participant with
                        respect to whom a policy is held by the Trustee ceases to be a Participant as a result of
                        termination of employment (other than by death) on or after Normal Retirement Age or
                        Total Disability, the Trustee pursuant to the direction and discretion of the Committee shall
                        either (i) dispose of, or convert, such policy or policies to the extent necessary or desirable
                        in order that the proceeds of such disposition or conversion may be used to provide
                        retirement or disability benefits to the Participant in accordance with the provisions of this
                        Plan; or (ii) distribute such policy or policies to the Participant, provided such policy
                        complies with Paragraph B.4(b) of Article VII.




                                                                ARTICLE XI                                Xl-1

                        BROAD FINANCIAL (800) 395-5200

CONFIDENTIAL                                                                                                      WH_MDL_00331901
                Case 1:18-md-02865-LAK          Document 835-123       Filed 06/27/22     Page 125 of 138




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                       F.     Disposition Upon Other Separation From Service. Death benefits payable
               from policies on the life of a Participant shall cease as of the date of the Participant's
               separation from service for any reason other than death, Total Disability or termination of
               employment on or after Normal Retirement Age. In such event, the Trustee, subject to the
               direction and discretion of the Committee, shall make one (1) of the following dispositions
               of such policy or policies:

                              1.   Surrender each such policy to cash or designate itself as
               Beneficiary of each such policy.

                              2.      Offer to such Participant all such policies at a price (hereafter
               referred to as the "purchase price") equal to the cash value if the policy is whole life or
               accumulation value if the policy is interest sensitive or universal life. If the Participant
               accepts such offer, the purchase price shall be charged against his or her vested
               interest in that portion of the value of his or her Accrued Benefit not represented by such
               policies, and any excess of such purchase price over such vested interest shall be paid
               by the Participant to the Trustee in cash within 10 days after accepting such offer. If the
               offer is so accepted and any required payment made, the Trustee shall transfer
               ownership of such policies to such Participant. If such Participant does not accept such
               offer within 30 days after written notice from the Committee, the Trustee shall take such
               action as the Committee may direct to liquidate such policies in order to distribute to
  c·~ h}       such Participant the amount to which he or she is entitled pursuant to this Plan .
   ~~;,7'l

                              3.     Effect a policy loan upon all such policies from the insurer on the
               sole security of the policies in an amount determined by applying to the then cash value
               of each such policy a percentage equal to the excess of 100% over the percent vested
               in such Participant in accordance with the schedule of vesting set forth in this Plan. The
               loan proceeds shall go to and become the property of the Trust, and the Trustee shall,
               after effecting such loan, deliver such policy to the Participant subject to such loan.

                      G.     Policy Loans. Except as provided in Paragraph F.3 of this Article XI, policy
               loans under the loan provisions, if any, may be made by the Trustee proportionately
               against all contracts held by the Trust and solely for the purpose of paying premiums
               under such contracts. No loan shall be made on any policy on the life of any Participant to
               pay premiums on the life of any other Participant.

                       H.      Insurer Not a Party. The insurer shall not be deemed a party to this Plan,
               and its obligation shall be measured and determined solely by the terms of its policies.
               The insurer shall deal with the Trustee as the sole and absolute owner of the policies, and
               the insurer shall be under no obligation of inquiring or determining whether any action or
               failure to act on the part of the Trustee is in accordance with or authorized by the terms of
               this Plan. The insurer shall be fully discharged from any and all liability for any action
               taken or any amount paid in accordance with the direction of the Trustee, and the insurer



                                                   ARTICLE XI                                   Xl-2

               BROAD FINANCIAL (800) 395-5200

CONFIDENTIAL                                                                                           WH_MDL_00331902
                Case 1:18-md-02865-LAK           Document 835-123          Filed 06/27/22      Page 126 of 138




               shall not be obligated to see to the distribution or application of any money so paid. The
               insurer shall be fully discharged of all liability in dealing with the Trustee, as indicated on its
               records, until such time as it shall receive satisfactory evidence of the appointment and
               acceptance of a successor Trustee.

                      I.      Reserved.

                      J.     Insurance Limitations. If the Committee directs the Trustee to purchase life
               insurance, the following limitations shall apply:

                             1.    The cumulative premium for ordinary life insurance contracts sha!!
               be less than 50% of the aggregate Employer contributions allocated to any Participant;

                             2.    The cumulative premium for term and universal life insurance shall
               be less than 25% of the aggregate Employer contributions allocated to any Participant;

                         3.     The cumulative premium for a combination of ordinary life
           insurance and term and universal life insurance contracts shall be less than 25% of the
           aggregate Employer contributions allocated to any Participant. However, for purposes
           of this Paragraph J.3, 50% of the premium paid for the ordinary life insurance policies
           shall be excluded from the calculations.
  (~')
  -,,,                  4.     If the level annual premiums (with respect to a Participant) required
           to be paid on account of life insurance policies exceed the limitations described in this
           Paragraph J, then at the election of the Committee:

                                (a)    Employee contributions of the Participant, if available, shall
           be used to sustain the level of such premiums, and if not available, the insurer shall
           adjust the face amount of the policies to a basis consistent with the reduced
           contributions applicable to payment of premiums and shall credit resulting excess cash
           values to succeeding premiums due under the policies; or

                                (b)    The Committee may direct the Trustee to request the insurer
           to convert the existing insurance policies to paid-up policies other than term insurance
           and issue new policies for the lower premiums at the attained age of the Participant; or
           to pay over the entire cash values to the Trustee upon surrender of the policies.




                                                    ARTICLE XI                                      Xl-3

           BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL                                                                                                WH_MDL_00331903
                  Case 1:18-md-02865-LAK          Document 835-123      Filed 06/27/22     Page 127 of 138




                                                        XII.   TRUST

                        A.     Payment of Contributions. All contributions under this Plan shall be paid to
                 the Trustee to be held in trust under a Trust Agreement executed by the Employer and the
                 Trustee, which Trust Agreement shall be incorporated herein by this reference.

                         B.    Participant Directed Accounts. If allowed under Article I, each Participant
                 shall have the right and power to direct the investment of all assets of the designated
                 Accounts which have been allocated to and set aside in his or her name. Such power to
                 direct investments shall be made in accordance with the provisions of the Trust Agreement
                 and shall not include the power to invest in "collectibles" as defined in Section 408(m) of
                 the Code and may be limited as described in the following paragraph.

                               The Committee may establish nondiscriminatory rules and procedures
                 relating to Participants directing investments, Participants selecting brokers, Participants
                 appointing investment managers and Plan fiduciaries meeting their duties under ERISA
                 Section 404(c) and its regulations.

                               The Committee shall have the sole discretion to modify and replace any
                 and all of these rules and procedures without further amendment to the Plan or Trust.

  c·,'-',.,.J\   The Committee shall notify the Trustee and Participants within a reasonable time after
                 the adoption of any change to these rules and procedures. Inactive Participants are
                 solely responsible for informing the Committee of current addresses where changes in
                 these rules and procedures may be sent.

                                The Participant's right to direct the investment of their Accounts may be
                 limited by the Committee's selection of investment options. The Committee shall have
                 the sole discretion to delete or substitute investment options without further amendment
                 to the Plan or Trust. Notice shall be given to Participants within a reasonable time after
                 the adoption by the Committee of any changes in investment options. Inactive
                 Participants shall have the sole responsibility for keeping the Committee informed of
                 their current addresses for the Committee's use in informing such Inactive Participants
                 of any changes in investment options.

                        C.      Expenses Charged to Participants' Accounts.

                                1.     Loans. For the processing and preparation of loan documents.

                                2.     QDROs.     For the review and processing of a Qualified Domestic
                 Relations Order.

                               3.    Distribution Calculations. To calculate the different distribution
                 options available under the Plan.



                                                     ARTICLE XII                                Xll-1

                 BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL                                                                                            WH_MDL_00331904
                Case 1:18-md-02865-LAK                                    Document 835-123                         Filed 06/27/22                          Page 128 of 138




                                         4.           Hardship Withdrawals. For the processing and determination of a
                                                                                                                                                                                                               /'
               hardship withdrawal.

                            5.     Periodic Payments. For each distribution made to a Participant
               who has elected to receive his or her retirement benefits on a periodic basis.

                           6.     Inactive Participants' Accounts. To the extent not paid by the
               Employer, reasonable administrative expenses attributed to vested Participants who
               have separated from service but have yet to commence payments of their retirement
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               UV J I\.JIU.'1   , , ,u, ...,,._, VflLU~,._, .... 1.V \.IIVU r-l.V'V'U'U1 1 1,...:J.   \JUIVII   ""'"t--''-"'h' "w"""   ..,;,11uu   ...,_   i,.4....,,., ..   'V ......   l.'V'   ""'""''"'''


             Participants' Accounts on either a pro rata basis or per capita basis as determined by
             the Committee.

                                        7.
                                  Expenses of Administration.      To the extent not paid by the
             Employer, reasonable administrative expenses may be charged to the Participant's
             Accounts on a p ro rata basis or per capita as determined by the Committee.

                          D.            Prudent Man Rule . Subject to Sections 403 (c) and (d), 404 (c) 4042 and
             4044 of ERISA, a fiduciary shall discharge her of her duties with respect to the Plan solely
             in the interest of its Participants and Beneficiaries and shall act with the care, skill,
  ( __, -~   prudence, and diligence under the .circumstances then prevailing that a prudent man
  '-~/       acting in a like capacity and familiar with such matters would use in the conduct of an
             enterprise of like character and with like aims.




                                                                              ARTICLE XII                                                                             Xll-2

             BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL                                                                                                                                                                                     WH_MDL_00331905
                Case 1:18-md-02865-LAK           Document 835-123     Filed 06/27/22     Page 129 of 138




                                        XIII.   THE ADMINISTRATIVE COMMITTEE

                        A.      Committee Membership. The Sponsoring Employer shall appoint an
                 administrative Committee of one (1 ) or more persons, some or all of whom may be officers
                or involved in management of the Employer; provided, however, that the Committee may
                be comprised of members of the Board, and the Employer may designate its Board to
                serve as the Committee as the same may be constituted from time to time. The
                Committee is granted broad discretion to interpret and construe the Plan and to carry out
                its responsibilities hereunder. The Employer shall certify to the Trustee the names and
                specimen signatures of the members of the Committee. The Committee shall serve at the
                pleasure of the Employer and any members of the Committee may resign by written
                instrument addressed to the Employer and may be removed by the Employer with or
                without cause. While a vacancy exists, the remaining member(s) of the Committee may
                perform any act which the Committee is authorized to perform.

                        B.    Named Fiduciary and Plan Administration. The Sponsoring Employer is
                the named fiduciary, administrator of the Plan, and agent to receive service of legal
                process and, except as otherwise provided for herein, shall have full authority and
                discretion to control and manage the operation and administration of the Plan and to
                interpret the Plan. The Committee, as agent for the administrator and subject to the
               administrator's approval, shall make such rules, regulations,. interpretations and
               computations and shall take such other action to administer the Plan as the Committee
               may deem appropriate in its sole and exclusive discretion. The Committee shall
               administer the Plan in a non-discriminatory manner consistent with the requirements of
               Section 401 (a) of the Code. The Committee shall resolve by majority vote all questions
               involving the interpretation, application and administration of the Plan. The Committee's
               resolution of such questions shall be final and binding upon the Participants, their
               Beneficiaries, and the successors, assigns, heirs and personal representatives of any of
               them and shall be entitled to judicial deference and shall be upheld unless found to be
               arbitrary and capricious. Subject to the provisions of Paragraph B of Article XII and the
               Committee's right to delegate responsibility as set forth in the Trust, the Committee shall
               direct the investment of the assets of the Trust by written direction to the Trustee.

                     C.    Compensation.      The members of the Committee shall receive no
               compensation for acting as such, but the Employer shall reimburse the Committee for all
               necessary and proper expenses incurred in administering this Plan.

                      D.     Delegation of Duties. The Committee may, from time to time, allocate to
               one (1) or more of its members and may delegate to any other persons or organizations
               any of its rights, powers, duties and responsibilities with respect to the operation and
               administration of the Plan. Any such allocation and delegation of responsibilities shall be
               reviewed at least annually by the Committee and shall be revocable upon such notice as
               the Committee, in its sole discretion, deems reasonable and prudent under the



                                                   ARTICLE XIII                              Xlll-1

               BROAD FINANCIAL (800) 395-5200

CONFIDENTIAL
                                                                                                      WH_MDL_00331906
               Case 1:18-md-02865-LAK         Document 835-123        Filed 06/27/22    Page 130 of 138




                circumstances. The Committee, on its own behalf or on behalf of the Trustee, may employ
               such persons or organizations to render advice or perform services with respect to
               responsibilities of the Committee under the Plan as the Committee, in its sole discretion,
               determines to be necessary and appropriate; provided, however, that the Committee must
               employ an enrolled actuary to perform the actuarial functions required by ERISA. Such
               persons or organizations may include, without limitation, attorneys, accountants and
               financial and administrative consultants.

                          All or any portion of the expenses incurred for such services or advice
            shall be borne by the Employer, if it so elects, and if the Employer does not so elect,
            such expenses sha!! be borne by the Trust. Expenses incurred for the administration of
            the Plan shall be deemed a liability of the Plan until such time as the expenses are paid
            by the Plan either as direct payments to the service providers or as reimbursements to
            the Employer in cases where the Employer has directly paid the service providers;
            provided, however, that reimbursements paid to the Employer must occur by the last
            day of the Plan Year following the later of the Plan Year during which such services
            were performed or the Plan Year during which the Employer paid such expenses.

                     E.  Bonding of Fiduciaries. The Committee shall be responsible for seeing that
           every fiduciary of the Plan and Trust and every person who handles Trust assets shall be


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           bonded to the extent required by the provisions of Section 412 of ERISA. The cost of such
           bond shall be paid by the Trustee out of Trust assets, upon direction of the Committee, if
     ,,,   the cost thereof shall not be timely paid by the Employer.

                     F. Action By Committee Members. If the Committee is comprised of more
           than one (1) member, any one (1) member may execute any form, document or other
           paper on behalf of the Committee and thereby bind the Committee, if the Board or the
           other Committee members unanimously delegate such authority in 'Nriting.




                                                ARTICLE XI II                             Xlll-2
           BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL                                                                                       WH_MDL_00331907
                Case 1:18-md-02865-LAK          Document 835-123        Filed 06/27/22      Page 131 of 138




                        XIV.    AMENDMENT AND TERMINATION; RETURN OF EMPLOYER
                                  CONTRIBUTIONS; PARTICIPAT ING EMPLOYERS

                       A.     Amendment. The Sponsoring Employer reserves the right to amend this
               Plan by written instrument, at any time and from time to time, in whole or in part, including
               without limitation, retroactive amendments necessary or advisable to qualify this Plan and
               the Trust under the provisions of Section 401 (a) of the Code. However, no such
               amendment shall (i) reduce the Accrued Benefit of any Participant to the date the
               amendment is adopted, except to the extent that a reduction may be permitted or required
               by ERISA and the Code; or (ii) divert any part of the Trust assets to purposes other than
               for the exclusive benefit of the Participants, retired Participants or their joint annuitants or
               Beneficiaries who have an interest in the Plan or for the purpose of defraying reasonable
               expenses of administering the Plan. Further, no amendment of the Plan shall alter,
               change or modify the duties, powers or liabilities of the Trustee without its consent, or
               permit any part of the Trust to be used to pay premiums or contributions of the Employer
               under any other plan maintained by the Employer for the benefit of its Employees.

                             If this Plan is an amendment and restatement of a prior Plan that provided
               for an optional form of benefit after July 30, 1994 that is not provided herein, and such
               form of benefit cannot be eliminated under Section 411 (d)(6) of the Code and Treasury
               Regulations issued pursuant thereto, then such optional form of benefit shall continue to
               be available under this Plan to the extent necessary to satisfy Section 411 (d)(6) of the
               Code.

                       B.     Authority of Volume Submitter Practitioner to Amend for Adopting
               Employers. The Volume Submitter Practitioner within the meaning of Revenue Procedure
               2005-16 is the entity (including any successor entity) that has received an IRS opinion
               letter on the lead documents. Effective on and after the date of the Volume Submitter
               Practitioner advisory letter, the Volume Submitter Practitioner may amend the plan on
               behalf of all adopting employers, including those employers who have adopted the plan
               prior to the amendment, for changes in the Code, regulations, revenue rulings, other
               statements published by the Internal Revenue Service, including model, sample or other
               required good faith amendments and for corrections of prior approved plans, but only if
               their adoption will not cause such plan to be individually designed. These amendments
               will be applied to all employers who have adopted the plan, except for any plan that does
               not permit amendments by the Volume Submitter Practitioner in Article I of such plan. The
               Volume Submitter Practitioner will maintain, or have maintained on its behalf, a record of
               the employers that have adopted the plan, and the volume practitioner will make
               reasonable and diligent efforts to ensure that adopting employers have actually received
               and are aware of all plan amendments and that such employers adopt new documents
               when necessary.




                                                   ARTICLE XIV                                   XIV-1

           BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL                                                                                             WH_MDL_00331908
                Case 1:18-md-02865-LAK        Document 835-123        Filed 06/27/22    Page 132 of 138




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                       C.     Impact of Change To Individually Designed Plan. The Volume Submitter
               Practitioner will no longer have the authority to amend the plan on behalf of any adopting
               employer as of either: (1) the date the Internal Revenue Service requires the employer to
               file Form 5300 as an individually designed plan as a result of an employer amendment to
               the plan to incorporate a type of plan not allowable in the IRS volume submitter program,
               as described in Revenue Procedures 2005-16, or (2) as of the date the plan is otherwise
               considered an individually designed plan due to the nature and extent of the amendments.
               If the employer is required to obtain a determination letter for any reason in order to
               maintain reliance on the volume advisory letter, the practitioner's authority to amend the
               plan on behalf of the adopting employer is conditioned on the plan receiving a favorable
               determination letter.

                     D.     Termination or Partial Termination or Complete Discontinuance of
            Contributions. The Employer has established the Plan with a bona fide intention and
            expectation that it will be able to make contributions indefinitely. Nevertheless, the
            Employer is not and shall not be under any obligation or liability whatsoever to continue
            making contributions or to maintain the Plan for any given length of time. The Employer
            may in its sole and exclusive discretion discontinue such contributions, or terminate or
            partially terminate the Plan in accordance with its provisions, the Code and ERISA, if
           applicable, at any time without any liability whatsoever for any such discontinuance,
           termination or partial termination. If the Plan shall be terminated, partially terminated or
           the contributions of the Employer shall be completely discontinued, the rights of all
           affected Participants in their Accrued Benefits shall thereupon become fully vested and
           nonforfeitable notwithstanding any other provisions of this Plan. However, the Trust shall
           continue until all Participants' Accounts have been completely distributed to or for the
           benefit of the Participants or their Designated Beneficiaries in accordance with this Plan,
           unless the Board specifies that distributions shall occur as a result of such Plan
           termination .

                          Notwithstanding the foregoing, in the event the Plan is terminated, the
           administrative Committee shall remain in existence and all of the provisions of the Plan
           which in the opinion of said Committee are necessary to effectuate the termination of
           the Plan and the administration and distribution of Plan benefits shall remain in force. In
           addition, the Board of Directors and the Committee reserve the right to further amend or
           modify the Plan, including the adoption of any retroactive amendments or modifications,
           to the extent necessary or desirable to effectuate the termination of the Plan or if
           necessary or appropriate to qualify o; maintain the Plan and the Trust Fund as a plan
           and trust meeting the requirements of Sections 401(a) and 501(a) of the Code or any
           other applicable law (including ERISA) and the Regulations issued thereunder, and any
           amendment necessary or advisable to conform the Plan to prior administrative practice
           shall be retroactive.




                                                ARTICLE XIV                               XIV-2

          BROAD FINANCIAL (800) 395-5200


CONFIDENTIAL                                                                                       WH_MDL_00331909
                Case 1:18-md-02865-LAK          Document 835-123        Filed 06/27/22     Page 133 of 138




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                        E.     Return of Employer Contributions. Except as set forth in Paragraphs E. 1,
                2, 3 and 4 of this Article XIV, the assets of the Plan and Trust shall never inure to the
                benefit of the Employer and the same shall be held for the exclusive purpose of providing
                benefits to Participants and their Designated Beneficiaries and defraying reasonable
                expenses of administering the Plan and Trust.

                               1.    Mistake of Fact. If a contribution is made by the Employer by a
                mistake of fact, the Trustee shall, on written direction of the Committee, return such
                contribution to the Employer, provided such return of contribution is made within one (1)
                year after the payment of such contribution.

                             2.       Initial Qualification. Employer contributions shall be conditioned on
               the initial qualification of the Plan under Section 401 of the Code. If it is finally
               determined that the Plan is not initially qualified by the Commissioner of Internal
               Revenue, then such contributions shall be returned to the Employer no later than
               one (1) year after such final determination but only if the application for determination
               was filed by the time prescribed by law for filing the Employer's return for the taxable
               year in which the Plan is adopted or such later date as the Secretary of the Treasury
               may prescribe.

                              3.    Deductibility. Employer contributions shall be conditioned upon the
  (-)          deductibility of such contributions under Section 404 of the Code. If such deductions
   '='         are disallowed, then such contributions (to the extent disallowed) shall be returned to
               the Employer no later than one (1) year after the final disallowance of the deductions.

                            4.      Suspense Accounts. If, upon termination of the Plan, there remain
               Trust assets held in suspense accounts because of the application of Section 415 of the
               Code, the Trustee shall return such assets to the Employer.

                      F.      Procedure for Adoption and Withdrawal by Participating Employers.

                               1.     Adoption of the Plan. Any member or future member of the
               Controlled Group, which is not already a Participating Employer under this Plan may,
               with the consent and approval of the Sponsoring Employer, adopt this Plan as a
               Participating Employer for all or any classification of persons in its employ. The
               adoption of this Plan by a Participating Employer shall be effected by resolution of its
               board of directors or other written instrument if the Participating Employer is an
               Unincorporated Entity. It shall not be necessary for any adopting Participating Employer
               to formally execute the Plan or Trust as then in effect. As to the Participating Employer,
               the effective date of its participation shall be stated in its resolutions, and it shall assume
               all the rights, obligations and liabilities of a Participating Employer under the Plan and
               Trust.




                                                   ARTICLE XIV                                  XIV-3

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               Case 1:18-md-02865-LAK          Document 835-123        Filed 06/27/22   Page 134 of 138




                           2.     Withdrawal from the Plan. At any time, a Participating Employer,
           by resolution of its board of directors and notice to the Sponsoring Employer and
           Trustee, may withdraw from participation under the Plan. A withdrawing Participating
           Employer may arrange for the continuation of this Plan and Trust in a separate form for
           its own employees. The withdrawing Participating Employer may arrange for
           continuation of the Plan and Trust by merger with an existing plan and trust and may
           request, subject to the Sponsoring Employer's consent, the transfer to such plan and
           trust of all Trust assets representing the benefits of its employees.

                          3.    Continued Qualification of the Plan. The Sponsoring Employer may
           request a determination from the appropriate District Director of the Internal Revenue
           Service to the effect that the Plan and Trust as adopted (and amended, as the case
           may be) by the Participating Employer continues to meet the requirements of tax-
           qualified status. If such determination is denied, the adoption by the Participating
           Employer shall become void and inoperative and any contributions made by or for the
           Participating Employer shall be promptly refunded by the Trustee. Furthermore, if the
           Plan or the Trust in its operation becomes disqualified under the Code for any reason
           because of the Plan's adoption by any Participating Employer, the portion of the Trust
           allocable to Participants employed by such Participating Employer shall be segregated
           as soon as is administratively feasible, pending the:

 (- )                            (a)     Correction of the conditions which caused the Plan's
  ~_.,     disqualification to the satisfaction of the Internal Revenue Service; or

                                 (b)       Re-qualification of the Plan; or

                                (c)     W ithdrawal of such Participating Employer from the Plan and
           a continuation by itself or its successor of a separate qualified plan, or by merger with
           another existing qualified plan; or

                              (d)   Termination of the Plan and Trust as to such Participating
           Employer and its Employees.




                                                 ARTICLE XIV                              XIV-4

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                                                                                                  WH_MDL_00331911
                Case 1:18-md-02865-LAK             Document 835-123       Filed 06/27/22     Page 135 of 138




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                                    XV.     STANDARD OF CONDUCT OF FIDUCIARIES

                       A      Fiduciaries. Each member of the Board and of the Committee and any
                other person to whom any fiduciary responsibility with respect to the Plan or Trust is
                allocated or delegated shall discharge his or her duties and responsibilities with respect to
                the Plan or Trust in accordance with the standards set forth in Section 401 (a)(1) of ERISA
                and Paragraph B of this Article XV.

                       B.       Fiduciary Duties. Subject to Sections 403(c) and (d), 4042, and 4044 of
                ERISA, a fiduciary shall discharge his or her duties with respect to the Plan solely in the
                interest of the Participants and Beneficiaries and:

                               1.     For the exclusive purpose of:

                                      (a)       Providing benefits to Participants and their Beneficiaries; and

                                      (b)       Defraying reasonable expenses of administering the Plan;

                           2.     With the care, skill, prudence and diligence under the
               circumstances then prevailing that a prudent man acting in a like capacity and familiar
               with such matters would use in the conduct of an enterprise of a like character and with
               like aims;

                              3.    By diversifying the investments of the Plan so as to minimize the
               risk of large losses, unless under the circumstances it is clearly prudent not to do so;
               and                                                                                 ·

                            4.     In accordance with the documents and instruments governing the
               Plan insofar as such documents and instruments are consistent with the provisions of
               this title.




                                                      ARTICLE XV                                  XV-1

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               Case 1:18-md-02865-LAK       Document 835-123        Filed 06/27/22     Page 136 of 138




                    XVI.   MERGERS, CONSOLIDATIONS AND TRANSFERS OF ASSETS

                  A.      Merger or Consolidation of the Plan. If this Plan and its Trust merge or
           consolidate with , or transfer assets or liabilities to, any other qualified plan of deferred
           compensation, no Participant shall, solely on account of such merger, consolidation or
           transfer, be entitled to a benefit on the date following such event which is less than the
           benefit to which he or she was entitled on the date preceding such event, such benefits to
           be determined as if the Plan had terminated on the date preceding such event (except that
           there shall be no grant of full vesting).

                   B.     Transfers From Other Qualified Plans - Rollovers. There may be
           transferred to the Trustee, subject to the approval of the Employer, all or any of the assets
           held (whether by a trustee, custodian or otherwise) on behalf of any other plan which
           satisfies the applicable requ irements of Section 401 (a) of the Code, or any qualified
           Rollover Contributions which are maintained for the benefit of any persons who are or are
           about to become Participants. The Employer may require proof that a prior determination
           was made by the Internal Revenue Service that such transfer will not affect the qualified
           status of the Plan and Trust. Any such transfer of assets or Rollovers shall be held and
           administered in accordance with Article X of the Plan.

                  C.      Transfer To Eligible Retirement Plans. Upon direction of the Participant
 (,,_')    delivered to the Committee, the Trustee is hereby authorized to transfer the assets
  ~,-.,    representing the Vested Accrued Benefit of any Participant under this Plan to the Trustee
           of an Eligible Retirement Plan.

                  D.      Transfer or Merger of Money Purchase Pension Plan to this Plan.
          Notwithstanding any provision of this Plan to the contrary, to the extent that any optional
          form of benefit under this Plan permits a distribution prior to Normal Retirement Age,
          death, disabiiity, severance from employment or Plan termination, such optional form of
          benefit shall not be available with respect to benefits attributable to assets (including the
          earnings thereon) and liabilities that are transferred, within the meaning of Section 414(1)
          of the Code, to this Plan from a money purchase pension plan qualified under
          Section 401 (a) of the Code (other than any portion of those assets and liabilities
          attributable to voluntary employee contributions).




                                             ARTICLE XVI                                  XVl-1

           BROAD FINANCIAL (800) 395-5200



CONFIDENTIAL                                                                                       WH_MDL_00331913
                Case 1:18-md-02865-LAK           Document 835-123         Filed 06/27/22      Page 137 of 138




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                                                  XVII. MISCELLANEOUS

                      A.      Limitation of Rights and Employment Relationship.               Neither the
               establishment of the Plan and Trust nor any modification thereof, nor the creating of any
               fund or account, nor the payment of any benefits shall be construed as giving to any
               Participant or other person any legal or equitable right against the Employer or the Trustee
               except as provided in the Plan and Trust Agreement; and in no event shall the terms of
               employment of any Employee or Participant be modified or in any way be affected by the
               provisions of the Plan or Trust Agreement.

                      8.       Payments to Missing Persons. If the Trustee is unable to effect deliver of
               any distribution to the person entitled to receive it or, upon such person's death, to such
               person's Designated Beneficiary, it shall so advise the Committee and the Committee shall
               give written notice to such person at his or her last known address as shown in the
               Employer's records. If such person shall not have presented himself or herself to the
               Employer after one (1) year from the date of mailing such notice, then such distribution
               shall be forfeited and applied to reduce current and future Employer contributions or
               allocated if Article I so provides. Alternatively, the Trustee shall have the discretion to use
               other means to protect the Participant's or Beneficiary's vested Accrued Benefit. A
               missing Participant's vested Accrued Benefit shall be reinstated if a claim is later made by
               the Participant or Beneficiary of the Participant for the forfeited benefit and such claim is
  (~.)         approved by the Committee.

                       C.      Spendthrift Provisions. Except with respect to a Participant loan, neither the
               Employer nor the Trustee shall recognize any transfer, mortgage, pledge, hypothecation,
               order or assignment by any Participant or Beneficiary of all or any part of his or her interest
               under the Plan and Trust Any attempt by a Participant or Beneficiary to assign, alienate,
               sell, transfer, pledge or encumber his or her benefits shall be void. A Participant's or
               Beneficiary's interest shall not be subject in any manner to transfer by operation of law,
               and shall be exempt from the claims of creditors or other claimants (including but not
               limited to, debts, contracts, liabilities or torts) from all orders, decrees, levies, garnishments
               and/or executions and other legal or equitable process or proceedings against such
               Participant or Beneficiary to the full extent which may be permitted by law.

                              Notwithstanding the foregoing, this Paragraph C shall also apply to the
               creation, assignment, or recognition of a right to any benefit payable with respect to a
               Participant pursuant to a domestic relations order, unless such order is determined to
               be a Qualified Domestic Relations Order within the meaning of Section 414(p) of the
               Code and Section 206(d)(3) ERISA, if applicable. The Committee shall determine
               whether any domestic relations order submitted with respect to a Participant's benefits
               is a Qualified Domestic Relations Order and shall establish procedures for making such
               determination and notifying interested parties of its ruling. A domestic relations order
               entered into before January 1, 1985 (i) shall be treated as a Qualified Domestic



                                                    ARTICLE XVII                                  XVll-1

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                  Case 1:18-md-02865-LAK          Document 835-123        Filed 06/27/22     Page 138 of 138




                 Relations Order if the payment of benefits pursuant to the order has commenced as of
                 such date; or (ii) at the Committee's discretion, may be treated as a Qualified Domestic
                 Relations Order if the payment of benefits has not commenced as of January 1, 1985,
                 even though the order does not satisfy the requirements of Section 414(p) of the Code.

                        D.      Indemnification. The Employer shall indemnify and hold harmless the
                 members of the Board of Directors and the Committee to whom any fiduciary responsibility
                 with respect to the Plan is allocated or delegated, from and against any and all liabilities,
                 costs and expenses incurred by such persons as a result of any act, or omission to act, in
                 connection with the performance of their duties, responsibilities and obligations under the
                 Plan and unde; ERISA, other than such iiabiiities, costs and expenses as may result from
                 the bad faith or criminal acts of such persons.

                         E.     Applicable Laws: Severability.       The provisions of the Plan shall be
                 construed and enforced according to ERISA and the Code and, to the extent applicable,
                 according to the laws of the state in which the Sponsoring Employer maintains its principal
                 place of business; provided, further, that if any provision is susceptible to more than one
                 (1) interpretation, such interpretation shall be given thereto as is consistent with the Plan
                 being a qualified employees' profit sharing or pension plan within the meaning of the Code. .
                 If any provision of this instrument shall be held by a court of competent jurisdiction to be
(          .,    invalid or unenforceable, the remaining provisions shall continue to be fully effective.
 "'-c.._,J

                        F.     Inapplicability of Certain Provisions if Plan is Not an ERISA Plan.
                Notwithstanding any other provision of the this Plan, at such times that the Plan is not an
                "employee benefit plan," within the meaning of Section 3(3) of ERISA, or is not subject to
                Part 4 of Title I of ERISA, Paragraphs B and D of Article XII, Paragraph E of Article XIII,
                the entirety of Article XV, and any reference in this Agreement to ERISA shall be
                inapplicabie: provided however, to the extent any provision of the foregoing Paragraphs or
                Articles is required to be retained for the purpose of the Plan being tax-qualified under
                Section 401 (a) of the Code or avoiding a prohibited transaction under Section 4975 of the
                Code, such provision shall remain applicable but only for such purpose.

                                                               l ,r-· Day of       rvc_F-y    ,20.Jl_.

                                                                                        L
                The Employer has executed this Plan on the




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                                                                  RJM Capi2C            I
                                                                  By:
                                                                     Richard J Marko itz

                                                                 ADDRESS:


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                                                 ARTICLE I                                       1-1

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